Case 3:23-cv-00243-AMO Document 32-12 Filed 03/03/23 Page 1 of 273




             EXHIBIT K
         Case 3:23-cv-00243-AMO
              Case 20-12836-JTD Document
                                 Doc 1063 32-12
                                            Filed 12/05/22
                                                  Filed 03/03/23
                                                             PagePage
                                                                  1 of 64
                                                                       2 of 273




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                   )
    In re:                                         )     Chapter 11
                                                   )
    CRED INC., et al.,                             )     Case No. 20-12836 (JTD)
                                                   )
                                  Debtors. 1       )     (Jointly Administered)
                                                   )
                                                   )     Related to Docket No. 356
                                                   )
    CRED INC. LIQUIDATION TRUST,                   )
                                                   )
                                 Plaintiff,        )
            v.                                     )     Adv. Proc. No. 22-______ (JTD)
    EARNITY, INC., EARNITY FINANCIAL,              )
    INC., EARNITY FINANCIAL INC., ET               )
    TRADER, INC. and DOMENIC CAROSA,               )
                                                   )
                                  Defendants.      )
                                                   )
                                                   )

                                               COMPLAINT

             The Cred Inc. Liquidation Trust (the “Trust”) established in the above-captioned

Chapter 11 cases (the “Chapter 11 Cases”) of Cred Inc. and its affiliated debtors (collectively, the

“Debtors” or “Cred”), by and through its undersigned counsel, files this complaint against

Defendants Earnity, Inc. (“Earnity”), Earnity Financial, Inc. (a Delaware corporation)

(“Earnity Financial”), Earnity Financial, Inc. (a Florida corporation) (“Earnity Financial (FL)”),

and ET Trader, Inc. (“ET Trader”) (collectively, the “Earnity Defendants”), and Domenic Carosa

(“Carosa”) (together with the Earnity Defendants, “Defendants”) and alleges as follows:




1
  The Debtors in the Chapter 11 cases, along with the last four digits of each debtor’s tax
identification number, as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred
Capital, Inc. (4064), Cred Merchant Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566).
The Debtors’ mailing address is 3 East Third Avenue, Suite 200, San Mateo, California 94401.
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         2 of 64
                                                              3 of 273
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               3 of 64
                                                                    4 of 273




2020 and there was little, if any, hope that Cred was ever going to be repaid the tens of millions of

dollars’ worth of cryptocurrency (“crypto,” defined below) that Cred was owed in outstanding

loans. As its debts and losses mounted, Cred faced a severe liquidity crisis. But Cred was not yet

finished, and its management team was looking for ways that it could pull Cred out of its tailspin.

To that end, Cred was quietly working on a new plan to re-invent its business—which, if

successful, could turn Cred around and make the company a leader in the digital asset industry.

       3.      Cred invested company time and resources into developing this new business

platform, which was called “Cred 2.0” which was referred to internally as a “billion-dollar

opportunity” for the company. The plan was to create a social media-focused crypto investment

platform that would make it easy for retail investors to participate in various forms of crypto

investing. These included yield-earning opportunities in the form of loans (as part of Cred’s

“centralized finance” or “CeFi” (defined below) offerings), as well as more complex “staking”

transactions and other opportunities built around “decentralized finance” or “DeFi” (defined

below). The business would be a retail-focused “CeFi/DeFi router” that would drive crypto

investors to innovative yield-earning and trading opportunities that were previously inaccessible

to typical retail investors. But while Cred was busy developing “Cred 2.0”, Cred’s financial

situation continued to deteriorate.

       4.      When it became clear that bankruptcy was inevitable, Cred’s plan was to focus on

restructuring the company so that it could emerge from bankruptcy centered around the new

platform it was developing. However, Cred’s senior executives—including Chief Executive

Officer (“CEO”) Dan Schatt (“Schatt”), Chief Financial Officer (“CFO”) Joseph Podulka

(“Podulka”), and Chief Technology Officer (“CTO”) Daniel (“Danny”) Goldstein (“Goldstein”)—

had other ideas. They wanted to take Cred’s new platform for themselves.



                                                 3
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               4 of 64
                                                                    5 of 273




       5.        By the time Cred declared bankruptcy on November 7, 2020, Schatt, Podulka, and

Goldstein had agreed on a plan to take Cred 2.0 and start a new company of their own. Schatt,

Podulka and Goldstein started by recruiting key Cred employees (mostly product developers and

engineers) who were already working on Cred 2.0 to join them in their new venture. They needed

these employees to identify and extract Cred’s software, hardware, programming tools and data,

branding and marketing designs, and other highly confidential and proprietary information that

they would need to complete Cred 2.0 at their new company.

       6.        But Cred’s senior management team could not loot Cred and launch Cred 2.0 alone.

That is where Carosa, Earnity’s other co-founder, came into play. Carosa is the founder of Banxa

Holdings, Inc. (“Banxa”), a fiat-to-cryptocurrency payment processing company. He was first

introduced to Schatt by Cred’s restructuring mergers and acquisitions (“M&A”) advisor after

identifying Banxa as a potential buyer for Cred. Schatt and Carosa took an immediate liking to

each other and were soon communicating privately about “Cred 2.0.” Instead of having Banxa

buy Cred, Carosa joined Schatt and his co-conspirators’ plan to steal “Cred 2.0” without paying a

penny to Cred.

       7.        Carosa and Schatt both knew that Banxa was not going to purchase Cred. Yet

Banxa engaged in negotiations with Cred and its advisors for months under that pretense. These

protracted “negotiations” served two purposes. First, they gave Goldstein’s team of developers

and programmers additional time and use of Cred’s limited resources to continue their work on

the platform they were supposed to be building for Cred. Second, they gave Carosa and his team

time to mine Cred’s data room for key intellectual property (“IP”) and other proprietary

information that would be used to continue building Cred 2.0 at the new companies that would

become the Earnity Defendants.



                                                 4
         Case 3:23-cv-00243-AMO
              Case 20-12836-JTD Document
                                 Doc 1063 32-12
                                            Filed 12/05/22
                                                  Filed 03/03/23
                                                             PagePage
                                                                  5 of 64
                                                                       6 of 273




          8.     Then, with Carosa’s assistance, Goldstein and his team of Cred employees used the

additional time that Banxa’s sham proposal gave them to retrieve everything that would be of value

to the new company. When Goldstein and his team were finally laid off in mid-January 2021,

Goldstein and Carosa sent Schatt instructions to steal the remaining items they needed to continue

building Cred 2.0 elsewhere. This material included hardware that Goldstein described as “must-

have”, customer lists and other data that Carosa had seen from Cred’s data room, as well as

information technology (“IT”) equipment and other tangible assets that Goldstein wanted.
                                                                                                 4



          9.     As part of the liquidation of Cred’s assets, Carosa—without disclosing his

affiliation with Cred’s senior management—

                                             .                                                   ,

Cred’s former executives and Carosa took great pains to operate in secret, even directing a

technical consultant hired by the Trust not to disclose his involvement with the new entity to the

Trust.    Using Cred’s intellectual property, employees, and equipment, Earnity launched on

March 5, 2021, and raised in excess of $16 million using the “Cred 2.0” business model that Cred

had developed in the months prior to its bankruptcy filing.

          10.




4
    Exhibit C.

                                                 5
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               6 of 64
                                                                    7 of 273




       11.     Earnity was built using resources and property paid for and developed by Cred.

Schatt, Podulka, Goldstein, Carosa and their team of former Cred employees stole this confidential

and proprietary information from Cred after Cred filed for bankruptcy but before the former Cred

management team was laid off.

       12.                                                                               , Earnity

is now operating the social media/CeFi-DeFi Router platform (defined below) that was created

and developed by Cred and its employees, for Cred and using Cred’s limited resources.

Defendants have raised millions of dollars in outside investment by pitching the same business

concept that Cred conceived in early 2020 and invested precious company time and resources

developing while it was on the verge of bankruptcy.

       13.     Defendants have benefited and will continue to benefit from the same confidential

and proprietary information, including trade secrets, that former Cred executives, employees, and

their co-conspirators stole from Cred. Because these assets are property that belong to Cred’s

estate and that should and would have inured to the benefit of Cred and its creditors had they not

been wrongfully misappropriated, the Trust brings this action to recover them.




                                                6
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               7 of 64
                                                                    8 of 273




                                            PARTIES

          14.   The Trust was created pursuant to the Modified First Amended Combined Plan of

Liquidation and Disclosure Statement of Cred Inc. and Its Subsidiaries Under Chapter 11 of the

Bankruptcy Code (D.I. 629-1) (as amended, the “Plan”), which this Court confirmed on March 11,

2021. The Plan became effective on April 19, 2021 (D.I. 730), whereupon the Debtors’ assets

were transferred and assigned to the Trust. (See Plan § 12.3.) The Trust is being administered by

the Liquidation Trustees (as defined in the Plan). (See id. § 12.3(a).)

          15.   Defendant Earnity is a corporation organized under Delaware law with its principal

place of business located at 3 East Third Avenue, Suite 200 in San Mateo, California. Earnity was

first incorporated as Earn Blockchain Holdings Inc. on February 9, 2021, and changed its name to

Earnity Inc. on March 5, 2021. Earnity operates as a social media-based blockchain platform that

offers retail customers a combination of “CeFi” and “DeFi” (both defined below) investment

opportunities in which customers can lend, borrow, or trade directly in crypto and other digital

assets.

          16.   Defendant Earnity Financial is a corporation organized under Delaware law with

its principal place of business located at 3 East Third Avenue, Suite 200 in San Mateo, California.

Earnity Financial was formed on July 25, 2021 as a wholly-owned subsidiary of Earnity, and

provides centralized administrative services to Earnity, including facilitating customer transactions

as a registered money transmitter.

          17.   Defendant Earnity Financial (FL) is a corporation organized and incorporated under

Florida law on October 19, 2021 with the same name as Earnity Financial. Earnity Financial (FL)

is based out of the same offices as Earnity and Earnity Financial, located at 3 East Third Avenue,




                                                 7
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                8 of 64
                                                                     9 of 273




Suite 200 in San Mateo, California, and, upon information and belief, operates in the same capacity

as Earnity Financial as a wholly-owned subsidiary of Earnity.

        18.    Defendant ET Trader is a Delaware corporation with its principal place of business

located at 3 East Third Avenue, Suite 200 in San Mateo, California. ET Trader was formed on

July 2, 2021 as a wholly-owned subsidiary of Earnity to undertake the capital markets functions

required to support Earnity’s retail customer operations.

        19.    Defendant Carosa is the other co-founder of the Earnity Defendants.           Upon

information and belief, Carosa is a citizen of Australia and resides in the Netherlands. Carosa

serves as Chairman of Earnity’s Board of Directors and, upon information and belief, holds a

substantial ownership stake in Earnity. Carosa also is or has served as Earnity’s President and

CEO.

                                 RELEVANT NON-PARTIES

        20.    Schatt is the co-founder and former CEO of Cred. Schatt became Cred’s CEO in

2018 and resigned from that position in December 2020. Schatt owns 50% of Cred’s equity.

Shortly after Cred filed for bankruptcy in November 2020, Schatt co-founded Earnity in February

2021. He is currently Earnity’s majority shareholder and the CEO of each of the Earnity

Defendants.

        21.    Podulka was Cred’s CFO from July 2019 to December 2020, where he oversaw

Cred’s corporate cash management and the expenses incurred by Cred Capital. On June 29, 2020,

Podulka became a member of Cred Capital’s board of directors. Shortly before Cred filed for

bankruptcy in November 2020, Podulka and Schatt began building the team of Cred executives

and employees who would go on to found the Earnity Defendants. Upon formation of the Earnity




                                                8
     Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 106332-12
                                        FiledFiled
                                             12/05/22
                                                   03/03/23
                                                         PagePage
                                                              9 of 10
                                                                   64 of 273




Defendants, Podulka became the CFO of each Earnity Defendant and continues to serve in that

capacity.

       22.     Goldstein served as Cred’s CTO from April 2020 to January 2021, where he was

hired to develop a new platform and product for Cred. Prior to Cred’s bankruptcy filing on

November 7, 2020, Goldstein was recruited by Schatt and Podulka to be the CTO of the new

company they were planning to form in the aftermath of Cred’s bankruptcy, which later became

Earnity. Goldstein currently serves as CTO for each of the Earnity Defendants.

       23.     Daniel Hummer (“Hummer”) is Earnity’s Director of IT. Hummer previously

served as Cred’s Director of IT from November 2019 until January 2020, where he worked on

developing Cred’s new platform. Hummer worked as a consultant during the Trust during Cred’s

liquidation. Like Goldstein, Hummer was recruited by Schatt and Podulka to join the company

that would later become Earnity prior to Cred’s bankruptcy filing, and was hired by Earnity after

its formation in February 2021.

       24.     Daniyal Inamullah (“Inamullah”) served as Cred’s Vice President of Capital

Markets from January 2020 to April 2020. In that role, Inamullah was responsible for seeking

investment opportunities, conducting due diligence, and proposing investments to Cred’s

“investment committee.” Inamullah was also recruited by Schatt and Podulka to join Earnity’s

future executive team, but declined their overtures.

                         RELEVANT TERMS AND DEFINITIONS

       25.     The term “crypto” or “cryptocurrency” refers to an asset issued and/or transferred

using distributed ledger or blockchain technology, including assets sometimes referred to as

“cryptocurrencies,” “virtual currencies,” “digital assets,” “coins,” and “tokens.” Cryptocurrencies

are digital assets that hold value based primarily on what a purchaser is willing to pay. Most



                                                 9
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              10 of11
                                                                    64of 273




customers purchase cryptocurrency speculating that the price of that particular cryptocurrency will

increase. Some cryptocurrencies are also used to buy goods and services. Bitcoin (“BTC”) and

Ethereum (“ETH”) are currently the most popular cryptocurrencies, but there are thousands of

other cryptocurrencies.

       26.     A “blockchain” is an open-sourced string of code which is the underlying

technology that facilitates the creation of and subsequent transaction in a particular cryptocurrency.

       27.     A crypto exchange (“exchange”) is a marketplace where users buy and sell

cryptocurrencies. Many exchanges are designed to be user friendly. Although exchanges are not

necessary to buy and sell crypto, exchanges are the most popular mechanism for retail customers

to buy and sell crypto.

       28.     Centralized finance, or “CeFi”, is a term that has been used in the crypto industry

to describe yield earning and lending opportunities with third parties. The term “centralized”

generally refers to a company or entity to which an investor lends its crypto in exchange for interest

payments. That “centralized” entity often relends that crypto or engages in proprietary crypto

trading to earn a yield in excess of that owed to its customers. By way of example, Cred was a

CeFi platform. Crypto investors who participate in CeFi platforms assume credit risk of the

centralized entity offering the platform as well as the CeFi platform’s borrowers. Like many terms

in the crypto industry, different market participants ascribe different meanings. But for purposes

of this complaint, CeFi will be defined in accordance with this paragraph.

       29.     Decentralized finance, or “DeFi” is a term that is used in the crypto industry to

describe offerings in which crypto investors earn yield by “staking” or other automated “smart

contracts.” “Smart contracts” underly every crypto and can also be set up to automate payments

or rewards. The terms of a smart contract are implemented on the blockchain and will self-execute



                                                 10
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              11 of12
                                                                    64of 273




when certain conditions are met. In DeFi, Crypto investors “stake” or “post” their crypto into

smart contracts that define the terms by which staking rewards will be paid. Usually, the crypto is

“staked” for a specified period of time after which the investor will be automatically repaid its

crypto plus rewards. In effect, the rewards are newly created crypto and so there is no counterparty

that must pay interest. The key difference between DeFi and CeFi is that in DeFi (if done correctly)

the investor does not incur credit risk because the DeFi opportunity will pay rewards automatically

pursuant to the automated smart contract. DeFi is one term in the crypto industry that is often

misused and many projects or opportunities are referred to as being “DeFi,” when they are actually

better described as CeFi.

          30.   A “CeFi/DeFi Router” is a website or other application that directs crypto investors

to various CeFi and DeFi opportunities and assists in facilitating those investments.

The CeFi/DeFi Router creates a marketplace where crypto investors can choose which CeFi or

DeFi opportunities to invest, usually with some direction, information, and marketing proliferated

by the CeFi/DeFi router.

                                 JURISDICTION AND VENUE

          31.   This Court has original jurisdiction over this adversary proceeding pursuant to

28 U.S.C. § 1334(b) because it arises under Title 11 of the United States Code (the

“Bankruptcy Code”) and relates to cases under the Bankruptcy Code pursuant to 28 U.S.C. §§ 157

and 1334(b). This adversary proceeding is a “core” proceeding to be heard and determined by the

Court pursuant to 28 U.S.C. § 157(b)(2) and the Court may enter final orders for matters contained

herein.

          32.   In accordance with Rule 7008-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),



                                                 11
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              12 of13
                                                                    64of 273




the Trust confirms its consent to the entry of a final order or judgment by the Court in connection

with this adversary proceeding to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter a final order or judgment in connection herewith consistent with

Article III of the United States Constitution.

       33.     Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

                                         BACKGROUND

A.     Cred’s Crypto Lending Platform Leads To Significant Financial Problems

       34.     Schatt and Lu Hua (“Hua”) co-founded Cred in 2018 as a crypto “yield earning”

platform. 5 Under this business model, Cred’s customers lent crypto to Cred through a program

called “CredEarn”, in which Cred agreed to repay its customers the loaned crypto, plus interest.

       35.     Cred used approximately 90% of the crypto Cred received from its customers to

make secondary loans to MoKredit, a Chinese lending company owned by Hua (Cred’s 50% owner

and co-founder). 6 MoKredit was in the business of making unsecured and uninsured micro-loans

ranging from RMB10 ($1.45 USD) to RMB1000 ($145 USD) to young, low-income videogamers

in China with no credit history. These micro-loans were funded by the crypto Cred loaned to

MoKredit.




5
  Schatt and Hua initially established an entity named “Libra Credit” in Singapore, which later
became known as “Cyber Quantum Pte. Ltd.” On May 14, 2018, Schatt and Hua organized “Libra
Credit (US) LLC,” in Delaware, which changed its name to “Cred LLC” in August 2018. On
May 13, 2020, Cred LLC converted to Cred Inc.
6
  The entities comprising the defined term MoKredit are MoKredit Inc., MoKredit Technology
(Hong Kong) Company Limited, MoKredit (Shanghai) Information Technology, Co. Ltd, and
Shanghai Bestone Information Technology Co. Ltd. They are collectively referred to herein as
“MoKredit.”)

                                                  12
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              13 of14
                                                                    64of 273




       36.     Given the unsecured nature of MoKredit’s micro-loans, Cred’s reliance on

MoKredit exposed Cred to substantial risk. MoKredit also consistently failed to repay the principal

on its outstanding loans from Cred.

       37.     In addition to the risk of MoKredit defaulting, MoKredit would accept only

stablecoin from Cred. 7 Because Cred was obligated to repay its customers’ loans in BTC, ETH,

and other cryptocurrencies (plus interest), Cred assumed a significant risk of loss if BTC and/or

other cryptocurrencies increased in value before Cred could repay its obligations.

       38.     To mitigate this risk, Cred hired a trading firm (the “Trading Firm”) to design and

execute a hedging strategy that would protect Cred against the risk that the price of BTC and other

crypto would increase. Despite this mandate, the Trading Firm executed an extremely risky

trading strategy that was completely unsuitable for Cred’s needs.

       39.     This strategy failed. In just one night, on March 12, 2020, the price of BTC

plummeted and Cred lost hundreds of millions of dollars’ worth of crypto as a result of the

overleveraged positions that the Trading Firm has established for Cred. These losses depleted

Cred’s balance sheet and completely eliminated its hedging positions. Cred was left with naked

exposure to tens of millions of dollars in additional losses if and when the price of BTC and other

crypto again increased in value.

       40.     Cred faced a severe liquidity crisis in the wake of its March 12, 2020 trading losses

and lacked the cash or crypto to re-establish its hedging positions and avoid further losses.

       41.     On April 5, 2020, Cred’s Vice President of Capital Markets, Inamullah, prepared a

memorandum listing Cred’s remaining sources of liquidity: (i) approximately $350,000 in cash




7
 “Stablecoin” is cryptocurrency that is supposed to be identical in value to a fiat currency, usually,
and, as in this case, the U.S. dollar.

                                                 13
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              14 of15
                                                                    64of 273




on the balance sheet; (ii) loans from its portfolio amounting to approximately $2 million;

(iii) revenue from generating net interest margin from its loan portfolio amounting to

approximately $700,000 to $1 million; and (iv) additional contributions that would come from new

CredEarn customer deposits. 8          With few options left, the vast majority of Cred’s

“liquidity recovery strategy” hinged upon receiving more than $8 million in loan repayments from

MoKredit in the immediate future.

        42.                            . 9 As a result, Cred’s financial situation became increasingly

dire. On June 1, 2020, Schatt circulated a memorandum to his management team stating that:

(1) “Cred’s current liabilities exceeded its invested assets and current assets by approximately

$19.5 million or 19% of the total principal balance of liabilities”; and (2) that “Cred does not have

the capacity to repay the full liabilities if assets were liquidated today[.]” 10

        43.     With little, if any, chance of being repaid by MoKredit, Cred’s only option was to

seek funding from outside investors. On or around June 10, 2020, Schatt and other executives

announced that Cred was seeking its first round of capital and began reaching out to potential

investors. 11 These efforts led to multiple conversations between Cred’s management team and a

number of prospective investors throughout the summer of 2020.

        44.     In July 2020, Cred struck a deal with Dragonfly Capital LLC (“Dragonfly”)

whereby Dragonfly would be the lead investor for a round of convertible notes. These funds

provided a lifeline to the Company to keep it afloat.




8
  Exhibit D.
9
  Transcript of December 8, 2020 Deposition of Daniyal Inamullah (“Inamullah Dep.”) at 222.
10
   Exhibit E.
11
   Exhibit F.

                                                   14
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              15 of16
                                                                    64of 273




       45.     At the same time, however, Cred executives were quietly working on a plan that

would re-invent Cred’s entire business—which, if successful, could turn the company around and

make Cred an industry-wide leader in blockchain-based financial services.

B.     Cred Develops Cred 2.0

       46.     In or around the first quarter of 2020, Cred’s executive team began to formulate an

idea referred to internally as “Cred 2.0.” At the time, Cred offered only CeFi investment products

to customers through its third-party lending-based yield earning platform. Cred 2.0 would turn

Cred into a CeFi-Defi Router with the ability to not only direct its customers’ crypto to traditional

counterparty loans, but also blockchain-validated DeFi yield-earning transactions.

       47.     This plan would allow Cred to expand its services and revenue base by combining

its crypto lending business with a platform that would offer retail customers a wide variety of CeFi

and DeFi investment products where customers could lend, borrow, or trade their crypto and other

digital assets. The goal for Cred 2.0 was to make Cred a one-stop shop that would direct customers

from traditional blockchain-based CeFi investment products (which would remain available) to

new opportunities in the rapidly-expanding market for DeFi products in the digital asset space.

       48.     In addition to this core concept, these plans focused on incorporating several other

key elements into Cred’s new platform. One was to develop Cred’s trading infrastructure to

facilitate bilateral trades (as opposed to loans) and other transactions involving digital assets that

customers could easily access. Another was to incorporate a social media element into Cred’s new

product where users could share, follow and interact with each other while trading and transacting

on Cred’s platform.

       49.     Prior to founding Cred, Schatt had worked at a company called Stockpile that

allowed customers to purchase and transact with gift cards or tokens representing fractionalized

shares of publicly traded companies that could be shared with or gifted to other users. Schatt

                                                 15
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              16 of17
                                                                    64of 273




wanted to incorporate a similar user-to-user token or gift card function into a product that Cred

could offer customers separately from its yield earning platform.

       50.     To lead the project, Schatt hired Goldstein as Cred’s CTO in April 2020. Goldstein

had previously served as an executive at Western Union, Symantec, and Emergent Technology.

In that last role, Goldstein led the development of Emergent Technology’s G-Coin digital token, a

digital certificate of title to “responsibly-sourced” gold, which customers could trade as an

investment or use to make payments.

       51.     Schatt also recruited Don Kingsborough (“Kingsborough”), a high-profile fintech

and retail entrepreneur, to join Cred as a Senior Advisor in March 2020. Like Goldstein,

Kingsborough added experience and know-how to the team tasked with building Cred’s new

business platform through his executive and operational roles at the intersection of retail,

technology and fintech.

       52.     Transforming Cred into a combined CeFi-DeFi Router was a priority for Cred’s

executive team. It also was a relatively novel idea at the time to create a single social media-based

platform that would allow customers access to the full spectrum of CeFi and DeFi investment

opportunities for their crypto and other digital assets.

       53.     Presentations from the weekly “Cred All Hands” meetings from May 2020 onwards

demonstrate that Cred was ramping up development of this new platform and discussing

“Cred 2.0” regularly.

       54.     Likewise, emails from Schatt and other Cred executives in late June 2020 show that

Cred was discussing a move towards DeFi-focused products with prospective investors as part of

its plan to offer both CeFi and DeFi optionality on a single platform. Kevin Hu, the head of “Liquid

Strategies” at Dragonfly agreed with Schatt in a June 28, 2020 email that



                                                  16
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         17 of18
                                                               64of 273
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              18 of19
                                                                    64of 273




        57.     As part of this “roadmap to growth”, the memorandum detailed a number of “New

Product Concepts” in development as of July 2, 2020, including:                 (1) Private Debt;

(2) Money Markets; (3) Fund Management; (4) Private Wealth Management; (5) DeFi-related

Staking Partnerships; (6) Gold Product Ideation; and (7) Celebrity NFTs. 15 All of these concepts

reflect the expanded CeFi-to-DeFi “gateway” that Cred was developing as its future business.

        58.     On July 20, 2020, Cred’s CTO, Goldstein, created a new Slack Messaging channel

for a group of Cred developers and engineers which he called the “cred-10c-platform” team.

The term “10c” refers to the Polish-based blockchain and Fintech software development company

10Clouds, S.P. Z.O.O. (“10Clouds”), which Cred had hired in March 2020 to help design the new

platform that Cred was developing. 16 The new Slack channel shows that Cred had started hiring

the developers and engineers that were needed to build it.

        59.     Schatt was also reaching out to his former colleagues at PayPal for long-term

funding to develop Cred’s new platform. On July 29, 2020, Schatt introduced Jeremy Jonker, head

of PayPal Ventures, to his contacts at Dragonfly, noting that Cred had “lots of commercial

possibilities….just a longer timeframe to implement….” 17

        60.     In August 2020, Schatt and his executive team prepared a “Cred Investor

Presentation for Q3 2020” that incorporated several of the concepts described in Inamullah’s

strategy memorandum into business plans that were being pitched to Dragonfly and other

prospective investors. These concepts included initiatives for Cred to launch “payment cards,

trading and market operations, [and] Defi services” as new products in the first quarter of 2021. 18




15
   Id.
16
   Exhibit J.
17
   Exhibit K.
18
   Exhibit L at 8.

                                                18
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         19 of20
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         20 of21
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         21 of22
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         22 of23
                                                               64of 273
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                23 of24
                                                                      64of 273




         71.       Cred maintained its focus on the new CeFi- DeFi “gateway” that it was developing

through September and into mid-October 2020.                 Discussion took place at weekly

“Innovation Meetings”, “All Hands” meetings, and on multiple Slack Messaging channels where

the concepts and supporting software and coding for the new platform were regularly shared and

discussed internally with Cred’s management and developer teams.

         72.       But Cred’s financial situation remained dire. It was unlikely that MoKredit was

going to repay Cred for the vast majority of the $38 million that had been outstanding for many

months and by October 2020 Cred’s fundraising efforts had yielded a total of only $2.65 million.33

         73.       It was by now apparent that Cred would have to file for bankruptcy protection.

Cred’s plan at the time was to focus on restructuring the company so that it could emerge from

bankruptcy centered around the new CeFi-DeFi platform Cred had been developing. However,

Schatt and Podulka had other ideas.

C.       Schatt And Podulka Conspire To Steal Cred’s New Platform

         74.       Throughout its development, Schatt avoided disclosing any specific details or

creating a clear paper trail about Cred’s new “billion-dollar opportunity”. Schatt preferred to hold

discussions about the new platform on phone calls or at in-person meetings and generally did not

circulate memoranda or presentations discussing the plan to reinvent the company.

         75.       The reason for this practice is now clear: Schatt knew that Cred was in deep

financial trouble. He wanted to save the idea that Cred had developed on Cred’s time, with Cred’s

resources, Cred’s employees, and Cred’s know-how for himself when Cred went under.

         76.       But Schatt was not the only one on Cred’s management team who was quietly

planning to steal the “Cred 2.0” platform that Cred had been building over the past year. Cred’s



33
     Exhibit AA.

                                                  23
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         24 of25
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         25 of26
                                                               64of 273
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              26 of27
                                                                    64of 273




       80.     Two days later, Goldstein created a new Slack channel he named “Cred-2.” 37

Goldstein invited Cred’s top developers and software engineers, including the team that had been

working with 10Clouds to develop Cred’s new CeFi-DeFi platform.

       81.     Several of the employees Goldstein recruited to join his “Cred-2” team were only

recently hired by Cred: (i) Pawan Chawla (“Chawla”), a software developer hired on

September 19, 2020; (ii) Maitri Kotak (“Kotak”), a business intelligence developer hired on

October 6, 2020, (iii) Alex Zavodnik (“Zavodnik”), a programmer hired in mid-October 2020, and

(iv) Christiane Ferreira (“Ferreira”), another programmer hired on October 12, 2020.

       82.     For a company on the verge of bankruptcy, hiring software programmers and

developers was a dubious decision. Both are highly-paid positions and generally cannot contribute

anything in the short term to a company that needed cash to remain a going concern. Software

programmers and developers are, however, essential to start-up companies like the one Schatt,

Podulka, and Goldstein intended to create with the product that had been conceived and developed

at Cred, for Cred, by Cred, and with Cred resources. 38

       83.     By using the outside funding that Cred had received to consolidate this team of new

hires, who were immediately assigned to work with 10Clouds on the new CeFi-DeFi platform for

Cred, Goldstein was already doing what Podulka had recommended to Schatt in his October 25-

26, 2020 emails: “coming away with a leaner company and…[using] start-up capital to focus on

areas of Cred we’ve been working on lately.”




37
   Exhibit BB.
38
   Given the timing of these moves, it appears that Goldstein and Schatt had already been working
in concert on a similar plan prior to Podulka’s October 25-26 proposal.

                                                26
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              27 of28
                                                                    64of 273




       84.       As Cred’s bankruptcy progressed through November 2020, it appeared less and less

likely that Cred would be able to emerge from Chapter 11 as an independent company. Cred would

either have to be sold or liquidated.

       85.       Keeping Cred’s programmers and developers on its payroll (including some of its

most recent hires) under these circumstances did not make sense. Yet that is exactly what Schatt,

Podulka, Goldstein and others in on their scheme intended to do in order to continue developing

the combined CeFi-DeFi platform they sought to take for themselves.

       86.       They soon found the perfect excuse for keeping these programmers and developers

on staff even after it was clear that Cred itself was no longer viable: a sham sale to a purportedly

willing counterparty who was in on their plan.

E.     Cred’s Proposed Sale To Banxa Was A Sham Used To Loot Cred Of Valuable Assets
       That Cred’s Executives Would Use To Start Their New Company

       87.

                                                            . 39
                                                                                   40



       88.       One of the prospective buyers Teneo identified was Banxa, a Canadian publicly-

traded fiat-to-crypto payment processing company founded in 2014 by Carosa.

       89.       A mutual contact introduced Teneo to Carosa on November 27, 2020 in connection

with Cred’s proposed sale. 41 Teneo arranged a meeting between Schatt and Carosa, where they

took an immediate liking to each other. Soon Schatt and Carosa were privately communicating




39
   Exhibit CC.
40
   Id. at 7.
41
   Exhibit DD.

                                                 27
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              28 of29
                                                                    64of 273




with each other about Cred 2.0, which was not advertised or described as a company asset in the

Cred “Teaser” that Teneo sent Banxa and other prospective buyers. 42

       90.    On December 1, 2020, Carosa informed Teneo and Schatt that Banxa would be

interested in submitting a “Stalking Horse” bid to acquire Cred. 43 Carosa requested further

information about Cred and specifically wanted access to Cred’s key IP. 44



                     . 45

       91.
                                        46
                                             Schatt and Podulka turned their full attention to their

plan to misappropriate everything Cred had created and developed for its future business model.

These assets included, above all, the programming IP, business plans and customer lists, and

employees with past experience and know-how behind the new CeFi-DeFi routing platform that

Cred had been developing as Cred 2.0.

       92.    Carosa soon proved a willing participant in the scheme hatched by Schatt and

Podulka.

              . 47




        .




42
   Exhibit EE.
43
   Exhibit FF at 5-6.
44
   Id.
45
   See Exhibit DD at 2; Exhibit GG.
46
   Exhibit HH.
47
   Exhibit II.

                                                 28
        Case 3:23-cv-00243-AMO
             Case 20-12836-JTD Document
                                Doc 1063 32-12
                                           Filed 12/05/22
                                                 Filed 03/03/23
                                                            PagePage
                                                                 29 of30
                                                                       64of 273




          93.    Like Schatt, Carosa did not want to create a paper trail showing his involvement in

their scheme.




                                                                      48




          94.




                           . 49




48
     Exhibit RRR.
49
     Exhibit JJ; Exhibit KK; Exhibit LL.

                                                 29
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              30 of31
                                                                    64of 273




       95.




                                                          51



       96.




                                                                                          . 52

       97.        Goldstein, Hummer, and their team of developers and engineers worked to build

and retrieve anything that would be of value to the new company. Goldstein’s team continued

these efforts right up until they were finally laid-off by Cred on January 15, 2021.

       98.




             54


       99.        Although he was no longer Cred’s CEO, Schatt still had access to computers and

other hardware and IT equipment in Cred’s office. Almost immediately after Goldstein and his




50
   Exhibit MM; Exhibit NN.
51
   Id.
52
   See, e.g., Exhibit OO; Exhibit PP; Exhibit QQ.
53
   Exhibit RR.
54
   Exhibit SS.

                                                30
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                31 of32
                                                                      64of 273




team were let go, Goldstein sent Schatt instructions on which items they needed from Cred to

continue work on the platform they had been building for Cred while still employed by Cred.

         100.      At the same time, Carosa was also sending Schatt instructions on other items that

they needed from Cred to continue developing its platform at their new company.




                           55


         101.




         102.




55
     Exhibit TT.

                                                  31
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              32 of33
                                                                    64of 273




                                                          (Emphasis added).

       103.




                                             . 57

       104.




      . 58




56
   Exhibit UU.
57
   Id. at 2.
58
   Exhibit VV.

                                       32
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              33 of34
                                                                    64of 273




       105.




                                                                 . 59

F.     Schatt, Podulka, Goldstein, And Carosa Launch Earnity

       106.    Having taken everything from Cred that they could, Schatt, Podulka, Goldstein,

Carosa and the rest of their team were almost ready to complete the final stage of their plan: setting

up Earnity.

       107.    Through January 2021, Schatt and Carosa discussed the structure and composition

of the new company’s board and management team.



                                                 . 60

       108.



                                                                                            . 61

       109.




                 . 62




59
   Id.
60
   Exhibit WW.
61
   Exhibit XX.
62
   Exhibit YY.

                                                 33
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         34 of35
                                                               64of 273
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                35 of36
                                                                      64of 273




G.       The Trust Uncovers Earnity

         113.   For obvious reasons, Schatt, Podulka, Goldstein, Hummer, and Carosa tried to

conceal Earnity from the Trust. They failed.

         114.   Most of Cred’s IT equipment was secured by the Trust. Along with Cred’s office

furniture and supplies, this equipment was placed in a storage unit near Cred’s former offices in

San Mateo, California, to await a sale as part of the liquidation of Cred’s remaining assets.

         115.



                                                                                                 .




                        69
                             That same day, Hummer resigned as a consultant to the Trust and, upon




69
     Exhibit FFF.

                                                 35
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                36 of37
                                                                      64of 273




information and belief, shortly thereafter began working exclusively for Earnity with Carosa and

Schatt.

          116.




                                 .

          117.   Hummer realized that Carosa had made a mistake.




                                                                                   70




70
     Exhibit GGG.

                                               36
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                37 of38
                                                                      64of 273




         118.   Hummer was right. Although the Trust was not yet aware that Earnity was

Cred 2.0,



                                                . 72




71
     Exhibit HHH.
72
     Exhibit III.

                                           37
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         38 of39
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         39 of40
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         40 of41
                                                               64of 273
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              41 of42
                                                                    64of 273




       127.   The Trust and its counsel never received a response to this question. However, the

Trust had enough information by now to know that there was more to their story and that the

answer was an inevitable “Yes.”

       128.




       129.                                                                                  the

Trust served the Earnity Defendants with subpoenas pursuant to Bankruptcy Rule 2004 on

August 12, 2021 (the “Subpoenas”). The Subpoenas sought information concerning Cred’s

property—including Cred’s intellectual property—that may be in Earnity’s possession, custody,

or control.

       130.   Although Earnity agreed to comply voluntarily with the Subpoenas the Trust served

upon it, Earnity refused to produce any documents in response. Rather, Earnity objected to the

Subpoenas in their entirety and claimed that it did not possess responsive documents concerning

Cred or Cred’s property.

       131.   Following repeated communications, discovery letters, and meet and confers, on

December 2021, the Trust moved to compel the production of documents from Earnity. After a



                                              41
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              42 of43
                                                                    64of 273




hearing in early January 2022, the Court ordered Earnity to comply with the Subpoenas’ document

requests.

              Earnity produced hundreds of responsive documents, many of which formed the basis

for this Complaint.

H.     Earnity Is “Cred 2.0”

       132.     Earnity is based on and created from the platform that Cred developed prior to its

bankruptcy filing in November 2020.

                                                                                                  ,

Earnity uses the same mailing address (as well as a workspace located across the street).

       133.     Earnity’s team is and was largely composed of former Cred executives, advisors,

and employees. Earnity’s counsel confirmed that, at a minimum, eight (8) former Cred employees

work for Earnity and, upon information and belief, that number has since increased and includes,

among others:      CEO Schatt, CFO Podulka, CTO Goldstein, senior advisor Kingsborough,

IT Director Hummer, Security Director Marie Kacmarek, programmers and developers Chawla,

Zavodnik, and Kotak, software engineers Joseph Lally and Joseph Liyana, creative director

Nicole Skillern, senior accountant Han Ha, and senior product director Heidi Ng.

       134.     Just like Cred 2.0, Earnity was built as a full-service CeFi-DeFi routing platform.

It was specifically designed to provide a combination of traditional CeFi investment products—

including customer-to-customer and third-party trading and lending transactions—that would

direct customers to a variety of DeFi investment opportunities on a user-friendly blockchain

platform that incorporated a social media element into its platform. These are the same core

elements of the platform that was intended to become “Cred 2.0”.

       135.     Internal memoranda describing Earnity’s operations and product offerings only

confirm this.

                                                42
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                43 of44
                                                                      64of 273




         136.




         137.   Again, these functions reflect the same core elements that defined Cred 2.0 as a

novel combination of CeFi and DeFi on a single easy-to-use platform.




79
     Exhibit KKK.
80
     Exhibit LLL.

                                               43
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                44 of45
                                                                      64of 273




                                           : 81




81
     Compare Exhibit I with Exhibit LLL.

                                                  44
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                45 of46
                                                                      64of 273




         138.




         139.

                                                                                            .83

These are among the core elements of the product and platform that were being developed by Cred

executives and employees using Cred software for nearly an entire year before and up through

Cred’s bankruptcy filing in November 2020.




82
     Exhibit MMM.
83
     Exhibit NNN.

                                              45
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063 32-12
                                          Filed 12/05/22
                                                Filed 03/03/23
                                                           PagePage
                                                                46 of47
                                                                      64of 273




         140.   Led by Schatt and Carosa, Earnity has built partnerships and obtained funding from

investors by pitching the same business plans that were conceived and developed for and by Cred

in 2020—namely, creating a blockchain-based platform to facilitate crypto investment

opportunities for retail customers using social media.

         141.   For example, on December 27, 2021, Schatt sent an email to Ault Global Holdings

(“Ault Global”), a publicly-traded investment holding company.



                                                                            : 84




84
     Exhibit OOO.

                                                46
        Case 3:23-cv-00243-AMO
             Case 20-12836-JTD Document
                                Doc 1063 32-12
                                           Filed 12/05/22
                                                 Filed 03/03/23
                                                            PagePage
                                                                 47 of48
                                                                       64of 273




         142.    In addition to its flagship social media-based CeFi-DeFi routing platform, Earnity

formed two subsidiaries—Earnity Financial and ET Trader. These companies were designed to

perform supporting services and functions that could and would have been utilized by Cred and

similarly reflect the key components of what was intended to become “Cred 2.0.”

         143.    Earnity formed Earnity Financial on June 25, 2021, as a wholly-owned subsidiary

                                                                                                ”85

Among other things, Earnity Financial’s website explains that it “offers customers the ability to

fund crypto purchases via wire transfers, ACH, as well as debit and credit cards; exchange

cryptocurrencies across multiple platforms with low transfer costs; curate bespoke cryptocurrency

collections; share and gift cryptocurrency with social communities; [and] seamlessly integrate

custodial and non-custodial wallets.” 86




85
     Exhibit PPP.
86
     https://www.earnityfinancial.com/

                                                 47
        Case 3:23-cv-00243-AMO
             Case 20-12836-JTD Document
                                Doc 1063 32-12
                                           Filed 12/05/22
                                                 Filed 03/03/23
                                                            PagePage
                                                                 48 of49
                                                                       64of 273




         144.    Earnity also formed another subsidiary under Florida law with the same name as

Earnity Financial. Upon information and belief, Earnity Financial (FL) operates in the same

capacity as Earnity Financial for customers and business operations located in Florida.

         145.    In addition to Earnity Financial and Earnity Financial (FL), Earnity formed ET

Trader on July 2, 2021. ET Trader was designed to expand Earnity’s CeFi trading capabilities and

generate additional revenue by operating as a third-party intermediary in customer transactions

and trades on cryptocurrency exchanges.                                                       : 87




         146.    As with Earnity Financial, ET Trader’s services could and would have been a

significant asset to Cred in supporting traditional CeFi cryptocurrency trading and investment

services that formed one of the key parts of the “Cred 2.0”. And both its concept and the supporting

software were developed at Cred, by Cred, and for Cred.

I.       Earnity Has Raised A Significant Amount Of Money Off “Cred 2.0”

         147.                  , Earnity sought funding from Ault Global in late 2021 as part of its

Series A funding round, which raised $15 million. The lead investor in that financing round was

BitNile Holdings, Inc. (“BitNile”), a cryptocurrency mining company owned by Ault Global. 88




87
     Exhibit QQQ.
88
     Dec. 6, 2021 CoinDesk Article, DeFi Startup Earnity Raises $15M Led by Miner BitNile.

                                                48
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              49 of50
                                                                    64of 273




       148.       In addition to using these funds to build the Cred 2.0 platform at Earnity, upon

information and belief, Earnity used these funds, in part, to sponsor an IndyCar for the 2022

IndyCar racing season. In the February 24, 2022 press release, Earnity described itself as the

“world’s first community-based crypto platform and marketplace” and “is a new crypto platform

and marketplace that was created to take the complexity out of crypto, making it more accessible

and secure to manage.” 89 Earnity also noted that it “combines a social media community with a

cryptocurrency and decentralized (DeFi) marketplace to give users a place to earn, learn and collect

crypto assets.”




89
   https://www.prnewswire.com/news-releases/earnity-the-worlds-first-community-based-crypto-
platform-and-marketplace-joins-with-ed-carpenter-racing-and-bitnile-holdings-on-2022-indycar-
program-301490148.html

                                                 49
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         50 of51
                                                               64of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063 32-12
                                   Filed 12/05/22
                                         Filed 03/03/23
                                                    PagePage
                                                         51 of52
                                                               64of 273




                                  51
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              52 of53
                                                                    64of 273




       152.     Because the business that Defendants now operate constitutes property, assets, and

opportunities that belong to Cred and that should and would have inured to the Trust and its

creditors if they not been wrongfully misappropriated, the Trust now brings this action.

                                      CAUSES OF ACTION

                                          Count I
              Avoidance of Unauthorized Post-Petition Transfers, 11 U.S.C. § 549
                                  (Against All Defendants)

       153.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       154.     Pursuant to Bankruptcy Code § 549, the Trust is entitled to avoid the transfer to the

Earnity Defendants of the tangible and intangible assets and property of Cred’s estate relating to

the platform described above as “Cred 2.0”, including the trade secrets and other confidential and

proprietary information developed by and for Cred—i.e., a CeFi-DeFi platform to connect retail

investors to centralized and decentralized cryptocurrency investment opportunities with a built-in

social media component to acclimate investors to various CeFi and DeFi investment

opportunities—prior to and through its bankruptcy filing on November 7, 2021 (the “Transferred

Assets and Trade Secrets”).

       155.     The Transferred Assets and Trade Secrets belong to Cred’s estate and were

misappropriated by Cred’s former officers and employees, including Schatt, Goldstein, and

Podulka, as well as Carosa, after the commencement of these Chapter 11 Cases, and were

subsequently transferred to the Earnity Defendants upon their respective formations

(the “Post-Petition Transfer”).

       156.     The Post-Petition Transfer from Cred’s estate to the Earnity Defendants was not

authorized by the Bankruptcy Code or this Court.



                                                 52
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              53 of54
                                                                    64of 273




       157.    The Earnity Defendants received the Transferred Assets and Trade Secrets in the

Post-Petition Transfer and continue to hold them with full knowledge that the Transferred Assets

and Trade Secrets were created by and for Cred and properly belonged to Cred’s estate.

       158.    Thus, the Post-Petition Transfer is avoidable under Bankruptcy Code § 549(a).

                                           Count II
                         Recovery of Avoided Transfer, 11 U.S.C. § 550
                                   (Against All Defendants)

       159.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       160.    The Trust is entitled to avoid the Post-Petition Transfer of the Transferred Assets

and Trade Secrets pursuant to Bankruptcy Code § 549.

       161.    The Earnity Defendants are the subsequent or mediate transferee of the Transferred

Assets and Trade Secrets, which they received pursuant to the Post-Petition Transfer and continue

to hold with full knowledge that the Transferred Assets and Trade Secrets were created by and for

Cred and properly belong to Cred’s estate.

       162.    The Earnity Defendants knew that the Post-Petition Transfer was voidable at the

time they received the Transferred Assets and Trade Secrets. Therefore, the Earnity Defendants

do not constitute good faith transferees under Bankruptcy Code § 550.

       163.    Cred and its estate have been damaged by the loss of the value of the Transferred

Assets and Trade Secrets and related business opportunities, as well as by reason of the costs and

attorneys’ fees that the Trust has incurred in connection with investigating the relevant misconduct

underlying and in bringing this action.

       164.    Accordingly, the Trust is entitled to recover the Transferred Assets and Trade

Secrets, or if this Court so orders, to recover the value of the Transferred Assets and Trade Secrets,



                                                 53
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              54 of55
                                                                    64of 273




for the benefit of Cred’s estate pursuant to Bankruptcy Code § 550(a), as well as the value of the

costs that the Trust has had to incur in order to recover them.

                                       Count III
      Misappropriation Of Trade Secrets, 18 U.S.C. § 1836 and Cal. Civ. Code § 3426
                               (Against All Defendants)

       165.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       166.    Cred created and developed the confidential and proprietary financial, business,

technical, and engineering information relating to the platform described above as “Cred 2.0” prior

to and through its bankruptcy filing on November 7, 2021.

       167.    The foregoing confidential and proprietary financial, business, technical, and

engineering information relating to the Cred 2.0 platform that Cred created and developed

constitute trade secrets as defined under 18 U.S.C. § 1839(3) and Cal. Civ. Code § 3426.1

(the “Cred 2.0 Trade Secrets”), and rightfully and legally belong to Cred and its estate.

       168.    The Cred 2.0 Trade Secrets that Cred owned derived independent and actual or

potential economic value from not being generally known to the public and/or other persons who

could obtain economic value from their disclosure or use, and at all relevant times Cred took

reasonable measures to keep the Cred 2.0 Trade Secrets confidential and secret including, but not

limited to, discussing and developing the Trade Secrets with a limited number of employees using

dedicated messaging channels, and requiring its employees to agree to various confidentiality

provisions in their employment agreements.

       169.    The Cred 2.0 Trade Secrets were willfully and maliciously misappropriated by

Cred’s former officers and employees, including Schatt, Goldstein, and Podulka, as well as Carosa,

after the commencement of these Chapter 11 Cases, and were subsequently transferred to the

Earnity Defendants upon their formation as part of the Post-Petition Transfer described above.

                                                 54
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              55 of56
                                                                    64of 273




       170.    Defendants knew or had reason to know that the Cred 2.0 Trade Secrets were secret

and valuable information that belonged to Cred and/or Cred’s estate at the time Defendants

received them, and Defendants continue to hold and benefit from the Cred 2.0 Trade Secrets with

full knowledge that their receipt and continued use of the Cred 2.0 Trade Secrets is unlawful.

       171.    Defendants have never received authorization from Cred, Cred’s estate, or the Trust

to use or possess the Cred 2.0 Trade Secrets, and Defendants have and continue to possess and use

the Cred 2.0 Trade Secrets for their own benefit and profit.

       172.    Defendants have and continue to do so with full knowledge that the Cred 2.0 Trade

Secrets were willfully and maliciously misappropriated from Cred and/or Cred’s estate.

       173.    Cred and its estate have suffered actual monetary damages as a direct and proximate

result of Defendants’ unlawful use and possession of the Cred 2.0 Trade Secrets, as the value of

the Cred 2.0 Trade Secrets (and the business opportunities they would have brought) should and

would have inured to the Trust and its creditors if they not been wrongfully misappropriated.

       174.    Accordingly, the Trust is entitled to recover damages from Defendants in the form

of actual loss, unjust enrichment, and/or reasonable royalty for the benefit of Cred’s estate under

Cal. Civ. Code § 3426.3(a) and (b). Further, because Defendants have and continue to use and

benefit from the Cred 2.0 Trade Secrets with the knowledge that they were willfully and

maliciously misappropriated from Cred and/or Cred’s estate, the Trust is entitled to recover

exemplary damages under Cal. Civ. Code § 3426.3 and its attorneys’ fees and costs under Cal.

Civ. Code § 3426.4.




                                                55
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              56 of57
                                                                    64of 273




                                          Count IV
                  Unfair Competition, Cal. Bus. & Prof. Code § 17200, et seq.
                                  (Against All Defendants)

        175.   The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

        176.   Cred conceived of and developed the confidential and proprietary financial,

business, technical, and engineering information relating to the platform described above as

“Cred 2.0” as a novel idea and business concept prior to its bankruptcy filing on November 7,

2021.

        177.   The founding members of the Earnity Defendants, including former Cred officers

and employees, and Carosa wrongfully misappropriated these tangible and intangible assets that

Cred had created, developed, and owned prior to its bankruptcy filing and fraudulently transferred

them to Defendants.

        178.   Defendants have and continue to engage in business acts and practices deemed

“unlawful” under Cal. Bus. & Prof. Code § 17200, et seq. because, as alleged above, the Earnity

Defendants have and continue to operate businesses that represent property and assets that belong

to Cred and that should and would have inured to the Trust and its creditors if they had not been

wrongfully misappropriated by Cred’s former officers and employees in violation of the law and

the fiduciary duties that they owed to Cred.

        179.   Defendants have and continue to engage in business acts and practices deemed

“unfair” under Cal. Bus. & Prof. Code § 17200, et seq. because, as alleged above, Defendants have

and continue to benefit from property, assets, and corporate opportunities that Cred invested its

time and resources in creating and developing, yet neither Cred nor its estate received anything of

value in return from Defendants.



                                                56
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              57 of58
                                                                    64of 273




       180.    Defendants have and continue to engage in business acts and practices deemed

“fraudulent” under Cal. Bus. & Prof. Code § 17200, et seq. because, as alleged above, Defendants

obtained the property, assets, and corporate opportunities that Cred invested its time and resources

in creating and developing through fraudulent means. These acts include, among other things, the

fraudulent Post-Petition Transfer, which was itself the product of the fraudulent scheme of the

Earnity Defendants’ founding officers and employees (including Carosa) to steal Cred 2.0 for

themselves through the formation and operation of the Earnity Defendants, as well as the

fraudulent and deceitful acts they engaged in during Cred’s bankruptcy proceedings.

       181.    Cred and its estate have and continue to suffer actual monetary damages as a result

of Defendants’ unlawful, unfair, and fraudulent business acts and practices—including, without

limitation, the loss of the Transferred Assets and Trade Secrets, and the loss of other corporate

opportunities that should have inured to Cred and its estate rather than to Defendants.

       182.    Accordingly, the Trust is entitled to recovery and restitution of all such damages

for the benefit of Cred’s estate under Cal. Bus. & Prof. Code § 17200, et seq.

                                          Count V
                                Common Law Unfair Competition
                                   (Against All Defendants)

       183.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       184.    Cred invested a substantial amount of company time and resources in developing

the new “Cred 2.0” platform from early 2020 through and even after Cred filed for bankruptcy on

November 7, 2020, with the intention that the new platform would reinvent and expand Cred’s

business.

       185.    Defendants unlawfully, unfairly, and fraudulently obtained the confidential and

proprietary financial, business, technical, and engineering information that Cred created and

                                                57
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              58 of59
                                                                    64of 273




developed for this new “Cred 2.0” platform without providing Cred with anything of value in

exchange.

       186.    Accordingly, the Trust is entitled to recovery and restitution of all such damages

that Cred and/or its estate suffered as a result of Defendants’ wrongful misappropriation of the

property, assets, and corporate opportunities that rightfully belong to and should and would have

inured to Cred and/or its estate.

                                             Count VI
                                            Conversion
                                      (Against All Defendants)

       187.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       188.    Cred created and developed the confidential and proprietary financial, business,

technical, and engineering information, including the Transferred Assets and Trade Secrets, as

well as other tangible and intangible assets relating to the “Cred 2.0” platform, prior to and through

its bankruptcy filing on November 7, 2021.

       189.    These assets properly rightfully and legally belong to Cred and its estate.

       190.    The Defendants wrongfully obtained and disposed of these valuable assets through

the unlawful, unfair, and fraudulent acts of the Defendants, and the Defendants continue to use

and benefit from them, with the knowledge that doing so is wrongful and unlawful.

       191.    As a result, Cred and its estate have suffered injury and harm, including through

the loss of property and assets which should and would have inured to the Trust and its creditors

if they not been wrongfully converted. Accordingly, the Trust is entitled to recover these assets

including, but not limited to, the Transferred Assets and Trade Secrets, or their equivalent value.




                                                 58
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              59 of60
                                                                    64of 273




                                            Count VII
                                        Unjust Enrichment
                                      (Against All Defendants)

       192.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       193.    Cred created and developed the confidential and proprietary financial, business,

technical, and engineering information, including the Transferred Assets and Trade Secrets, as

well as other tangible and intangible assets relating to the “Cred 2.0” platform, prior to and through

its bankruptcy filing on November 7, 2021.

       194.    These assets properly rightfully and legally belong to Cred and its estate.

       195.    Defendants wrongfully obtained these assets through the unlawful, unfair, and

fraudulent acts of Defendants, without providing Cred with anything of value in exchange, and

Defendants continue to use and benefit from these assets with the knowledge that doing so is

wrongful and unlawful.

       196.    As a result of the foregoing, Defendants have been and continue to be unjustly

enriched at the expense of Cred and its estate. The Trust is therefore entitled to restitution in an

amount equal to the value of the property and assets that Defendants have wrongfully benefitted

from at the expense of Cred’s estate.

                                          Count VIII
                         Aiding and Abetting Breach of Fiduciary Duty
                                   (Against All Defendants)

       197.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       198.    Each Defendant aided and abetted Cred’s Chief Executive Officer (Schatt), Chief

Financial Officer (Podulka), and Chief Technology Officer (Goldstein) in breaching the fiduciary

duties they owed to Cred as officers and executives.

                                                 59
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              60 of61
                                                                    64of 273




       199.    Specifically, Schatt, Podulka, and Goldstein breached the fiduciary duties that they

owed to Cred including the duties of loyalty, care, and good faith by, among other things

misappropriating and/or converting certain of Cred’s tangible and intangible assets that Cred had

created, developed, and owned prior to its bankruptcy filing, including those developed as part of

the “Cred 2.0” project, and fraudulently transferred them to Defendants.

       200.    Each Defendant knew or reasonably should have known that Schatt, Podulka, and

Goldstein owed Cred fiduciary duties.

       201.    Each Defendant substantially assisted Schatt, Podulka, and Goldstein’s breach of

their fiduciary duties by using their positions of knowledge and expertise, as well as the trust Cred

placed in them, to misappropriate and/or convert certain of Cred’s tangible and intangible assets,

including corporate opportunities, for the benefit of Defendants and to Cred’s detriment.

       202.    Carosa knowingly or with reckless indifference participated in Schatt, Podulka, and

Goldstein’s breaches of their fiduciary duties by, among other things: (i) collaborating with Schatt,

Podulka, and Goldstein’s misappropriation and/or conversion of the Cred 2.0 assets and corporate

opportunities; (ii) assisting Schatt, Podulka, and Goldstein in segregating all of the unnecessary,

risky, and unwanted parts of Cred away from everything the former managers wanted to keep;

(iii) assisting Schatt, Podulka, and Goldstein’s raising of capital for the Earnity Defendants based

upon the use of the misappropriated and/or converted Cred 2.0 assets; and (iv) providing other

material and operational support in setting up and founding the Earnity Defendants to take

possession of the misappropriated and/or converted assets.

       203.    The Earnity Defendants knowingly or with reckless indifference participated in

Schatt, Podulka, and Goldstein’s breaches of their fiduciary duties by, among other things,

facilitating Schatt, Podulka, and Goldstein’s misappropriation and/or conversion of the Cred 2.0



                                                 60
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063 32-12
                                        Filed 12/05/22
                                              Filed 03/03/23
                                                         PagePage
                                                              61 of62
                                                                    64of 273




assets and corporate opportunities by taking possession of those assets and raising capital on the

basis of those assets to run a business that is rightly the property of Cred.

       204.    As a result of the knowing participating and substantial assistance that each

Defendant provided to Schatt, Podulka, and Goldstein’s breaches of fiduciary duties, Cred suffered

an amount of damages to be determined at trial.

                                         Count IX
                  Actual Fraudulent Transfer, Cal. Civ. Code § 3439.04(a)(1)
                                  (Against All Defendants)

       205.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       206.    Cred was involved in a transfer whereby Cred’s trade secrets and confidential and

proprietary information is now in the possession of Defendants.

       207.    In connection with the transfer, Cred, through Schatt, Podulka, and other former

Cred executives and employees, acted with actual intent to hinder, delay, or defraud the creditors

of Cred.

       208.    Specifically and without disclosing the transfer, Schatt, Podulka, and other former

Cred executives and employees conspired with Carosa to steal Cred’s property, assets, and

corporate opportunities and use them to create a post-bankruptcy entity—in the form of Earnity—

when it became clear that Cred’s bankruptcy was inevitable. Schatt, Podulka, and other former

Cred executives and employees thus misappropriated property which they knew rightfully

belonged to Cred and its creditors.

       209.    Accordingly, the Trust is entitled to void the transfer of Cred’s trade secrets and

confidential and proprietary information to Defendants pursuant to Cal. Civ. Code § 3439.04(a)(1).




                                                  61
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               62 of63
                                                                     64of 273




                                         Count X
               Constructive Fraudulent Transfer, Cal. Civ. Code § 3439.04(a)(2)
                                  (Against All Defendants)

        210.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

        211.    Cred was involved in a transfer whereby Cred’s trade secrets and confidential and

proprietary information is now in the possession of Defendants.

        212.    In connection with this transfer, Cred did not receive a reasonably equivalent value

in exchange for the transfer of Cred’s trade secrets and confidential and proprietary information

made to Earnity and/or Carosa.

        213.    Cred, which was insolvent at the time of the transfer, was therefore engaged in a

business or transaction for which the remaining assets of Cred were unreasonably small in relation

to the business or transaction.

        214.    Accordingly, the Trust is entitled to void the transfer of Cred’s trade secrets and

confidential and proprietary information to Defendants pursuant to Cal. Civ. Code

§ 3439.04(a)(2).

                                            Count XI
                    Constructive Fraudulent Transfer, Cal. Civ. Code § 3439.05
                                     (Against All Defendants)

        215.    The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

        216.    Cred was involved in a transfer whereby Cred’s trade secrets and confidential and

proprietary information is now held by Defendants.

        217.    Cred made the transfer without receiving reasonably equivalent value in exchange

for the transfer.



                                                 62
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               63 of64
                                                                     64of 273




        218.       Cred was insolvent at the time it made the transfer or became insolvent as a result

of the transfer.

        219.       Accordingly, the Trust is entitled to void the transfer of Cred’s trade secrets and

confidential and proprietary information to Defendants pursuant to Cal. Civ. Code § 3439.05.

                                       PRAYER FOR RELIEF

        WHEREFORE, the Trust requests that this Court grant the following relief in favor of the

Trust and against Defendants:

            1. Avoiding the Post-Petition Transfer of the Transferred Assets and Trade Secrets
               pursuant to Bankruptcy Code § 549(a), Cal. Civ. Code § 3439.04, and Cal. Civ.
               Code § 3439.05 and directing the Earnity Defendants to return the Transferred
               Assets and Trade Secrets, or an amount to be determined at trial equal to the value
               of the Transferred Assets and Trade Secrets, to the Trust pursuant to Bankruptcy
               Code § 550(a);

            2. Actual damages and/or restitution in an amount to be determined at trial equal to
               the lost value of the Cred 2.0 Trade Secrets that were misappropriated from Cred
               pursuant to 18 U.S.C. § 1836 and Cal. Civ. Code § 3426.3(a); and/or, alternatively,
               reasonable royalty for Defendants’ use of the Cred 2.0 Trade secrets under Cal. Civ.
               Code § 3426.3(b);

            3. Exemplary damages under Cal. Civ. Code § 3426.3(c), as well as attorneys’ fees
               and costs under Cal. Civ. Code § 3426.4;

            4. Actual damages and/or restitution in an amount to be determined at trial for
               Defendants’ unlawful, unfair, and fraudulent business acts and practices under Cal.
               Bus. & Prof. Code § 17200, et seq. and/or the common law doctrine of unfair
               competition;

            5. Actual damages and/or restitution in an amount equal to the value of the property
               and assets that Defendants have wrongfully converted from Cred’s estate and have
               been unjustly enriched at the expense of Cred’s estate;

            6. Actual damages and/or restitution in an amount to be determined at trial as a result
               of Defendants’ aiding and abetting of the breach of fiduciary duties of Cred’s
               former officers and directors;

            7. Such other and further relief as this Court may deem just and proper.




                                                   63
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063 32-12
                                         Filed 12/05/22
                                               Filed 03/03/23
                                                          PagePage
                                                               64 of65
                                                                     64of 273




 Dated: December 5, 2022               MCDERMOTT WILL & EMERY LLP
        Wilmington, Delaware
                                       /s/ David R. Hurst
                                       David R. Hurst (I.D. No. 3743)
                                       1007 North Orange Street 10th Floor
                                       Wilmington, DE 19801
                                       Telephone: (302) 485-3900
                                       Facsimile: (302) 351-8711

                                       - and -

                                       Darren Azman (admitted pro hac vice)
                                       Joseph B. Evans (admitted pro hac vice)
                                       Andrew B. Kratenstein (pro hac vice)
                                       Michael R. Huttenlocher (pro hac vice
                                       application forthcoming)
                                       Timothy C. Cramton (pro hac vice application
                                       forthcoming)
                                       One Vanderbilt Avenue
                                       New York, NY 10017
                                       Telephone: (212) 547-5400
                                       Facsimile: (212) 547-5444

                                       Counsel to the Cred Inc. Liquidation Trust

DM_US 192193248-4 113270.0023




                                        64
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-1
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of664 of 273




                              EXHIBIT A
To:          Dan Schatt[dan@mycred.io]
From:                 Case 3:23-cv-00243-AMO
                             Case 20-12836-JTD Document
             Joe Podulka[joe@mycred.io]            Doc 1063-1
                                                           32-12
                                                               Filed
                                                                   Filed
                                                                      12/05/22
                                                                         03/03/23Page
                                                                                   Page
                                                                                      2 of674 of 273
Sent:        Mon 10/26/2020 2:21:38 AM (UTC-04:00)
Subject:     RE: Cred Follow-up

 We could rename or create new company ‘CreDeFi’ and probably raise capital just on the name **

 I also have some ideas about reducing staff, as we would no longer need anyone working on bringing in Cred Earn money, liquidity,
 or supporting Uphold/Retail.
        • No Randy, Travis, Michael, Devon, Delon, Colin. Would close the LA (and SM) office as part of bankruptcy and be fully
        remote.
        • No Megan (only would need Min for BD/Marketing)
        • No Poland or Shanghai. Danny could use the local engineering team to support current initiatives. Maybe Amit goes.
        • Maybe no Jonathan or Nicole (and contractors) depending on future projects.
        • Maybe no Addy if D could and would be willing to manage Amun and similar initiatives. Although depending on what we
        decide to pursue, having a #2 and an analyst in capital markets might be a good idea. Maybe we could work closer with and
        also be somewhat of a lead-gen for 1AV.
        • Not sure what level Security would be required.
        • Not sure about Product beyond Maxim and maybe Dhiraj
        • Probably no AscaleX, although would likely need Pawan and Cristiane for sure through bankruptcy and likely after given
        they would manage reporting, account management, integration, customer service, etc.
        • Could outsource Legal through PH and/or Scott (or similar)


 All energy and resources would be dedicated to fee-based or revenue sharing products – nothing balance sheet related. I think the
 remaining team (and likely current investors) could rally around a more focused company. The key will be segregating all of the
 unnecessary, risky, and unwanted parts of the company away from everything we want to keep.

 Joe

 From: Dan Schatt <dan@mycred.io>
 Sent: Sunday, October 25, 2020 10:08 PM
 To: Joe Podulka <joe@mycred.io>
 Subject: Re: Cred Follow-up

 Really great thoughts, agree wholeheartedly. I’ll start digging into those ideas and the communication plan

 Sent from my iPhone


           On Oct 25, 2020, at 10:01 PM, Joe Podulka <joe@mycred.io> wrote:

       ﻿
       Hi Dan.

       I have most of this stuff and can put in a folder or share directly over email tomorrow.

       I also had an idea about keeping the company alive. Assuming Chapter 11 is a possibility, I think the objective should
       be to select the non-balance sheet elements of the company that could possibly grow into a stand-alone business.
       Maybe products like Amun, payments for buying/selling crypto, other things Product and Engineering are building
       today. This way, the focus could be on closing CredEarn and CredBorrow, but coming away with a leaner company
       and hopefully some start-up capital to focus on areas of Cred we’ve been working on lately. If we’re able to make
       progress on these items over the next 90 days, there may be a company to operate in 2021.

       One key will be communicating with employees and investors that the company is not ending, but pivoting. We’ll
       need to communicate that we’re pivoting away from a risky balance sheet business and into a more stable and
       sustainable one.

       Joe
                Case 3:23-cv-00243-AMO
                     Case 20-12836-JTD Document
                                        Doc 1063-1
                                                32-12
                                                    Filed
                                                        Filed
                                                           12/05/22
                                                              03/03/23Page
                                                                        Page
                                                                           3 of684 of 273
From: Dan Schatt <dan@mycred.io>
Sent: Sunday, October 25, 2020 9:19 PM
To: Steve Mayer <sdmayer@sdmayer.com>; Joe Podulka <joe@mycred.io>; Wyatt Nelson <wnelson@sdmayer.com>
Subject: Re: Cred Follow-up

Steve – thank you, very helpful. 8:30am would be great, we’ll get cracking on these.

From: Steve Mayer <sdmayer@sdmayer.com>
Date: Sunday, October 25, 2020 at 9:15 PM
To: Dan Schatt <dan@mycred.io>, Joe Podulka <joe@mycred.io>, Wyatt Nelson <wnelson@sdmayer.com>
Subject: RE: Cred Follow-up

Dan and Joe, I can do a call at 8:30, noon or about 2. Each slot I have an hour. I have copied Wyatt Nelson who
works with me on variety of special assignments. Wyatt, can you join at one of these times?

Dan and Joe, it would be great if you could send me:

       1. the audited financials from 2018.
       2. If you have a draft of the 12/21/19 financials that would be helpful.
       3. Current financials as of sept 2020.

I can look at this material and be more informed for the call.

We can jump on this right away and after we talk I can get you an engagement letter.

A few thoughts:

       1. Quickly create a spreadsheet on a weekly basis for the next 3-4 month that would give us a game plan.
       2. We should probably interview a couple of bankruptcy firms. I have a few recommendations and we can use
       your current firm
       3. We need to create a staffing plan that starts with your current employees and figure out who to cut and
       when over the next 30 days and maybe quicker
       4. If we have access to Netsuite that would be great.
       5. You cannot take any more new money in the door
       6. You should probably download the business chapter 11 forms which are b-201 through 207. All of this will
       need to be completed. The more we can set up the better we will be for the attorney.
       7. We should review your insurance coverage and talk with your broker to make sure we understand coverage.
       8. You have to begin to convert all assets to cash
       9. Please send a copy of the lease so we can review

I am sure I will have some other thoughts by the time we talk tomorrow.

Talk later

Stephen D. Mayer (Steve)
Founder and Managing Partner
sdmayer@sdmayer.com

<image001.png>
SD Mayer & Associates LLP
235 Montgomery Street, 30th Floor | San Francisco, CA 94104
415 691 4040 main | 415 691 4030 direct | 415 760 8824 mobile | 415 691 4033 fax
sdmayer.com
Assistant Gail Jenkin gjenkin@sdmayer.com Direct 415 691 4033
_______________________________________
CONFIDENTIALITY NOTICE: This message is intended only for the use of the individual or entity to which it is addressed, and may contain
information that is privileged, confidential and exempt from disclosure under applicable law. If the reader of the message is not the intended recipient,
or the employee or agent responsible for delivering the message to the intended recipient, you are hereby notified that any dissemination, distribution
or copying of this communication is strictly prohibited. If you have received this communication in error, please notify us immediately by telephone at
(415) 691-4040 and destroy this message.
DISCLAIMER: This communication has been prepared for informational purposes only and is not intended to constitute advertising or solicitation. It
                Case
should not be used        3:23-cv-00243-AMO
                           Case as
                    or interpreted  20-12836-JTD             Document
                                                              Doc
                                      tax or professional advice,     1063-1
                                                                   unless     32-12
                                                                          otherwise FiledFiled
                                                                                    stated.  12/05/22
                                                                                            Those 03/03/23
                                                                                                   seeking such PagePage
                                                                                                                  advice 4should
                                                                                                                            of694 contact
                                                                                                                                  of 273a member of our
firm. Transmission of this information is not intended to create, and receipt does not constitute, any client-firm relationship. Personal or confidential
information should not be sent to our firm without first communicating directly with a member of our firm about establishing a client relationship.



From: Dan Schatt <dan@mycred.io>
Sent: Sunday, October 25, 2020 7:07 PM
To: Joe Podulka <joe@mycred.io>
Cc: Steve Mayer <sdmayer@sdmayer.com>
Subject: Re: Cred Follow-up

Thanks Joe.

Hi Steve - nice to meet you. Do you have time for a call tomorrow?

Thanks,
Dan

Sent from my iPhone


        On Oct 25, 2020, at 5:41 PM, Joe Podulka <joe@mycred.io> wrote:

        ﻿
        Hi Steve.

        Thanks for taking the time to chat with me this afternoon. Copied is Cred’s CEO, Dan Schatt. You can
        reply to this email with your thoughts based on what we discussed today.

        Thanks

        --
                                 Joe Podulka
                                 Chief Financial Officer
            <image003.png>
                                 joe@mycred.io
                                 mycred.io
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of707 of 273




                               EXHIBIT B
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           2 of717 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           3 of727 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           4 of737 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           5 of747 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           6 of757 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-2
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           7 of767 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-3
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of771 of 273




                              EXHIBIT C

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-4
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of785 of 273




                              EXHIBIT D
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063-4
                                      32-12
                                          Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                              Page
                                                                 2 of795 of 273



Cred LLC
2121 S El Camino Real, Ste 500
San Mateo, CA 94403

Prepared for:

Cred LLC Investment Committee: Liquidity Analysis by Cred Capital, Inc.

                Re: Liquidity Analysis Post March 2020 Flash Crash and Recommended Steps

The following analysis is intended to reflect recommendations for Cred LLC’s portfolio following the
significant decline in cryptocurrency prices over March 11-12, 2020. The change in closing prices for the
primary cryptocurrency assets on Cred’s platform are below:

 Token / Coin                       March 11                   March 12                    Change
 BTC                                 $7,911                     $4,971                      -37%
 ETH                                  $195                       $112                       -43%
 XRP                                $0.2080                    $0.1396                      -33%
 BCH                                  $267                       $152                       -43%

Over the last 5 years, this is the single largest daily drawdown in BTC price.

As a result of the event, several financial hedging instruments of Cred LLC were liquidated given the
falling market prices. The resulting short position on BTC has a strike price of approximately $5,900 –
about 800 BTC was lost in the arrangement.

The simultaneous decline in global liquidity created additional balance sheet issues for Cred LLC.
Specifically, a principal recall of approximately $10 million from a lending partner (MoKredit) was delayed
given liquidity issues in the Chinese Consumer loan portfolio. As a result, it was not possible to
reconstitute the appropriate hedging instruments at a more favorable market price.

JST, Cred’s primary counterparty for the swap transactions and other derivative contracts, issued a
margin call for outstanding swaps. Given the illiquidity in the loan portfolio, Cred was unable to acquire
the funds to provide additional contributions. Cred negotiated a Loan Modification Summary and executed
the agreement with JST. The workout plan includes the following:

Obligations:
     4,700 BCH
     27,298 ETH
     $35,580.70 accrued interest

JST Repayment Plan:
    Payment of 90 BTC from Cred’s exchange accounts to satisfy BCH liability on a 30:1 ratio.
    Repayment of the remaining BCH balance on July 16, 2020 with an 8% annualized interest rate.
    Repayment of ETH loan beginning on July 16, 2020 on a monthly cadence (minimum $500k USD
      equivalent of ETH per month).

In addition to repayment of the above Loan Modification Agreement, there is an additional operational
requirement to re-apply hedging instruments for the current portfolio. The current liabilities that need to be
hedged include the following:




                                                Confidential
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063-4
                                      32-12
                                          Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                              Page
                                                                 3 of805 of 273




Summary (as of 4.2.2020)
Total Principal Outstanding      $64,468,514
Next 12 Mo Interest               $1,940,235
YTW                                   3.01%
Wgt Avg Interest Rate                 9.17%


Maturity Statistics*
Average Days to Maturity        171
Avg Months to Maturity          5.6
Wgt Avg Days to Maturity        211
Avg Mo to Maturity              6.9
Median Days to Maturity         103
Median Months to Maturity 3.4


Top 4 Assets


BTC
Total Units      37,437,284
Avg USD Rate         3,669,043
BTC Yield               9.80%
Wgt Avg Price           $8,113


XRP
Total Units          5,198,803
Avg USD Rate           379,577
BTC Yield               7.30%
Wgt Avg Price          $0.2182


ETH
Total Units      5,293,365
Avg USD Rate          346,119
BTC Yield              6.54%
Wgt Avg Price           $179




BCH


                                               Confidential
        Case 3:23-cv-00243-AMO
             Case 20-12836-JTD Document
                                Doc 1063-4
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   4 of815 of 273




Total Units        2,881,796
Avg USD Rate         264,185
BTC Yield              9.17%
Wgt Avg Price           $282

Current Market Prices for the assets as of today:

BTC: $6,780
XRP: $0.1789
ETH: $142
BCH: $234

The sources for liquidity today include:
    Cash on balance sheet (~$350,000)
    Loan from portfolio (~$2 million)
    Principal from MoKredit – workout plan is as follows:
           o April - $100k
           o May - $200K
           o June - $4 million
           o July - $4 million
    Revenue from generating net interest margin from the current loan portfolio ($700k-$1mil per
       month)
    Additional contributions to CredEarn

Recommendations:

        Once proceeds from MoKredit return of capital are received. Immediately:
              o Use cash from MoKredit return of principal to acquire 2,003 units of BCH (estimated total
                   cost is $500K)
              o Acquire 8,074 ETH with cash from MoKredit to acquire hedges for 27,298 of ETH. Also,
                   use excess cash to repay initial 3,077 ETH (at today’s market price this is a total of $2.0
                   million for the hedges and a total of $3.8 million for the entire payment)
        Request an additional $3.3 million from MoKredit
        Adjust global target leverage from 4.0x to 3.3x in order to make the portfolio more resilient to a
         rapid decline in market prices. A lower strike price means additional cash is available for the
         business given the difference in the strike prices of the loan liabilities and hedging instruments.
        Request additional capital from MoKredit, assuming conditions for their underlying portfolio
         improve. While the situation in China seems to be improving, there is little insight to the short term
         liquidity with MoKredit due to (i) the Chinese government’s relaxation of debt repayment terms
         and (ii) uncertainty to the amount of cash that will be available.

It’s important to note the key risk in the recommended strategy is a significant increase in cryptocurrency
prices. With the strategy above, assuming a 100% increase in cryptocurrency prices by the end of 2020,
an additional $5 million will be needed from MoKredit (in addition to the $3.3 million) in order to
reconstitute the hedging program absent significant acceleration in growth of the loan portfolio.

Another key tradeoff to consider is that recalling principal from MoKredit will also reduce the weighted
average return of the loan portfolio for Cred, cannibalizing a critical source of revenue. Given this
situation, assets will be allocated to more liquid positions in Cred’s “All Weather Strategy”; specifically, the
allocation to 100 Acre Ventures and Quanta Coin will be increased given the weekly / monthly liquidity
profile and investment strategy.

Other items:


                                                 Confidential
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-4
                                     32-12
                                         Filed
                                             Filed
                                                12/05/22
                                                   03/03/23Page
                                                             Page
                                                                5 of825 of 273




Based on the cash flow analysis, there seems to be a potential cash liquidity issue for May 2020 given the
delay in receiving principal back from MoKredit.




[EXHIBITS ON FOLLOWING PAGES]




                                              Confidential
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-5
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of834 of 273




                               EXHIBIT E
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063-5
                                      32-12
                                          Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                              Page
                                                                 2 of844 of 273




Dan Schatt
Chief Executive Officer
Cred, Inc.
2121 El Camino Real, Ste 500
San Mateo, CA 94403

Re: Cred, Inc. - Liquidity Analysis and Plan to Overcome Current Undercapitalization

As of June 1, 2020, Cred’s current liabilities exceeded its invested assets and current assets by
approximately $19.5 million or 19% of the total principal balance of liabilities. Below is a
breakout of assets and liabilities.

Cred, Inc. Investment Assets & Liability Position as of 6.1.2020

Investment Assets & Cash                                    $ 85,773,874
Liability*                                                 $105,248,240
Net                                                       $ (19,474,365)
Assets % Liabilities                                                   81%

Notes​: ​Excludes interest expense/income, JST liability and Luxembourg assets/liabilities..

Although Cred does not have the capacity to repay the full liabilities if assets were liquidated
today, only $73.0M or 85% of liabilities are scheduled to be redeemed by the end of 2020.

Cred plans to gradually improve its current A%L ratio to at least 96% by year end. With a
forecast to increase customer liabilities to $187.6M in December 2020, holding the current
deficit at $19.5 alone would increase the A%L to 90%. The gap would be closed further as a
result of a reasonable net spread between customer liability costs and invested assets, as well
as other revenue sources.

The MoKredit loan is currently Cred’s largest asset partner by volume. While it has a high
average interest rate payable to Cred (~20%), the yield and volume alone are not enough to
cover the weighted average interest rate payable by Cred on its much larger liability base. Cred
will need to generate enough income on the other ~$50M in invested assets to cover the cost of
liabilities and fund the company’s operating expenses. While the MoKredit loan is on
forbearance and the prospect of full payment is not certain, the current amortization schedule
includes a $4,000,000 redemption in June, and another $4,000,000 redemption in July. The
Company’s initial amortization payments of $100k and $200K were paid on the final days of
April and May respectively.

If Cred is not able to consistently maintain a reasonable net spread on customer liability
expenses and invested assets, and sustained profitability is delayed, a number of actions can
be taken to bridge the gap as needed.
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063-5
                                      32-12
                                          Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                              Page
                                                                 3 of854 of 273




    (1) Cred can raise equity capital or convertible debt to cover operating expenses and
        provide working capital flexibility throughout 2020. This would provide more leeway in
        Cred’s effort to achieve sustainable profitability which is forecasted for Q4 2020. On a
        related note, Cred generated a net profit of $1.5M in April. While this exceptional
        performance is not expected every month in the short-term, it makes the prospects of a
        profitable Q4 and FY 2020 more likely.
    (2) Wait for BTC and other digital assets to decline in market value and reconstitute hedging
        instruments at a favorable market price. Based on high level calculations, a 10%, 20%,
        and 30% drop in cryptocurrency prices (on a USD equivalent basis) would lead to A%L
        ratios of approximately 88%, 97%, and 109%, respectively. If there is sufficient liquidity
        available, Cred could take advantage of a potential reduction in prices. Please note that
        it is impossible to accurately predict the future direction of crypto prices with certainty -
        they could also rise in value during the period that Cred needs those prices to fall.
    (3) Cred can continue its securitization activities and the related lending as this is not a
        demand on Cred’s liquidity and does not involve credit risk to Cred. This can generate
        material fee and interest income, accelerating or increasing profitability for Cred.

For the purpose of calculating net assets, we excluded Luxembourg assets, interest income,
market variance, short position, interest paid, loss, employee loan, and the Cred Loan accounts
to more accurately reflect liquid assets.

Exhibit A - Cash Flow Projections

The current plan below leverages a high yield target and cost of capital to implement roughly a
6% net interest margin throughout 2020. Assuming these targets could be met, an additional
$1.2 - 2.5 million in working capital would provide sufficient short term financing. Any
improvement to the net interest margin or monthly AUM additions would reduce the working
capital gap. The opposite scenario obviously applies.


 Monthly AUM Additions*              96% A%L Target Date                  Working Capital Gap

 $7.5 million                        June 2021                            $2.5 million

 $10.0 million                       February 2021                        $1.9 million

 $12.5 million                       November 2020                        $1.5 million

 $15.0 million                       August 2020                          $1.2 million
* The average monthly AUM additions in 2020 is more than $10 million. With the addition of new Salespeople and
Sales support, this number is expected to increase throughout 2020.

Using the same 6% target net interest margin, the adjusted profitability assumptions are as
follows:
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-5
                                     32-12
                                         Filed
                                             Filed
                                                12/05/22
                                                   03/03/23Page
                                                             Page
                                                                4 of864 of 273




 Monthly AUM Additions          Profitability Target Date       12/31/2020 Profits/OpEx

 $7.5 million                   May 2021                        71%

 $10.0 million                  February 2021                   85%

 $12.5 million                  January 2021                    100%

 $15.0 million                  November 2020                   114%



Based on these assumptions, achieving both a 96% target and profitable operations can be
achieved by June 2021 if Cred (i) has access to working capital as needed, (ii) brings in an
additional $7.5 million (net) per month to CredEarn, and (iii) keep expense growth less than
10% (annualized), after 2020.

Both objectives can be achieved in 2020 if more favorable scenarios materialize.
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-6
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of872 of 273




                               EXHIBIT F
To:        Kevin Hu[kevin@dcp.capital]; Dan Schatt[dan@mycred.io]
Cc:                  Case 3:23-cv-00243-AMO
                            Case 20-12836-JTD Document
           Haseeb Qureshi[haseeb@dcp.capital]         Doc 1063-6
                                                               32-12
                                                                   Filed
                                                                       Filed
                                                                          12/05/22
                                                                             03/03/23Page
                                                                                       Page
                                                                                          2 of882 of 273
From:      Stan Miroshnik[stan@mycred.io]
Sent:      Wed 6/10/2020 11:44:05 PM (UTC-04:00)
Subject:   Re: Cred Intro

Haseeb, thank you. Kevin - great to connect. Adding Dan, our CEO, to the thread.
Is there a good time for a call/zoom over the next few days?

Stan

On Wed, Jun 10, 2020 at 6:13 PM Haseeb Qureshi <haseeb@dcp.capital> wrote:

  Hi Stan, thanks for reaching out! Cred looks quite interesting, we'd love to learn more. Looping in @Kevin Hu who is
  our leads our investments into crypto lending.

  On Wed, Jun 10, 2020 at 1:27 PM Stan Miroshnik <stan@mycred.io> wrote:

   Haseeb,

   We’ve crossed paths in the crypto world and I wanted to connect as we are raising our first round of outside
   capital. I think it's within your fairway, so hopefully not an imposition.

   Cred is an enabling technology platform in the digital asset lending space. The co is 2 years old, being built
   by an ex-PayPal team, with 25FTEs, nearing 100,000 accounts, $250MM in assets serviced, $7mm revenue
   in '19, and on a strong growth path. We are “The bank platform for the token economy”. Cred also enables
   use of the LBA utility token when staked, provides premium interest rates, providing additional liquidity
   support.

   We are technology first, pursuing a Stripe-like b2b2c strategy, so not burning on retail accounts but working
   with large partners like Uphold, Litecoin Foundation, Huobi Wallet, Blockchain, and exchanges as a plug-
   in/API solution.


   Link to the deck here - https://docsend.com/view/mxii4998srasb7aa


   Pls let me know if your team is interested in connecting and having a conversation.

   Kind regards,
   Stan Miroshnik

  --
  Haseeb Qureshi
  Managing Partner, Dragonfly Capital
  dcp.capital
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-7
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of891 of 273




                              EXHIBIT G

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-8
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of904 of 273




                              EXHIBIT H
      Case 3:23-cv-00243-AMO
           Case 20-12836-JTD Document
                              Doc 1063-8
                                      32-12
                                          Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                              Page
                                                                 2 of914 of 273




Ongoing Projects
  ●    Bitcoin.com Relaunch - still need to set up meeting with Jason for this week to hear his
       plan.
  ●    Visa FasTrak program - need to finish press release and get over to IJ for pitching and
       release
  ●    Don Kingsborough/investor release?
  ●    Devon Kline event
  ●    Security Landing Page
  ●    AMA Video Series - going to have Dan do another one and then after that have different
       members of the team join
  ●    Crisis PR Plan
  ●    Autopilot Transition outstanding items
  ●    PR firm - Inbound Junction contract up at the end of August
  ●    Megan will share everything in google drive
  ●    Firebase Amit




Things to go over
  ●    Accessing Tableau
          ○ Ask Heidi for any lists you need instead of trying to figure out Tableau yourself.
              It’s unwieldy and complicated and Heidi can pull a list for you in a few minutes.
  ●    Paid ads
          ○ You need to get the landing page up to drive traffic to before any ads can be run.
              Push this back onto Devon or Xavier for assistance if they want to prioritize it with
              product and engineering. Make sure there is a consultant, do not let anyone try to
              run paid ads themselves.
  ●    Product marketing
          ○ Follow any templates that exist in google drive. I have done product marketing
              examples for pretty much every partner we have and it can all be found in google
              drive in slides. If you have any questions about it or where things are, Jonathan
              can help.
  ●    Autopilot - correct link to start earn button if its a generic campaign (ex: Just Browsing
       campaign)
          ○ For any emails that are sent, make sure you first run it by Dan S if he is available,
              or send test emails to a small group for quality control. I used to send test emails
              to Heidi, Jonathan, Marie (or Nicole) for any feedback on the subject line and to
              test all of the links. You have access to Sendgrid and can always pull up 2 years
              worth of email marketing that I have sent out to customers if you need help in
              getting ideas for what content to use. Rinse and repeat if necessary with
              campaigns that have been successful in the past. Mary Michael also has done a
              ton of content in google drive that can be used.
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063-8
                                       32-12
                                           Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                               Page
                                                                  3 of924 of 273



   ●    When/ why to send emails
          ○ Promotional
          ○ Newsletters/ Updates
          ○ Partner campaign
          ○ Comms with customers about compliance or product changes



Processes:
   ●    New Partner
          ○ Confirm dates with BD and Product
          ○ Create a strategy doc - use the templates that have already been created
          ○ Meet with partner - really lean on the partner to do the marketing. Your only job is
              to support and encourage.
          ○ Marketing/PR - make sure the dates are concrete before committing to a
              marketing launch date. I have seen dates get pushed back too many times on the
              product side, so just assume a target launch date is going to change.

   ●    New Product Announcement
          ○ Confirm dates with Product
          ○ Create a strategy doc
          ○ Blog content, email content, social promotion, etc.

   ●    Email Campaigns
          ○ Get Tableau list from Heidi
          ○ Draft content
          ○ Make sure that there are UTM links in everything
          ○ Put into Autopilot template
          ○ Send test email to Nicole S, Heidi, Xavier, etc for spot checking. Always send test
               emails around for feedback.
          ○ Send to compliance for signoff
          ○ Triple-check that all links are correct, there are not spelling or grammar errors,
               etc.
          ○ Create an Autopilot journey to track the data.


Things I feel great about:

   ●    Blog
   ●    Social
   ●    Content for email
   ●    Email templates and journeys
   ●    Press releases
   ●    PR team meetings
   ●    Telegram
       Case 3:23-cv-00243-AMO
            Case 20-12836-JTD Document
                               Doc 1063-8
                                       32-12
                                           Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                               Page
                                                                  4 of934 of 273



   ●    Partner marketing
   ●    AMAs




Current Projects:
   ●    Explainer video
   ●    Bitcoin relaunch
   ●    Klever partnership
   ●    Crisis PR doc
   ●    July AMA


Things I will avoid:
   1.   Messaging around Active Programs in Blocked States
   2.   Messaging around XAU decommission
   3.   Messaging around programs in general
   4.   Autopilot responsibilities - push back on Danny for the migration. We did our job in
        getting all of the content, templates, and journeys set up. He needs to take the lead on
        Q/A and ultimately sunset Sendgrid. I took on too much as it is and he shouldnt have
        leaned on us so heavily for that migration. It is purely technical at this point. If you get
        pushback from him then bring in Jonathan and Dan Schatt if need be but Jonathan
        should be able to help.




Passwords
   ●    Tableau - get from Heidi but I dont think you need it
   ●    Make sure Dan H gives u access to my Cred email so you can find anything you might
        need
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-9
                                32-12
                                    Filed
                                        Filed
                                           12/05/22
                                              03/03/23Page
                                                        Page
                                                           1 of943 of 273




                               EXHIBIT I
To:       Dan Schatt[dan@mycred.io]; Joe Podulka[joe@mycred.io]; Adnan Khakoo[adnan@mycred.io]
From:               Case 3:23-cv-00243-AMO
                           Case 20-12836-JTD Document Doc 1063-9
          Daniyal Inamullah[d.inamullah@credcapital.io]       32-12Filed
                                                                       Filed
                                                                          12/05/22
                                                                             03/03/23Page
                                                                                       Page
                                                                                          2 of953 of 273
Sent:     Thur 7/2/2020 1:03:42 AM (UTC-04:00)
Subject: Strategies
Cred Strategy.xlsx

All -
I put together the attached to help with ideation for go-forward strategy. Addy helped me develop a few of these concepts,
as well as others. It may be a good idea to put together a meeting to discuss these concepts as there's a lot of random stuff
there (just to get all my thoughts out on paper!).

Also, these are one person's thoughts, maybe there's a way to get everyone else's as well...


                      Daniyal Inamullah, CFA

                      Head of Capital Markets


                      (213) 344-6983

                      d.inamullah@credcapital.io

                      credcapital.io
        Case 3:23-cv-00243-AMO
             Case 20-12836-JTD Document
                                Doc 1063-9
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   3 of963 of 273


                                                                                                              CRED 3.0 PLAN

Company Overview                                                                                                              Other

WHAT WE ARE                                              WHAT WE ARE NOT (/ NOT YET)                                          Implement breakout sessions (Xavier organized great ones at Salt) to test different ideas, and mix-n-match
 Partners                                                 Technology Leader                                                   our team in more intimate conversations. The tech team needs to speak to the business team a lot more.
 Reputable Brand                                          API Platform                                                        We should prioritize BTC/ETH/SC marketing over all others. Significant cash drag as a result of new tokens
 Customer Service / Distribution                          Liquid                                                              that typically lack liquidity.
 Operate ~ breakeven                                      Balance Sheet Lenders
 Licensed                                                 DeFi                                                                Strategy Overview
 Experienced                                              Thought leader for developers
 Connected                                                Traders                                                             Conduct a three phased roadmap to growth
 Security                                                 Single project focused
 RIA                                                                                                                          Stage 1: Balance sheet / team strengthening
 Altcoin / Partnership focused                                                                                                Core tenets:
                                                                                                                               - Focus on fee-based services
What to focus on? Partners                                                                                                     - Minimize balance sheet restrictive operations
                                                                                                                               - Increase product diversity for direct sales force execution
Current Product Platform Assessments
                                                                                                                              Stage 2: Technology stack and product differentiation
Cred Borrow                                                                                                                   Core tenets:
Strengths                                                Weaknesses                                                            - Cred 2.0 API integrations
Opportunity for substantial return                       Requires strong balance sheet to scale                                - Build tech sales force
Tax efficiency                                           Low Demand                                                            - DeFi integrations (need engineers)
Cheaper Leverage                                         Lack of back-end servicing system to scale                            - Payments
White glove service                                      Significant competition, little differentiation
                                                                                                                              Stage 3: Expansion
Strategy                                                                                                                      Core tenets:
Cred does not have the capital to scale this business today. We should partner with a lending solution                         - Revisit securitization
such as Tradestation, SIG, FLEX, etc. to set up loans. We should also sell loan participations to potential                    - Project / developer finance (VC)
investors in a forward flow manner.
We can introduce no-margin call, no-liquidation product or a 0% interest product to the industry.                             New Product Concepts (No specific order)
Reduce marketing for CredBorrow. Currently, our strategy is to sell enough of the crypto we receive
as collateral in order to fund the loans (which is not a scalable or profitable strategy).                                    1/ Private Debt: Take advantage of our ability to underwrite deals and structure accordingly. We should
                                                                                                                              begin to work on smaller deals that we can sell to our HNW investor base. Randy specialized in fixed income
Cred Earn                                                                                                                     sales and can put together a specific program for the sales team to model. This will also allow us to market
Strengths                                                Weaknesses                                                           different types of deals (miners, exchanges, types of collateral, etc.) and also allow us to market
High yield relative to competitors                       Competition on lending and yield strats will                         traditional deals (like real estate, for example) to cryptocurrency holders looking for exposure.
Partnerships in place                                      reduce yields over time                                            Private debt can also be scaled via back leverage and a syndicate model to maximize revenues (target 3-5%
Generated significant revenue                            High risk strategy                                                   on a deal by deal basis).
Multiple distribution channels                           MoKred liquidity                                                     The weakness in the strategy is that it's operationally burdensome, but we have some rock stars on the
White glove service                                      Inflexible risk profile                                              ops from (Devon, Heidi, and Xavier) to put together a platform that works and is scalable. Over time, we can
                                                         Significant competition, little differentiation                      then create a dashboard (maybe outsource or use our own engineers / lawyers) and create a dashboard
                                                                                                                              for investors to more easily review deals. We may also have to hire another credit underwriter to
Strategy                                                                                                                      help scale the platform (or we could outsource). Our consultant John Barr is highly qualified in the space
Decreasing volatility and lending rates will drive down yields we are able to pay out over time. We                           and brings legitimacy to our operation, we should use him more.
already see this impact in the data (IV down, rates down to even 3% in some cases).                                           The idea for the business is to begin churning loan opportunities as quickly as possible as fee-based
Lowering rates too fast may have the impact of accelerating redemptions - sales team indicated the                            advisory. This will require minimal loan capital to scale the business and take advantage of our network.
primary reason customers come to us are the high rates. We are losing our competitive edge with                               Selling the deals will also help get us in front of different types of investors looking for bespoke yield.
unregulated competitors for risk tolerant investors.                                                                          We would have the most competitive set of financial products in the space - while everyone pitches a
Should consider transitioning the product to retail focus only - lower redemptions, relatively inelastic                      singular 'yield' product, we have a menu for prospective investors.
demand for rates, and more predictable maturities. HNW should eventually go to Private Wealth Mgmt.
                                                                                                                              2/ Money Markets: Arca is releasing a digital money markets product and are looking for a few firms to
Luxembourg                                                                                                                    partner with. This product targets a low 2-3% yield on dollars, but could be a great way to get fiat/sc
Strengths                                                Weaknesses                                                           on the platform - it's competitive with wealthfront and sofi, and is exposure to relatively risk free
Tax efficient                                            Limited borrower pool                                                assets (80% treasuries, 20% munis). Having both this and our stablecoin yield product will allow us to
Bankruptcy-remote structure                              Complex structure for FP&A teams                                     shape our story.
Scalable                                                 Potential legal dispute                                              The weakness here is that the return may be minimal (have not released the revenue share at this point,
Strong team                                                                                                                   but should be out soon), but there is a massive industry for these products - even 1% would be an
                                                                                                                              incredible platform to introduce. With ACH draw, wire, and stablecoins, we could put together a
Strategy                                                                                                                      unique niche here.
Should hold off until there is legal clarity surrounding strategy.                                                            Our advantage is that we are first in line of select market makers to add this to their platform.
Structure may be too complex for current operations. This could change quickly with the
dramatic increase of mining and exchange companies in north america.                                                          3/ Fund Management: We have an opportunity with Sarson Funds to cheaply launch fund products as
                                                                                                                              a sub-advisor. Sarson is desperate for more thought leadership on their platform, and they are also
                                                                                                                              a marketing machine. Initially launching a volatility capture (covered call option) fund is a secure
                                                                                                                              product that we can begin to offer to our customers as a higher risk option. It benefits Cred as we do
                                                                                                                              not take balance sheet risk (opportunity cost is the return profile).
                                                                                                                              The weakness here is getting through the legal hurdles to launch this or a new fund. We may have to
                                                                                                                              think through how our sales team interacts with this fund since they are not licensed advisors - there
                                                                                                                              may be some hoops we have to go through in order to get it up and running the right way.
                                                                                                                              Our advantage is that we have 3 derivatives focused traders that know the space very well now and
                                                                                                                              Paul Brownstein, who has 30+ years in the space.

                                                                                                                              4/ Private Wealth Management: The lack of financial advisory guidance is quite stark in the industry.
                                                                                                                              Large crypto holders typically keep their assets given the lack of investment opportunities. A private
                                                                                                                              wealth management practice would allow our sales team to sell financial products (fee-based) and
                                                                                                                              provide advice to businesses looking to meet certain goals.
                                                                                                                              Partnering with 100 Acre Ventures may provide an excellent mechanism to provide a suite of
                                                                                                                              financial products with various risk profiles (low, base, aggressive - for example).
                                                                                                                              The weakness in this strategy is that we have to train our advisors quite a bit and be able to increase
                                                                                                                              our product suite by ourselves and with others to have a full suite ready to go.
                                                                                                                              Our advantage is the sales strength we have, and the ability to be the first to shape how financial
                                                                                                                              advisory works in crypto.

                                                                                                                              5/ Staking Partnerships: The staking economy continues to grow and will growth futher with ETH 2.0.
                                                                                                                              There are numerous staking validator pools that are looking for distribution channels. We could
                                                                                                                              charge fees in order to facilitate staking in a variety of different coins as a partner, and offload the
                                                                                                                              work to the validators. Min is in conversations with Node40, but others may as also fit those roles.
                                                                                                                              The weakness in this strategy is that it requires a unique tech build out and maybe marketing of
                                                                                                                              some of the coins on the platform. It will not earn too much with respect to fees, but it will build
                                                                                                                              coalitions with the right communities.

                                                                                                                              6/ Gold Product Ideation: We should build out unique projects in the tokenized gold space -
                                                                                                                              potentially separate from our crypto projects if possible. Gold has an independent marketing angle
                                                                                                                              and a significant community that needs to be convinced to go to a crypto company to buy gold -
                                                                                                                              tough sell in my opinion. If we can create a challenger precious metals platform, it will help
                                                                                                                              diversify our outreach and marketing.
                                                                                                                              The weakness here is that it will cost developer time and resources.
                                                                                                                              The opportunity is to partner with a company (like Craxel) looking to build products in the space,
                                                                                                                              but lack lending/investment licenses to operate.
                                                                                                                              The industry is obviously quite massive, and Paul B has significant sales/marketing for Precious
                                                                                                                              Metals.

                                                                                                                              7/ Celebrity NFT - Sponsored activities that are essentially geo-cached hunts for mneumonic phrases
                                                                                                                              or other private key data to earn rewards. Individual celebrities can be brough on the platform to
                                                                                                                              and promote those products. Access to clues are enhanced by staking certain amounts of LBA.
                                                                                                                              Revenue stream can be a combination of sponsorship/marketing and bringing users to the platform,
                                                                                                                              and liquidity for LBA holders.
                                                                                                                              Guess who we need for this one :)
CaseCase
    3:23-cv-00243-AMO
         20-12836-JTD Doc
                      Document
                          1063-10
                               32-12
                                   Filed
                                       Filed
                                          12/05/22
                                             03/03/23Page
                                                       Page
                                                          1 of9712of 273




                              EXHIBIT J
        CaseCase
            3:23-cv-00243-AMO
                 20-12836-JTD Doc
                              Document
                                  1063-10
                                       32-12
                                           Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                               Page
                                                                  2 of9812of 273




                 DEVELOPMENT AGREEMENT
THIS DEVELOPMENT AGREEMENT is made and entered into in this 31st of March, 2020 (“​Effective
Date​”), by and between Cred LLC, whose principal place of business and mailing address at 2121 S. El
Camino Real, Ste 500 San Mateo, CA 94403, (“Company”),; and 10Clouds sp. z.o.o, a corporation
organized and existing under the laws of Poland, whose principal place of business and mailing address is
Finlandzka 10, 03-903, Warsaw, Poland (“​Developer​”).


Separately or jointly named as ​“​the ​Party” ​or ​“Parties”

WHEREAS, ​the Company desires to engage the Developer from time to time pursuant to one or more Work
Statements, to develop, create and deliver certain programming, design and development works, and;
WHEREAS, ​the Developer has the skills, know-how and ability and is interested in performing such
development works, subject to the terms and conditions set forth in this Agreement herein:

NOW, THEREFORE, ​the Parties hereby agree as follows:
   1.     Definitions​. For purposes of this Agreement (including any and all Schedules, Work Statements
          and amendments made to or incorporated herein now or in the future), the following capitalized
          terms shall have the following meaning:

          1.1.    “The ​Confidential Information​” means all non-public information, in any form whatsoever,
                  tangible or intangible, including information in oral, visual or computer database form,
                  disclosed by the Party to the other Party. The Confidential Information shall include any
                  such information concerning past, present, or future ideas, research and development,
                  know-how, trade secrets (including terms of business and payment, course of
                  negotiations), inventions, formulas, specifications, compositions, manufacturing and
                  production processes and techniques, technical data, code, technology and/or product
                  designs, drawings, engineering and/or development specifications, business and
                  marketing plans, forecasts and projections, financial data or any other business activities.
                  The Confidential Information shall also include intellectual property and technology,
                  including any processes, methodologies, procedures, trade secrets, software, software
                  applications, tools, databases, systems architecture and design, machine-readable texts
                  and files, literary works or other works of authorship, including documentation, reports,
                  drawings, charts, graphics and other written documentation, whether or not owned by the
                  Party, provided to the other Party by or through the Party. However, the Confidential
                  Information shall not include information that (i) is publicly available or becomes publicly
                  available through no act or omission of the Party, or anyone else on its behalf; (ii) is



                                                       1/11
     CaseCase
         3:23-cv-00243-AMO
              20-12836-JTD Doc
                           Document
                               1063-10
                                    32-12
                                        Filed
                                            Filed
                                               12/05/22
                                                  03/03/23Page
                                                            Page
                                                               3 of9912of 273



             legitimately obtained by the Party without restriction, from a source other than the other
             Party; or (iii) is explicitly approved for release by written authorization of the Party. Any
             combination of features shall not be deemed to be within the foregoing exceptions merely
             because individual features thereof are in the public domain or in the possession of the
             Party, but only if the combination itself and its principle of operation are in the public
             domain or in the possession of the Party. For the avoidance of doubt, the Deliverables
             shall be deemed confidential information.

      1.2.   “The ​Deliverables​” means all code, documentation and other materials produced as a
             result of the Services and delivered to the Company by the Developer in the course of
             providing the Services pursuant to specific Work Statement.

      1.3.   “The ​Intellectual Property​” means all intangible legal rights, titles and interests evidenced
             by or embodied in or connected or related to (i) all Inventions (whether patentable or
             unpatentable and whether or not reduced to practice), (ii) all trademarks, (iii) any work of
             authorship, regardless of copyrightability, all compilations, all copyrightable works, all
             copyrights (including financial copyrights, derivative rights, moral rights) (iv) all computer
             software (including data and related documentation), source code and any other related
             documentation.

      1.4.   “The ​Specifications​” - shall mean the functional specifications for the Deliverables, as set
             forth in the applicable Work Statement.

      1.5.   “The ​Work Statement​” ​- ​shall mean any written instrument as shall be agreed between
             the Parties from time to time, describing specific provisions of providing Services, in
             particular scope of Services and remuneration.

      1.6.   “​The ​Authorized representatives of the Parties”​: Developer: Maciej Cielecki and Michał
             Kłujszo, Company: Joe Podulka

      1.7.   “The ​Developer’s Staff” - ​Developer’s employees and subcontractors, independently of
             the legal relation binding them with Developer or regulating their cooperation.

2.    Services​.

      2.1.   The Developer agrees to provide to the Company the programming and developing
             services specified in any written Work Statement that shall, from time to time, be defined
             and executed jointly by the Parties and be made part of this Agreement. Such services are
             hereinafter referred to as “the ​Services​”. The initial Work Statement(s) agreed to by the
             Parties are set forth as attachments to this Agreement. Additional Work Statements,
             regardless of whether they relate to the same subject matter as the initial Work




                                                 2/11
     Case Case
          3:23-cv-00243-AMO
                20-12836-JTD Document
                             Doc 1063-10
                                      32-12Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                             Page4 of
                                                                   10012of 273



              Statement(s), shall become effective upon execution by authorized representatives of both
              Parties defined above.

      2.2.    In performing the services, the Developer shall use its own software programs and internet
              connection, for which licenses the Developer is solely responsible.

      2.3.    The Developer is required to regularly provide the Company with work increments that can
              be tested by Company.

3.    Cooperation of the Company. ​Company undertakes to cooperate in the manner agreed by the
      Parties from time to time, Company’s cooperation pertains in particular to the following:

      3.1.    performance of administrative duties; undertaking the tasks which Developer reasonably
              needs to be done to discharge its duties (at Developer’s request);

      3.2.    provision of all the necessary materials, information and access;

      3.3.    ensuring the availability of duly qualified staff supporting Developer’s rendering of
              services;

      3.4.    notification in due time of all changes and events on Company’s side that may exert an
              impact on the rendering of services;

      3.5.    undertaking of necessary actions to procure cooperation of other suppliers for the benefit
              of Company whose cooperation is reasonably required to render the services;

      3.6.    adherence to all legal regulations applicable to the performance of Company’s duties;
              ensuring that the documentation and data/information supplied under the necessary
              cooperation with Developer are complete, correct and up-to-date on the date they are
              provided to Developer;

      3.7.    ensuring Developer’s staff has access to the network, infrastructure, software,
              data,appropriate server infrastructure for production server domain name, ssl certificate
              and access to any other services required for production use of the Deliverables;

      3.8.    notification in due time of receipt of an invoice whose incorrect content may cause
              Company to refrain from making payment.

      3.9.    Specific activities to be performed by the Company as a part of cooperation may be set
              forth in each relevant Work Statement.

      3.10.   In the event that Company’s failure to discharge the duty of cooperation:

              3.10.1. causes Developer not to perform the Services duly - then such action or omission
                          of Developer will not be deemed to be a breach of the Agreement;




                                                  3/11
     Case Case
          3:23-cv-00243-AMO
                20-12836-JTD Document
                             Doc 1063-10
                                      32-12Filed
                                              Filed
                                                 12/05/22
                                                    03/03/23Page
                                                             Page5 of
                                                                   10112of 273



             3.10.2. causes Developer to fail to meet the deadlines for the performance of the
                       Services, in particular, the timely delivery of Deliverables - then the dates for the
                       performance of the services will be duly and reasonably shifted as agreed by the
                       Parties and costs of the additional work shall be borne by The Company based
                       on rates specified in the Work Statement, unless the Parties agree otherwise.

4.    Changes​. Changes in any Work Statement shall become effective only when a written change
      request is executed by authorized representatives of both Parties (otherwise null and void).

5.    Notice of Delay​. The Developer shall notify the Company promptly of any factor, occurrence, or
      event coming to its attention that may affect its ability to meet the requirements of any Work
      Statement issued under this Agreement, or that is likely to cause any material delay in delivery of
      the Deliverables. Such notice shall also be given in the event of any loss or reassignment of key
      employees, threat of strike, or major equipment failure.

6.    Delivery & Testing ​The Developer shall work using a delivery method agreed by the Parties.
      Deliverables will be delivered to the Company in accordance with the applicable timeline set out in
      the applicable Work Statement.

7.    Support. ​The Parties may agree within a Work Statement on the terms of support services to be
      provided by Developer to the Company and the terms thereof.

8.    Compensation

      8.1.   Method of Payment​. Amounts, method of payment (on an hourly basis) and terms of
             payment for all Services to be performed and Deliverables to be delivered, shall be set
             forth in each relevant Work Statement.

      8.2.   Allocation of Cost and Compensation​ If required for the purposes of proper allocation of
             the Compensation for (i) transfer of copyrights or other Intellectual Property rights and (ii)
             other services, the Company and the Developer may agree that the part of Compensation
             related to transfer of copyright shall be assessed and specified in each invoice according
             to the nature of work provided and copyrights transferred in particular parts of the projects
             to which particular invoices relate.

      8.3.   Taxes. ​Prices set forth in any Work Statement issued hereunder shall include all
             taxes however designated and levied by any state, local, or government agency in Poland
             (including sales taxes and VAT). The Developer is obliged to pay its taxes according to the
             Polish tax law. If according to the law regulations of Poland the Developer or the Company
             in behalf of the Developer is obliged to submit/pay any additional taxes than the ones
             mentioned above the prices set forth in any Work Statement shall be increased
             accordingly by the amount of that potential additional tax.




                                                    4/11
      Case Case
           3:23-cv-00243-AMO
                 20-12836-JTD Document
                              Doc 1063-10
                                       32-12Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                              Page6 of
                                                                    10212of 273



       8.4.    Delayed Performance​. If the Developer delays delivery of any milestone by more than
               thirty (30) days past the due date set forth in the applicable Work Statement for any
               reason not due to failure by the Company to provide essential materials or fulfillment of its
               obligations set out in Art. 3, or other delay by the Company, then the Company shall be
               entitled to terminate the applicable Work Statement and/or the Agreement and the
               Developer shall be solely entitled to receive the payments for the Services performed up to
               that point (based on the hourly basis described in the Work Statement).

       8.5.    Expenses​. Except as expressly agreed otherwise in a Work Statement, the Developer
               shall bear all of its own expenses arising from its performance or its obligations under this
               Agreement and each Work Statement issued hereunder. The Company however shall
               cover all travel and accommodation expenses related to the services performed by the
               Developer in the Company’s facilities. If not specified otherwise in the relevant Work
               Statement, such traveling and accommodation expenses are not included in the fees.

9.    Rights in Deliverables​. In order to optimize the development work and cost the Parties agree that
      the Developer may include in the Deliverables (i) preexisting code owned by the Developer for
      which copyrights rest with the Developer and the Company is granted non exclusive license on the
      fields of exploitation specified below and (ii) certain open source libraries and code. The Company
      shall be clearly informed about the open source code used and applicable licenses when relevant
      parts of Project are delivered for acceptance. If the Company wishes to have all code custom made
      for the project and copyrights transferred to the Company, this should be communicated before
      deciding on Work Statement and cost estimates. Subject to the above the Developer assigns,
      transfers and conveys to the Company all copyrights in Deliverables, provided that the Company
      has paid the invoice with the compensation covering the Services performed by creating the
      particular Deliverable. The transfer shall include (i) the permanent or temporary reproduction of a
      computer program in full or in part, by any means and in any form; (ii) the right of translation,
      adaptation, arrangement or any other modification of a computer program (iii) 3) the public
      dissemination, including letting for use or rental, of a computer program or a copy thereof the
      Developer grants the Company a non-exclusive, perpetual world wide right and license to use,
      execute, sublicense, reproduce, and prepare derivative works based upon such works subject to
      relevant licensing terms after the particular compensation has been paid by the Company. The
      Developer agrees to give the Company and any other person designated by the Company,
      reasonable assistance, at the Company's expense, required to perfect the rights defined in this
      Section on terms separately agreed between the Parties in writing.

10.   Visual Work. ​The Developer retains the right, with the Company’s hereby permission, to
      reproduce, publish, and display visual work including but not limited to the Developer’s portfolio,
      websites, marketing materials, publications, and other media or exhibits for the purposes of



                                                  5/11
      Case Case
           3:23-cv-00243-AMO
                 20-12836-JTD Document
                              Doc 1063-10
                                       32-12Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                              Page7 of
                                                                    10312of 273



      recognition, promotion, and advertising. The Company agrees that when asked, must properly
      identify the Developer as the creator of Work. The Company does not have the duty to display the
      Developer’s name together with Work, but Company may not mislead others that Work was created
      by anyone other than the Developer.

11.   Confidential Information​. The Parties shall refrain from using or exploiting the Confidential
      Information for any purposes or activities other than for the performance of this Agreement. The
      Parties shall: (i) keep the Confidential Information confidential using at least the same degree of
      care they use to protect their own confidential information, which shall in any event not be less than
      a reasonable degree of care; and (ii) refrain from disclosing or facilitating disclosure of Confidential
      Information to anyone, without the other Parties prior written consent, except its employees and
      consultants with a need to know such information for the purposes of the performance of this
      Agreement, and will advise those of their employees and consultants to whom the Confidential
      Information is disclosed of their obligations under this Agreement with respect to the Confidential
      Information. Especially, the confidentiality obligation shall apply to all the information concerning the
      Parties’ cooperation (including terms of business and payment, course of negotiations etc.), which
      shall be disclosed exclusively to such Parties representatives, board members and other managing
      / supervisory / executive employees, whose knowledge of the above information is crucial for the
      execution of the Agreement. The Parties shall obtain and maintain in effect written confidentiality
      agreements similar in scope to the provisions of this section with each of their employees and/or
      consultants who participate in any of the work being performed under this Agreement. If a Party is
      required by an order of a court, administrative agency, or other government body, to disclose
      Confidential Information, the Party shall provide the other Party with prompt notice of such order to
      enable the Party to seek a protective order or otherwise prevent or restrict such disclosure, and the
      Party shall reasonably cooperate with the other Party in its efforts to obtain such protective order at
      the sole cost and expense of the Party. The obligations of confidentiality under this Agreement shall
      survive the termination of this Agreement.

12.   Non Compete. ​During the term of this Agreement and after one year of its termination or expiry
      (independently from the legal base of the termination or expiry) the Company shall not, without the
      prior written consent of the Developer, employ, hire or engage in any other way the Developer’s
      Staff. The above clause applies to any direct, as well as intermediate possible cooperation.

13.   Warranties and Representations​. The Developer disclaims all warranties for the condition,
      durability or any other warranties, unless the Developer has expressly agreed to provide such
      warranty in an individual case and has denoted it as such warranty in writing. The Developer hereby
      represents and warrants that: (i) it has the requisite technical and professional            knowledge,
      know-how, expertise, skills, talent and experience required in order to perform the Services in a
      professional and efficient manner; (ii) there are no restrictions, limitations, contractual obligations or



                                                    6/11
      Case Case
           3:23-cv-00243-AMO
                 20-12836-JTD Document
                              Doc 1063-10
                                       32-12Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                              Page8 of
                                                                    10412of 273



      statutory obligations or restrictions or any other factor whatsoever which prevents or restricts or is
      likely to prevent or restrict the Developer from fulfilling all its obligations under this Agreement and
      the performance of the Services, and delivering the Deliverables in accordance with the time frame
      specified by Work Statements; (iii) the execution of this Agreement by the Developer and the
      performance of the obligations hereunder shall not constitute or result in an intentional breach of
      any other obligation, contractual or otherwise, of the Developer; (iv) all copyrightable matter
      assigned and/or licensed in accordance with this Agreement has been or will be created by persons
      who were employees and consultants of the Developer at the time of creation and the Developer
      has and will obtain agreements with its employees and consultants sufficient to allow it to provide
      the Company with the assignments and/or licenses provided for herein; and (v) all development
      work including but not limited to the Deliverables shall be prepared without knowingly (i.e. with the
      direct intent) breaching any third party Intellectual Property rights and (vi) in a workmanlike manner
      and with professional diligence and skill and will conform to the Specifications relating thereto.
      Unless expressly agreed otherwise in the applicable Work Statement, the Developer disclaims any
      and all warranty for any third party material included in the Deliverables in conformance with the
      applicable Work Statement including open source software, stock photos, pictures and similar
      materials.

14.   Indemnification​. The Developer agrees to indemnify, defend and hold harmless the Company and
      its successors and assigns, from any and all losses, liabilities, damages and claims, and all related
      costs and expenses, however up to the amount of the total compensation paid to the Developer
      according to this Agreement (including reasonable legal fees and disbursements and costs of
      investigation, litigation, settlement, judgment, interest and penalties) (collectively, “​Losses​”) arising
      from, in connection with, or based on allegations whenever made of, culpable breach of any
      representation or warranty made by Developer under Section 13. (v).

15.   Limitation of Liabilities​. The Parties shall not be liable (whether under contract, tort (including
      negligence) or any other legal theory) for any indirect, special or consequential damages, including,
      any loss or damage to business earnings, lost profits or goodwill, suffered by any person, arising
      from and/or related with this agreement, even if such party is advised of the possibility of such
      damages.

       15.1.   The limitations set forth above will not apply with respect to damages occasioned by: (A)
               the willful misconduct of the Developer; or (B) damages caused by Developer's breach of
               its obligations with respect to Confidential Information or Intellectual Property Rights.

       15.2.   In no event shall the Developer’s liability for any claims whether contractual, tort or other
               theory of liability, except for the breach of clause 10 of this Agreement, exceed the total




                                                    7/11
      Case Case
           3:23-cv-00243-AMO
                 20-12836-JTD Document
                              Doc 1063-10
                                       32-12Filed
                                               Filed
                                                  12/05/22
                                                     03/03/23Page
                                                              Page9 of
                                                                    10512of 273



               compensation paid to the Developer according to this Agreement for the time of claim
               notification.

16.   Term and Termination

       16.1.   Term of the Agreement and the Work Statement​. The term of this Agreement shall
               begin on the Effective Date and shall continue unless terminated by any Party with a
               written notice to the other Party. The Agreement provisions shall be binding for all the
               Work Statements concluded during the validity of this Agreement. Work Statements
               concluded during the validity of this Agreement shall be binding till the execution of the
               works covered with such Work Statements, independently of the eventual termination of
               the Agreement.

       16.2.   Termination of the Work Statement​. Unless otherwise specified in the Work Statement,
               a concluded Work Statement can be terminated by either Party without cause:

               16.2.1. instantly upon a written notice to the other Party - within thirty (30) days from
                         signing of this Development Agreement,

               16.2.2. upon a thirty (30) days written notice to the other Party - within the period from
                         thirty one (31) to one hundred twenty (120) days from signing of this
                         Development Agreement,

               16.2.3. upon a ninety (90) days written notice to the other Party - within the period from
                         one hundred twenty(120) and more days from signing of this Development
                         Agreement.

       16.3.   Termination for Breach​. Either Party may, by written notice of default to the other,
               terminate a concluded Work Statement if the other Party fails or refuses to fully comply
               with its material obligations under this Work Statement and Agreement and does not cure
               such default within fifteen (15) days of receipt of written notice from the non-defaulting
               Party. Especially, the Company’s delay with payment exceeding thirty (30) days shall
               constitute a breach authorizing the Developer to terminate a concluded Work Statement.

       16.4.   Consequences of the Work Statement’s Termination: ​Upon receipt by the Party of
               notice of termination of the Work Statement, the Developer shall inform the Company of
               the extent of which performance has been completed through such date, and collect and
               deliver to the Company whatever work product then exists in a manner agreed with the
               Company. The Developer shall be paid for all work actually performed, including a
               prorated portion of the following milestone for work actually completed and delivered up to
               such termination date, if applicable, provided that such payment shall not be greater than
               the payment that would have become due if the work had been completed.




                                                 8/11
      CaseCase
          3:23-cv-00243-AMO
               20-12836-JTD Doc
                            Document
                                1063-10
                                     32-12
                                         Filed
                                             Filed
                                                12/05/22
                                                   03/03/23Page
                                                             Page
                                                                10 106
                                                                   of 12
                                                                       of 273



       16.5.   Termination upon insolvency​. Effective immediately and without any requirement of
               notice, either party may, at its option, terminate this Agreement, concluded Work
               Statements and/or suspend its performance in the event that (i) the other party suffers loss
               of liquidity or (ii) becomes insolvent or (iii) the other party adopts a resolution for
               discontinuance of its business or for dissolution.

       16.6.   Consequences​. Upon termination of this Agreement or a Work Statement, the Developer
               shall discontinue all further Services and shall promptly return to the Company all plans,
               drawings and other tangible property representing Intellectual Property and/or any such
               tangible property divulged by the Company and all copies thereof and shall delete any
               such disclosed information held by it in electronic form. Upon termination of this
               Agreement or a Work Statement, the Company shall promptly return to the Developer all
               plans, drawings and other tangible property representing Intellectual Property and/or any
               such tangible property divulged by the Developer which haven’t been transferred to the
               Company according to this Agreement and all copies thereof and shall delete any such
               disclosed information held by it in electronic form. Upon expiration or termination of this
               Agreement, and at any time upon a Parties request, the other Party will promptly return or
               destroy, as directed by the Party, all copies of Confidential Information, including any
               notes, memoranda or other materials containing such Confidential Information or relating
               thereto, and all copies thereof, and will destroy or delete any Confidential Information that
               has been recorded or stored in any electronic medium. Notwithstanding the return of
               Confidential Information in accordance with this paragraph, all duties and obligations of the
               Parties under Section 10 will remain in full force and effect.

       16.7.   Termination by both Parties​. Both Parties may jointly determine the conditions and
               consequences of termination of this Agreement and/or specified Work Statements.

17.   Miscellaneous

       17.1.   Independent Contractors​. It is further clarified that the Developer is an independent
               contractor of the Company under this Agreement and nothing herein shall be construed to
               create an employer/employee or joint venture relationship. Neither Developer nor its
               employees are entitled to any of the benefits or rights to which employees of the Company
               are entitled, and the Developer shall be solely responsible for all of its employees and
               agents and its labor costs and expenses arising in connection therewith.

       17.2.   No Waiver​. No delay or omission by either Party hereto to exercise any right o​r ​power
               occurrin​g ​upon any noncompliance or default by the other Party with respect to any of the
               terms of this Agreement shall impair any such right or power or be construed to be a
               waiver thereof. A waiver by either of the Parties hereto of any of the covenants, conditions,




                                                   9/11
CaseCase
    3:23-cv-00243-AMO
         20-12836-JTD Doc
                      Document
                          1063-10
                               32-12
                                   Filed
                                       Filed
                                          12/05/22
                                             03/03/23Page
                                                       Page
                                                          11 107
                                                             of 12
                                                                 of 273



         or agreements to be performed by the other shall not be construed to be a waiver of any
         succeeding breach thereof or of any covenant, condition, or agreement herein contained.
         Unless stated otherwise, all remedies provided for in this Agreement shall be cumulative
         and in addition to and not in place of any other remedies available to either Party at law, in
         equity, or otherwise.

 17.3.   Severability​. If any term, clause or provision of this Agreement is construed to be or
         adjudged invalid, void or unenforceable, such term, clause or provision will be modified or
         severed in such manner as to cause this Agreement to be valid and enforceable while
         preserving to the maximum extent possible the terms, conditions and benefits of this
         Agreement as negotiated by the Parties, and the remaining terms, clauses and provisions
         will remain in full force and effect.

 17.4.   Governing Law and Jurisdiction​. This Agreement and any dispute or claim arising out of
         or in connection with it or its subject matter or formation (including non-contractual
         disputes or claims) is governed by and construed in accordance with the general rules of
         law in Poland. The Parties irrevocably agree that any dispute or claim arising out of this
         Agreement or its breach, termination or invalidity or relating thereto, shall be settled in
         English by arbitration by the Court of Arbitration at the Polish Chamber of Commerce
         (KIG) in Warsaw, according to the rules of arbitration of this Court.

 17.5.   Survival​. The provisions of Section 1, 9, 10, 11, 13, 14 and 16 as well as any other
         provision of this Agreement that contemplates performance or observance subsequent to
         termination of this Agreement will survive termination of this Agreement and continue in
         full force and effect for the period set forth therein, or if no period is set forth therein,
         indefinitely.

 17.6.   Precedence​. In the event of any conflict between any term within any Work Statements of
         and the terms of this Agreement, the terms of this Agreement shall govern and control.
         Provisions of Agreement may be overridden with applicable Work Statement provisions, if
         explicitly stated in such Work Statement.

 17.7.   Headings​. The headings and sub-headings contained in this Agreement are                   for
         convenience and reference purposes only and shall not affect in any way the meaning or
         interpretation of this Agreement.

 17.8.   Entire Agreement​. This Agreement, together with the Work Statements issued from time
         to time, constitute the entire agreement between the Parties. No change, waiver, or
         discharge hereof shall be valid unless it is in writing and is executed by the Party against
         whom such change, waiver, or discharge is sought to be enforced.




                                                 10/11
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-10
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   12 108
                                                                      of 12
                                                                          of 273



          17.9.     Amendment​. This Agreement may only be amended by an instrument in writing
                    (otherwise null and void) signed by each of the Parties hereto.

          17.10. Counterparts​. This Agreement may be executed in any number of counterparts, all of
                    which taken together will constitute one single agreement between the Parties.

          17.11. Notices. ​All notices or other communications required or permitted to be given pursuant to
                    this Agreement shall be in writing (unless otherwise stated in this Agreement) and shall be
                    deemed as properly given or made on the date same if hand delivered or five days after
                    mailing, if mailed first class registered mail, postage prepaid, or on the first business day
                    after being sent if sent by facsimile to the respective addresses set forth in the preamble to
                    this Agreement, or to such other address as either Party may have designated by similar
                    notice given to the other Party.

          17.12. The Parties jointly agree that after the completion of the cooperation according to this
                    Agreement they will negotiate and evaluate the potential of concluding a separate written
                    agreement regarding the Developers right to use the information about this business
                    relationship (marketing).


IN WITNESS THEREOF, ​Company and Developer have caused this Agreement to be signed and
delivered by their duly authorized officers, all as of the date hereinabove written.




                  Cred LLC                                                    10Clouds sp. z.o.o

By:        Joe Podulka                                             By: Maciej Cielecki, Michał Kłujszo

Title:     CFO                                                     Title: Managing Partners

Date:                                                              Date:




                                                       11/11
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-11
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 109
                                                             of 2 of 273




                              EXHIBIT K
To:        Jonker, Jeremy[jjonker@paypal.com]
Cc:                 Case 3:23-cv-00243-AMO
                            Case 20-12836-JTD
           Haseeb Qureshi[haseeb@dcp.capital];    Document
                                               KevinDoc  1063-11
                                                              32-12Filed
                                                                      Filed
                                                     Hu[kevin@dcp.capital]; 12/05/22
                                                                              03/03/23
                                                                            BANCES,    Page
                                                                                        Page2 110
                                                                                               of 2 of 273
                                                                                    Paul[pabances@paypal.com]; Ganatra,
Jay[jganatra@paypal.com]
From:      Dan Schatt[dan@mycred.io]
Sent:      Wed 7/29/2020 5:42:18 PM (UTC-04:00)
Subject: Jeremy || Dragonfly Capital

 Hey Jeremy,

 Just a quick update – Dragonfly Capital (Haseeb and Kevin cc’d) will lead Cred’s convertible note round. Haseeb and Kevin are great
 guys, and I wanted to put you in touch with them directly, as they are strong investors in the blockchain space…

 I had a productive call with Jay (thanks Jay!), and let him know we’d come back when we’ve identified a lead. As discussed with
 Paul and team, lots of commercial possibilities, just a longer timeframe to implement…

 We’ll be closing by mid-August – would be great to have an investment from PayPal to a bunch of ex-Paypalers* .

 Thanks,
 Dan
Case Case
     3:23-cv-00243-AMO
           20-12836-JTD Document
                        Doc 1063-12
                                 32-12Filed
                                         Filed
                                            12/05/22
                                               03/03/23Page
                                                        Page1 of
                                                              11123of 273




                               EXHIBIT L
                                                    Case Case
                                                         3:23-cv-00243-AMO
                                                               20-12836-JTD Document
                                                                            Doc 1063-12
                                                                                     32-12Filed
                                                                                             Filed
                                                                                                12/05/22
                                                                                                   03/03/23Page
                                                                                                            Page2 of
                                                                                                                  11223of 273




                                                                                               Cred Investor Presentation
                                                                                                                                  Q3 2020

                                                                                                                                  Dan Schatt
                                                                                                                                     CEO
                                                                                                                                dan@mycred.io
                                                                                                                                 415-706-1374
A licensed credit provider to the blockchain community, providing
a technology platform that enables lending and borrowing




                                                                                                                                                Private and Confidential
                                            Case Case
                                                 3:23-cv-00243-AMO
                                                       20-12836-JTD Document
                                                                    Doc 1063-12
                                                                             32-12Filed
                                                                                     Filed
                                                                                        12/05/22
                                                                                           03/03/23Page
                                                                                                    Page3 of
                                                                                                          11323of 273



Cred at a Glance
       Founded                                                                      A licensed lender and technology
       January 2018
                                                                                    platform providing financial services:
       Employees
       25 FTE


       Locations
                                                                                  ● Lending
                                                                                  ● Borrowing
       San Mateo        Los Angeles
       (Cred HQ)        (Cred Capital HQ)


       Countries
                                                                                  ● Merchant Services
       190+


       Customers / Partners
       100,000+ Customers
       Over a dozen partners


       Loans serviced
       $250M+

                                                                                                                        Private and Confidential
                                                          Case Case
                                                               3:23-cv-00243-AMO
                                                                     20-12836-JTD Document
                                                                                  Doc 1063-12
                                                                                           32-12Filed
                                                                                                   Filed
                                                                                                      12/05/22
                                                                                                         03/03/23Page
                                                                                                                  Page4 of
                                                                                                                        11423of 273



Team
An experienced leadership team skilled in the banking of digital assets, ...                          and a highly entrepreneurial advisory team attuned to next gen banking

                                                                                                            Advisors.


            Dan Schatt                           Dan Wheeler                                                             Scott Thompson               Brett King
            Founder and CEO                      General Counsel                                                         Former President             Founder / Author
            Former PayPal / Salomon              Former Bryan Cave                                                       PayPal                       Moven Bank / Bank 2.0
            Columbia University                  New York University




           Joe Podulka                           Bethany De Lude                                                         Don Kingsborough             Mike Arrington
           Chief Financial Oﬃcer                 Chief Information Security Oﬀicer                                       Founder                      Founder
           Former PayPal                         Former NSA / Federal Judiciary                                          Blackhawk Network            TechCrunch/XRP Capital
           Stanford University                   Johns Hopkins University




                                                 Daniel Goldstein                                                        Lu Hua
            Maxim Rokhline
                                                                                                                         Co-Founder
            Chief Product Oﬃcer                  Chief Technology Oﬃcer
                                                                                                                         moKredit and Cred
            Former PayPal / Intuit               Former Western Union / Symantec
            California State University          Haifa University




            Francesco Matteini
            Chief Compliance Oﬃcer
            Former TradeKing
            Harvard University




3                                                                                                                                                Private and Confidential
                           Case Case
                                3:23-cv-00243-AMO
                                      20-12836-JTD Document
                                                   Doc 1063-12
                                                            32-12Filed
                                                                    Filed
                                                                       12/05/22
                                                                          03/03/23Page
                                                                                   Page5 of
                                                                                         11523of 273




Opportunity
“We need banking,
but we don’t need banks”

– Bill Gates
                                      Case Case
                                           3:23-cv-00243-AMO
                                                 20-12836-JTD Document
                                                              Doc 1063-12
                                                                       32-12Filed
                                                                               Filed
                                                                                  12/05/22
                                                                                     03/03/23Page
                                                                                              Page6 of
                                                                                                    11623of 273



The blockchain community lacks access to banking services - Cred is
solving this problem

                                                                                          Custodians, wallets, media publications and
     Lending and Borrowing Services                                                       financial application providers are looking for
                                                                                          monetization opportunities beyond ad sales

                                                                                          Miners of cryptocurrency lack access to financial
     Cash Management Solutions
                                                                                          products such as cash flow and production-based
                                                                                          credit

                                                                                          Exchanges are looking to avoid balance sheet
     Debt financing solutions
                                                                                          financing, create tax eﬀiciency, and get access to
                                                                                          mainstream investors




                                                                                                                            Private and Confidential
                                                                    Case Case
                                                                         3:23-cv-00243-AMO
                                                                               20-12836-JTD Document
                                                                                            Doc 1063-12
                                                                                                     32-12Filed
                                                                                                             Filed
                                                                                                                12/05/22
                                                                                                                   03/03/23Page
                                                                                                                            Page7 of
                                                                                                                                  11723of 273



Global demand for banking services of crypto assets on the rise
A $200B asset class with $200T of potential tokenization, spurring demand for funding and deployment of debt capital


  Consumers desire to:                                             Institutions desire to:                                                      Businesses desire:
  Earn and borrow crypto assets                                    Invest in fixed income crypto instruments                                    Cash management / hedging of crypto



        Value of all crypto assets expected                                 Wyoming law eﬀective July 1 allows                                        Tokenization of new assets such as
        to reach $1T+                                                       insurance company investment in                                           gold are valued as $7T asset class
                                                                            bitcoin, 1st in US

                                                                                                                                                      Growing asset pools in token form
        An estimated 30+ million people                                     Significant inflows to Bitcoin ETFs                                       require liquidity and investment
        hold crypto assets                                                  and over $125B of ETF Fixed Income                                        services
                                                                            Interest in past year.




      Cred serves businesses, institutions and high net worth investors. Cred has serviced over $200M of loans across
      30 crypto and fiat assets, with 100,000+ customers in 190 countries across 12+ partners in the past year


                Source: CoinMarketCap, PwC Advisory LLC Analysis                                                                                                     Private and Confidential
                                                      Case Case
                                                           3:23-cv-00243-AMO
                                                                 20-12836-JTD Document
                                                                              Doc 1063-12
                                                                                       32-12Filed
                                                                                               Filed
                                                                                                  12/05/22
                                                                                                     03/03/23Page
                                                                                                              Page8 of
                                                                                                                    11823of 273



Cred provides retail and institutional services for crypto assets
Applying financial services best practices and bridging the gap to crypto


            Crypto Lending & Borrowing Platform                                                                             Capital Markets Platform
            Lending and Borrowing services for partner applications and                                                     Asset management and advisory services to top-tier
            high net worth individuals                                                                                      blockchain companies and foundations


● Cred is a licensed California lender active in 33 US states                                    ● Enables investor exposure to crypto

● Manages legal, operations, tech integration for partners                                       ● Manages $100M+ portfolio, targeting $350M by year-end

● Standard lending terms for 30 digital assets                                                   ● Develop allocation strategies for a volatile asset class

● Customers include crypto media publications, wallets,                                          ● Customers include HNW / institutional investors in crypto
  exchanges, NBA fan sites, and application providers




                                                                                                                                                          Private and Confidential
                                            Case Case
                                                 3:23-cv-00243-AMO
                                                       20-12836-JTD Document
                                                                    Doc 1063-12
                                                                             32-12Filed
                                                                                     Filed
                                                                                        12/05/22
                                                                                           03/03/23Page
                                                                                                    Page9 of
                                                                                                          11923of 273


Cred is emerging as the most creditable provider of financial
services to the blockchain economy
                                                                                             Time
   Total     H1 ‘19   H2 ‘19   H1 ’20            H2 ‘20              Q1 ‘21               Q2 ‘21                                    Cred Initiatives
   Assets
  Serviced
                                                Future State                                                 Launch merchant & supply chain financing solutions


                                                                                                             Launch payment cards, trading and market operations,
                                                                                                             Defi services

                                                                                                             Complete wealth management oﬀering
                                                                                                             Buy BTC/LBA Trading / fiat accounts / API platform

  $200M                                                                                                      Private debt term sheets, Cred in 190+ countries, 12+
                                                                                                             partners live, compound interest launched

                                                                                                             Completed successful $14M Bond oﬀering, expansion to
   $100M                                                                                                     30+ currencies, Partnership with Litecoin Foundation

                                                                                                             Launched CredEarn in 50 countries
     $5M
                                                                                                             Obtained California lender’s license / state licenses
                                        Today                                          Products



                                                                                                                                                Private and Confidential
                        CaseCase
                            3:23-cv-00243-AMO
                                 20-12836-JTD Doc
                                              Document
                                                  1063-12
                                                       32-12
                                                           Filed
                                                               Filed
                                                                  12/05/22
                                                                     03/03/23Page
                                                                               Page
                                                                                  10 120
                                                                                     of 23
                                                                                         of 273


Growing loan book and active programs despite market volatility...




                                                                                                  Partial Data -
                                                                                                  Last Updated 6/12/2020
              CaseCase
                  3:23-cv-00243-AMO
                       20-12836-JTD Doc
                                    Document
                                        1063-12
                                             32-12
                                                 Filed
                                                     Filed
                                                        12/05/22
                                                           03/03/23Page
                                                                     Page
                                                                        11 121
                                                                           of 23
                                                                               of 273




Cred’s Retail and Institutional Services
                                         CaseCase
                                             3:23-cv-00243-AMO
                                                  20-12836-JTD Doc
                                                               Document
                                                                   1063-12
                                                                        32-12
                                                                            Filed
                                                                                Filed
                                                                                   12/05/22
                                                                                      03/03/23Page
                                                                                                Page
                                                                                                   12 122
                                                                                                      of 23
                                                                                                          of 273



What does Cred do that is diﬀerent
than traditional banks?

● Serve customers that lend and borrow in 190+ countries

● Oﬀer returns on both Fiat and Crypto assets

● Pay interest denominated in any crypto or fiat asset

● Borrow dollars against crypto assets

● Receive one credit line that values all your crypto holdings

● Oﬀer bonds denominated in crypto

● Architecting blockchain based merchant solutions cash-intensive businesses



                                                                                                                   Private and Confidential
                                            CaseCase
                                                3:23-cv-00243-AMO
                                                     20-12836-JTD Doc
                                                                  Document
                                                                      1063-12
                                                                           32-12
                                                                               Filed
                                                                                   Filed
                                                                                      12/05/22
                                                                                         03/03/23Page
                                                                                                   Page
                                                                                                      13 123
                                                                                                         of 23
                                                                                                             of 273


   Mobile first
   85% of our users are coming through mobile

Current Dashboard                Redesign
                    CaseCase
                        3:23-cv-00243-AMO
                             20-12836-JTD Doc
                                          Document
                                              1063-12
                                                   32-12
                                                       Filed
                                                           Filed
                                                              12/05/22
                                                                 03/03/23Page
                                                                           Page
                                                                              14 124
                                                                                 of 23
                                                                                     of 273



Investing In Technology

                                                                                              Custodial and non-custodial
                                                                                               regimes require complex
                                                                                               approaches to cross-app
                                                                                                    collaboration.

                                                                                                   CRED B2B platform
                                                                                                 dynamically exposes its
                                                                                               services via comprehensive
                                                                                                   mix of methods and
                                                                                              authentication techniques to
                                                                                                   ensure ‘native’ user
                                                                                                 experience and minimal
                                                                                                implementation eﬀort for
                                                                                                   prospect partners.

                                                                                               Full spectrum of integration
                                                                                                 (from loose to tight) and
                                                                                                scope of implementation
                                                                                              eﬀort (from minimal to more
                                                                                                involved) is supported by
                                                                                                    CRED B2B platform

                                                                                              Any custom implementation
                                                                                              requirements are simpliﬁed
                                                                                              via expandable architecture
                                                                                              and ready to use templates
                                                                         CaseCase
                                                                             3:23-cv-00243-AMO
                                                                                  20-12836-JTD Doc
                                                                                               Document
                                                                                                   1063-12
                                                                                                        32-12
                                                                                                            Filed
                                                                                                                Filed
                                                                                                                   12/05/22
                                                                                                                      03/03/23Page
                                                                                                                                Page
                                                                                                                                   15 125
                                                                                                                                      of 23
                                                                                                                                          of 273



What diﬀerentiates Cred?

  Cred Diﬀerentiators                                                               Functions / Core Competencies

  Capital Markets                                                                   Sourcing Funds: Institutional borrowing & corporate treasury relationships
   ●   Generates investment income                                                  Generating Returns Asset management “fund of funds” & securitization participations
   ●   Attracts institutional funding                                               Hedging: Token issuers, Exchange & OTC relationships
   ●   Lowers cost of funds                                                         Fixed Income: Institutional funding: SPV / Public Vehicle capable of providing exchange-traded / BTC denominated bonds

  Legal / Regulatory                                                                Licensing: Lending licenses, availability in 33 states
   ●   Enables compliant operations in US                                           Compliance: Tax and securities opinions, crypto lending requirement and MSB memos
   ●   Lowers cost of doing business                                                Trademarks: Logo / wordmark
   ●   Attracts institutional business / asset managers                             Inside / Outside Counsel Expertise: Bryan Cave, Paul Hastings, Dentons

  Exclusive Distribution                                                            Crypto wallets & Crypto Exchanges,
   ●   Lowers cost of customer acquisition                                          Stablecoins & Token Foundations,
   ●   Attracts retail funding at low cost                                          Professional Sports, Media Companies
   ●   Scales business at low fixed costs

  Technology                                                                        Borrow / Lend / Commerce as a service
   ●   Lowers cost of onboarding customers & partners                               Utility token / stablecoin / blockchain operating system expertise
   ●   Scales business across geographies / asset types                             API / Microservices
   ●   Safeguards assets & lowers cost of compliance                                Application & Custody security

  People / Expertise                                                                Lending, borrowing & capital markets
   ●   Traditional wall street expertise to new asset classes                       Payments, acquiring and issuing
   ●   Traditional fintech expertise to bridge crypto & fiat                        Crypto Compliance & Multi continent coverage
   ●   Native crypto expertise to support blockchain integrations                   Platform services and UI / UX
   ●   Navigation of securities / lending / payment regulatory regimes

                                                                                                                                                                              Private and Confidential
                                          CaseCase
                                              3:23-cv-00243-AMO
                                                   20-12836-JTD Doc
                                                                Document
                                                                    1063-12
                                                                         32-12
                                                                             Filed
                                                                                 Filed
                                                                                    12/05/22
                                                                                       03/03/23Page
                                                                                                 Page
                                                                                                    16 126
                                                                                                       of 23
                                                                                                           of 273



 Crypto Lending as a Service is valuable for the ecosystem...



                                                                                                                     Fintech
 Exchanges             Investors                       Wallet Providers                                                                        Customers
                                                                                                                    Platforms




Keep customers      Allow investors                      Provide more                                          Oﬀer crypto                 Access credit and
on your brokerage   ability to tap into                  utility and                                           lending/borrowing.          earnings wherever
or exchange.        margin.                              engagement.                                                                       you are most
                                                                                                                                           comfortable.



                                                                                                                                    Private and Confidential
                                              CaseCase
                                                  3:23-cv-00243-AMO
                                                       20-12836-JTD Doc
                                                                    Document
                                                                        1063-12
                                                                             32-12
                                                                                 Filed
                                                                                     Filed
                                                                                        12/05/22
                                                                                           03/03/23Page
                                                                                                     Page
                                                                                                        17 127
                                                                                                           of 23
                                                                                                               of 273



Crypto Lending Use Case
Crypto Wallet XYZ would like to bring in more assets from new and existing customers,
increase customer retention, and find a way to net an incremental $1 million of annual profit.

Cred’s Blockchain Banking integration...
● A more eﬀicient use of capital than building outside of company’s core competency;
● Removes regulatory liability since Cred is the lender of record;
● Generates commissions from day 1;
● Removes the need to manage licensing, technology, lending operations

                   Features                    CredEarn Solution                             Become a Lender            Aﬀiliate marketing

                   No operational overhead                                                                                      ~
                   Full regulatory approval                                                                                     ~
                   Immediately profitable

                   Keep customers engaged
                   on site
                                                                                                                                       Private and Confidential
                                             CaseCase
                                                 3:23-cv-00243-AMO
                                                      20-12836-JTD Doc
                                                                   Document
                                                                       1063-12
                                                                            32-12
                                                                                Filed
                                                                                    Filed
                                                                                       12/05/22
                                                                                          03/03/23Page
                                                                                                    Page
                                                                                                       18 128
                                                                                                          of 23
                                                                                                              of 273



Growth in Partnerships
Cred now launches a new partner monthly - crypto wallets, stablecoin
providers, crypto exchanges, the crypto media, and sports celebrities!




                                                                                                                       Private and Confidential
                                                    CaseCase
                                                        3:23-cv-00243-AMO
                                                             20-12836-JTD Doc
                                                                          Document
                                                                              1063-12
                                                                                   32-12
                                                                                       Filed
                                                                                           Filed
                                                                                              12/05/22
                                                                                                 03/03/23Page
                                                                                                           Page
                                                                                                              19 129
                                                                                                                 of 23
                                                                                                                     of 273



Competitive Advantages

 Sophisticated             Competitive                                     Strategic                                            Investment                      Experienced
   Platform                  Rates                                       Partnerships                                          Management                        Leadership



 ● Cred APIs allow for    ● Cred’s interest rates                       ● Formal partnerships                                 ● New source of                  ● Experienced team
   deep integration         are highly                                    with best of breed                                    revenue for partners             skilled in the
   with partners’           competitive                                   companies and                                                                          banking of digital
   applications and                                                       alt-coin issuers                                    ● Risk-adjusted                    assets
   platforms              ● Compound interest                                                                                   returns
                            and choice of                               ● These includes top                                                                   ● Proven ability to
 ● Flexible platform is     payment methods                               wallets, exchanges,                                 ● Competent                        apply traditional
   able to deliver          are diﬀerentiators                            and custodians                                        managers                         financial services
   partner-specific,                                                                                                                                             best practices to a
   co-branded Cred        ● Cred oﬀers interest                         ● Alt-coin issuers                                    ● Scaleable                        new asset class
   applications within      on fiat, crypto,                              include top
   weeks                    stable-coin, as well                          market-cap coins                                                                     ● International
                            as commodities                                                                                                                       execution success




                                                                                                                                                       Private and Confidential
             CaseCase
                 3:23-cv-00243-AMO
                      20-12836-JTD Doc
                                   Document
                                       1063-12
                                            32-12
                                                Filed
                                                    Filed
                                                       12/05/22
                                                          03/03/23Page
                                                                    Page
                                                                       20 130
                                                                          of 23
                                                                              of 273




Financials
                                                          CaseCase
                                                              3:23-cv-00243-AMO
                                                                   20-12836-JTD Doc
                                                                                Document
                                                                                    1063-12
                                                                                         32-12
                                                                                             Filed
                                                                                                 Filed
                                                                                                    12/05/22
                                                                                                       03/03/23Page
                                                                                                                 Page
                                                                                                                    21 131
                                                                                                                       of 23
                                                                                                                           of 273



Cred is built to win and has cracked the code to attract low cost funding


 Reputation and Relationships                                                                                                                           Operating expenses
 Cred books profitable loans to borrowers through its
 collective reputation and deep relationships in the
 global crypto community.                                                                                                   Built to Scale
                                                                                                                            Cred is built to scale without materially increasing
                                                                                                                            headcount. The right team is in place and can be
 Sophisticated and Technology-enabled                                                                                       augmented with selective outsourcing.
 The loans are funded through a sophisticated
 institutional securitization channel and
 technology-enabled retail channel - which cleverly                                                                          Infrastructure In Place
 leverages third party platforms so cost of capital and                                                                      With the company’s infrastructure in place, day-to-day
 acquisition costs are minimized.                                                                                            expenses are expected to grow significantly slower than
                                                                                                                             revenue. Most non-employee expenses will come from
                                                                                                                             the manageable use of professional services and
                                                                                                                             technology.
Gross profit



                                                                                                                                                            Private and Confidential
                                                 CaseCase
                                                     3:23-cv-00243-AMO
                                                          20-12836-JTD Doc
                                                                       Document
                                                                           1063-12
                                                                                32-12
                                                                                    Filed
                                                                                        Filed
                                                                                           12/05/22
                                                                                              03/03/23Page
                                                                                                        Page
                                                                                                           22 132
                                                                                                              of 23
                                                                                                                  of 273



Cred is positioned for growth
Increasing revenue and focused expense management will drive profitability in 2020


  $M                     FY2018        FY2019                 Q1’20                     Q2’20                      Q3’20   Q4’20    FY2020                    FY2021
  Loan Portfolio (Y/E)      0.0           77.2                                                                                          218.5                   356.8

  Income                    N/M            7.3                                                                                           23.4                    30.4

  Cost of Sales             0.0            4.9                                                                                           11.6                    16.3

  Gross Profit              N/M            2.4                                                                                           11.8                    14.2

  Expenses                 (3.4)           4.8                                                                                             7.8                    8.5

  Operating Margin         (3.4)         (2.3)                                                                                             4.0                    5.7

  Net Income               (3.4)           0.9                                                                                             2.0                    3.5




Comments
● 2019 positive Net Income due to successful trading activity that generated $3.2M in Other Income
● 2020 Revenue growth primarily based on increasing Y/Y active funds-in from $77M to about $220M
● Growth in Q2 significantly exceeded plans due to significant trading gains.
● Decreasing cost of capital, managing day-to-day expenses, and successful investment strategies are driving Q2 profitability.
                                                                                                                                   Private and Confidential
                                   CaseCase
                                       3:23-cv-00243-AMO
                                            20-12836-JTD Doc
                                                         Document
                                                             1063-12
                                                                  32-12
                                                                      Filed
                                                                          Filed
                                                                             12/05/22
                                                                                03/03/23Page
                                                                                          Page
                                                                                             23 133
                                                                                                of 23
                                                                                                    of 273



Seeking Convertible Notes to Series A

 Type              Convertible Note to Preferred shares in Series A



 Size              Seeking $5M Convertible Notes to Series A, minimum $250,000


 Investor Rights   Guaranteed participation in Series A equity raise

 Use of Proceeds   Invest in technology platform
                   Lower cost of capital through more eﬀicient liquidity management
                   Satisfy capital requirements for future regulatory licensing (e.g state money transmitter licenses)




                                                                                                                         Private and Confidential
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-13
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 134
                                                             of 6 of 273




                              EXHIBIT M
To:       Dusan Kovacic[dusan.kovacic@rockawayblockchain.com]; Viktor Fischer[viktor.fischer@rockawayblockchain.com]; Radek
                   Case 3:23-cv-00243-AMO
                          Case 20-12836-JTD Document
Horák[radek.horak@rockawayblockchain.com]        Doc 1063-13
                                                           32-12FiledFiled12/05/22
                                                                            03/03/23 Page Page2 135
                                                                                                 of 6 of 273
Bcc:      stan@mycred.io[stan@mycred.io]
From:     Dan Schatt[dan@mycred.io]
Sent:     Thur 8/20/2020 11:33:20 PM (UTC-04:00)
Subject: Re: Cred <> Rockaway Blockchain

 Hi Dusan, Viktor, Radek,

 We are in the process of closing the round and would like to get your signed docs early next week and wires by end of
 the month latest. Dragonfly is leading as you know and will be joined by Distributed Global, Uncorrelated Ventures,
 Coinbase Ventures, Fenbushi, Global Brain, and we are finalizing with a broad investment and strategic partnership with
 Ripple that’s really game-changing to us.

 We’ve got a number of strategic announcements scheduled for next week and would like to announce the round first
 week of September.

 Let me know your timing on the above,

 Dan



 From: Dusan Kovacic <dusan.kovacic@rockawayblockchain.com>
 Date: Thursday, August 13, 2020 at 12:11 PM
 To: Dan Schatt <dan@mycred.io>
 Cc: Viktor Fischer <viktor.fischer@rockawayblockchain.com>, Radek Horák <radek.horak@rockawayblockchain.com>,
 Dianne Urquia <dianne@mycred.io>
 Subject: RE: Cred <> Rockaway Blockchain

 Hi Dan,

 We had a great call with Daniyal today. After discussing internally, we would like to proceed. Can you please share with
 us the investment documentation?

 I also noticed that the online investor deck became unavailable. Could you please send me a copy?

 Thanks a lot.
 Dusan

 DUSAN KOVACIC
 Investments

 +420 739 368 324 (Mobile, Signal, Telegram, Whatsapp)
 dusan.kovacic@rockawayblockchain.com
 Web | Twitter | Medium




 From: Dianne Urquia <dianne@mycred.io>
 Sent: Tuesday, August 11, 2020 5:28 PM
 To: Dusan Kovacic <dusan.kovacic@rockawayblockchain.com>
 Cc: Viktor Fischer <viktor.fischer@rockawayblockchain.com>; Radek Horák <radek.horak@rockawayblockchain.com>; Dan Schatt
 <dan@mycred.io>
 Subject: Re: Cred <> Rockaway Blockchain

 Hi Dusan,
No worries. The calendar invite is updated.
                   Case 3:23-cv-00243-AMO
                        Case 20-12836-JTD Document
                                           Doc 1063-13
                                                   32-12Filed
                                                          Filed
                                                              12/05/22
                                                                03/03/23 Page
                                                                          Page3 136
                                                                                of 6 of 273
Best,

                    Dianne Urquia

                    Assistant



                    dianne@mycred.io

                    mycred.io



On Tue, Aug 11, 2020 at 1:50 AM Dusan Kovacic <dusan.kovacic@rockawayblockchain.com> wrote:
 Hi Dianne,

 I apologize for inconvenience. Can we please reschedule to today 11:AM PST? Alternatively, if sooner time was
 possible, 9:00 AM PST today or 8:00 AM PST tomorrow would work better. To speed up the scheduling process, feel
 free to call me on Whatsapp or Telegram. My number is +420 739 368 324.

 Unfortunately, one of my colleagues cannot join on Wednesday.

 Thank you.

 Best Regards,
 Dusan

 DUSAN KOVACIC
 Investments

 +420 739 368 324 (Mobile, Signal, Telegram, Whatsapp)
 dusan.kovacic@rockawayblockchain.com
 Web | Twitter | Medium




 From: Dianne Urquia <dianne@mycred.io>
 Sent: Monday, August 10, 2020 6:20 PM
 To: Dusan Kovacic <dusan.kovacic@rockawayblockchain.com>
 Cc: Viktor Fischer <viktor.fischer@rockawayblockchain.com>; Radek Horák <radek.horak@rockawayblockchain.com>
 Subject: Re: Cred <> Rockaway Blockchain

 Hi Dan, moving you to bcc.

 Hi Dusan,

 Please see Dan's availability below:
       1. Tuesday, 11 AM PST
       2. Tuesday, 1 PM PST
       3. Wednesday, 10:30 AM PST


 I'll send the calendar invite once your availability is confirmed. Thanks.
Best,
                    Case 3:23-cv-00243-AMO
                         Case 20-12836-JTD Document
                                            Doc 1063-13
                                                    32-12Filed
                                                           Filed
                                                               12/05/22
                                                                 03/03/23 Page
                                                                           Page4 137
                                                                                 of 6 of 273
                      Dianne Urquia

                      Assistant



                      dianne@mycred.io

                      mycred.io



On Mon, Aug 10, 2020 at 8:55 AM Dan Schatt <dan@mycred.io> wrote:
 Thanks Dusan, sounds great. Including Dianne who can schedule something that works with your calendars.

 Dan

 Sent from my iPhone


        On Aug 10, 2020, at 8:39 AM, Dusan Kovacic <dusan.kovacic@rockawayblockchain.com> wrote:

        ﻿
        Hi Dan,

        Thanks for the response. We also discussed with Haseeb and Kevin from Dragonfly and are close to make
        our final decision. Can we please have a call tomorrow or on Wednesday to talk about the final points
        below? I will also include my CEO Viktor and COO Radek.

              1. Competitive advantage of Cred to other platforms (how difficult is it for other lending platform to
              white label their solution)
              2. Growth strategy (why is the forecast for AUM growth in 2020 300% and only 60% in 2021)
              3. Viability of the business model (how sustainable is it to generate yield 12-20% p.a. – estimated
              based on forecasted AUM and income)
              4. Exit plan


        Looking forward.

        Best Regards,
        Dusan

        DUSAN KOVACIC
        Investments

        +420 739 368 324 (Mobile, Signal, Telegram, Whatsapp)
        dusan.kovacic@rockawayblockchain.com
        Web | Twitter | Medium

        <image001.png>

        From: Dan Schatt <dan@mycred.io>
        Sent: Tuesday, August 4, 2020 9:15 PM
        To: Dusan Kovacic <dusan.kovacic@rockawayblockchain.com>
        Subject: Re: Cred <> Rockaway Blockchain

        Hi Dusan,
            Case 3:23-cv-00243-AMO
                 Case 20-12836-JTD Document
                                    Doc 1063-13
                                            32-12Filed
                                                   Filed
                                                       12/05/22
                                                         03/03/23 Page
                                                                   Page5 138
                                                                         of 6 of 273
Nice connecting with you yesterday. My comments below in bold. BTW – thanks for sending Gumi to us, we had a
good call, and it sounds likely they’ll participate.

Thanks,
Dan

From: Dusan Kovacic <dusan.kovacic@rockawayblockchain.com>
Date: Tuesday, August 4, 2020 at 11:21 AM
To: Dan Schatt <dan@mycred.io>
Subject: RE: Cred <> Rockaway Blockchain

Hi Dan,

Thanks for the call yesterday. I reviewed the deck. Before I approach Haseeb to share the internal memo, I
would like to ask few questions related to the business (so I can provide back an unbiased option).

      1. How does the money flow in the Cred ecosystem look like? Who pays the fees and how much (by
      each party)?

Partner receives a rev share (~1%) / Customer receives interest (~5%) / Cred pays fund managers (~1%)
     1. Are the shared Q2 2020 financial data actuals or a forecast from the past?

Actuals
     1. Can you please describe the trading/portfolio management strategy and show historical
     performance on monthly basis?

We’ve had our Cap markets head on several due diligence calls to discuss this, probably best to have Dragonfly
share their info with you…

Looking forward to discuss further.

Best Regards,
Dusan

DUSAN KOVACIC
Investments

+420 739 368 324 (Mobile, Signal, Telegram, Whatsapp)
dusan.kovacic@rockawayblockchain.com
Web | Twitter | Medium

<image004.png>

From: Dan Schatt <dan@mycred.io>
Sent: Monday, August 3, 2020 5:30 PM
To: Dusan Kovacic <dusan.kovacic@rockawayblockchain.com>
Subject: Re: Cred <> Rockaway Blockchain

Hi Dusan,

Great to meet you! As promised, I am including the investor deck.

Thank you,
Dan

From: dan@mycred.io
When: 8:00 AM - 8:30 AM August 3, 2020
Subject: Cred
         Case<>3:23-cv-00243-AMO
                 Rockaway
                Case       Blockchain Document
                      20-12836-JTD     Doc 1063-13
                                               32-12Filed
                                                      Filed
                                                          12/05/22
                                                            03/03/23 Page
                                                                      Page6 139
                                                                            of 6 of 273
Location: https://mycred.zoom.us/j/91933576220?pwd=bHBFektXL1BtUVRQSlRkaXZVZ0RlUT09


Dan Schatt is inviting you to a scheduled Zoom meeting.

Topic: Cred <> Rockaway Blockchain
Time: Aug 3, 2020 08:00 AM Pacific Time (US and Canada)

Join Zoom Meeting
https://mycred.zoom.us/j/91933576220?pwd=bHBFektXL1BtUVRQSlRkaXZVZ0RlUT09

Meeting ID: 919 3357 6220
Passcode: 826193
One tap mobile
+14086380968,,91933576220#,,,,,,0#,,826193# US (San Jose)
+16468769923,,91933576220#,,,,,,0#,,826193# US (New York)

Dial by your location
     +1 408 638 0968 US (San Jose)
     +1 646 876 9923 US (New York)
     +1 669 900 6833 US (San Jose)
     +1 253 215 8782 US (Tacoma)
     +1 301 715 8592 US (Germantown)
     +1 312 626 6799 US (Chicago)
     +1 346 248 7799 US (Houston)
Meeting ID: 919 3357 6220
Passcode: 826193
Find your local number: https://mycred.zoom.us/u/adSjehhwSG
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-14
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 140
                                                             of 3 of 273




                              EXHIBIT N
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-14
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 141
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-14
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 142
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-15
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 143
                                                             of 2 of 273




                              EXHIBIT O
To:        Josh Klein[jklein@ripple.com]
Cc:                 Case 3:23-cv-00243-AMO
                            Case 20-12836-JTD Document
           Joe Podulka[joe@mycred.io]            Doc 1063-15
                                                         32-12Filed
                                                                Filed
                                                                    12/05/22
                                                                      03/03/23 Page
                                                                                Page2 144
                                                                                      of 2 of 273
From:      Dan Schatt[dan@mycred.io]
Sent:      Thur 9/3/2020 3:51:04 PM (UTC-04:00)
Subject: Re: Quick Request
Visa Fast Track PR_Visa Consolidated_9.1[1].docx

 Hi Josh,

 Adding Joe for the finance questions. Per the other questions:
      • Dragonfly, Fenbushi, Borderless Capital have come in, and we’re expecting 2-4 more commitments soon. ~$2M has come
      in so far, we expect another $2M over the couple of weeks (independent of the $1M we’ve earmarked for Ripple).
      • Use of funds: Developers, Customer Service and Operations, Partner Management


 BTW – a few quick updates to share –
      • We’re getting great press this week on our Klever Wallet Integration: https://cointelegraph.com/news/cred-to-enable-in-
      app-staking-through-klever-wallet

        • Visa just approved our release – going out on Tuesday (attached). First release that has the head of Visa crypto endorsing a
        fin-tech.
        • Cred received over $10M of new money throughout August, net of redemptions…great for us, as August is usually a sleepy
        month!


 Feel free to ping us through the weekend if you need anything.

 Thanks,
 Dan
 From: Josh Klein <jklein@ripple.com>
 Date: Thursday, September 3, 2020 at 12:24 PM
 To: Dan Schatt <dan@mycred.io>
 Subject: Quick Request

 Dan,

 I realize that a few of these items are in the data room but hoping you can let us know and/or confirm the following:
        • Other participants in the note: Dragonfly (1.5M) who else?
        • Use of funds: hiring developers, general corporate purposes
        • Revenue: $7.3M in '19; what are your latest targets for 2020 and 2021? Can you bridge 2020 to 2021 with rev connected
        to existing customers, identified opportunities, and yet to be identified?
        • EBITDA: roughly maps to net income if I recall correctly, but please confirm. '19 was about 875k and also provide the latest
        target for 2020.
        • Cash position: what is your balance as of ~8/31, and how much has been accepted in connection with the convertible
        note?

 Josh Klein
 Corporate Development
 jklein@ripple.com | ripple.com
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-16
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 145
                                                             of 3 of 273




                              EXHIBIT P
To:          Joe Podulka[joe@mycred.io]; Maxim Rokhline[maxim@mycred.io]; Daniyal Inamullah[d.inamullah@mycred.io]
From:                 Case 3:23-cv-00243-AMO
                             Case 20-12836-JTD Document
             Dan Schatt[dan@mycred.io]                Doc 1063-16
                                                              32-12Filed
                                                                       Filed
                                                                           12/05/22
                                                                              03/03/23 PagePage2 146
                                                                                                  of 3 of 273
Sent:        Thur 10/1/2020 8:42:35 PM (UTC-04:00)
Subject:     Re: Strategy

 Hi guys –

 Here’s the latest version of the strategy deck…As always, please continue to push, pull, poke at it. It’s a living, breathing
 document…

 Thanks,
 Dan

 From: Joe Podulka <joe@mycred.io>
 Date: Monday, September 14, 2020 at 10:48 AM
 To: Dan Schatt <dan@mycred.io>
 Cc: Daniyal Inamullah <d.inamullah@mycred.io>, Maxim Rokhline <maxim@mycred.io>
 Subject: RE: Strategy

 Hi Dan.

 On Slide 7, I would also include an objective about Infrastructure. This would include things like improving Security, expanding our
 data capabilities, increasing automation, building out Operations, etc. These create the framework to support the initiatives for
 2021.

 Joe

 From: Dan Schatt <dan@mycred.io>
 Sent: Sunday, September 13, 2020 7:01 PM
 To: Joe Podulka <joe@mycred.io>
 Cc: Daniyal Inamullah <d.inamullah@mycred.io>; Maxim Rokhline <maxim@mycred.io>
 Subject: Re: Strategy

 Joe – thanks for putting this in Google Slides and for the edits.

 Guys – I’ve incorporated feedback from all of our conversations – the goal is to help everyone with clarity of focus as we head into
 the last quarter of the year, and into 2021. The idea is have each department structure its plan/budget based on the corporate
 objectives in this presentation…If there are no additional comments, I’ll plan on introducing this at an upcoming All Hands.

 https://docs.google.com/presentation/d/1u9krjW7S9rPKTxbI247BFvoDBQKcQLNZOMEhxnwLIGc/edit?usp=sharing

 Thanks,
 Dan

 From: Joe Podulka <joe@mycred.io>
 Date: Monday, September 7, 2020 at 3:32 PM
 To: Dan Schatt <dan@mycred.io>
 Cc: Daniyal Inamullah <d.inamullah@mycred.io>, Maxim Rokhline <maxim@mycred.io>
 Subject: RE: Strategy

 Hi Dan.

 Some version of the top 3 should be used as Objectives for the 2021 budget, so resource allocation is focused and aligned.

 I also put the presentation into Google Slides, so it’s easier to edit.

 Joe
                  Case 3:23-cv-00243-AMO
                       Case 20-12836-JTD Document
                                          Doc 1063-16
                                                  32-12Filed
                                                         Filed
                                                             12/05/22
                                                               03/03/23 Page
                                                                         Page3 147
                                                                               of 3 of 273

From: Dan Schatt <dan@mycred.io>
Sent: Sunday, September 6, 2020 8:42 PM
To: Joe Podulka <joe@mycred.io>; Daniyal Inamullah <d.inamullah@mycred.io>; Maxim Rokhline <maxim@mycred.io>
Subject: Strategy

Hi guys,

Sending you an updated strategy deck --- I’ll find some time on our calendars to solicit feedback and tighten up our strategy. A few
observations / thoughts –

      1. Funds In / Liquidity remain our #1 focus. Implications: Anything that requires too much labor / complexity / development
      that cannot be translated into more funds in may become deprioritized. One of the bigger decisions we’re making on this
      front is to forego private debt placements, bonds, sub-advisory services for the time being. We’re heavily focused on
      obtaining lines of credit as we close up our investor round, and focus on larger custodial type distribution partners, and
      capital markets partners that can give us more liquidity / yield on our various assets.


      2. Fee-based services / fiat & a stronger billing engine capable of servicing our institutional customers remain high priority.
      It will help us 1. Lower our redemption rate, 2. Increase fee-based services, 3. Increase funds-in.


      3. Defi is exploding (in good and bad ways) and we’ll want to position ourselves as a company that can act as a gateway to
      CeFi and DeFi services, in terms of our allocations, LBA liquidity, and in our future consumer interface.


      4. Crypto-backed loans will take a back-seat to CredEarn unless: 1. They are over-collateralized and we have sufficient
      liquidity, 2. We can deploy in the form of a credit card, which can help us generate fee-based income and allow us to lock up
      CredEarn programs long-term (e.g. an Uphold C-LOC might allow us to increase our renewal rates significantly since that will
      be a requirement to have an open credit line). By the end of this month, we might have a legal path that will no longer
      obligate us to offer loans to cred earn customers, which should eliminate the tremendous tech and operations work required
      to support this type of compliance…


Thanks, and talk soon!
Dan
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-17
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 148
                                                             of 1 of 273




                              EXHIBIT Q

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-18
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 149
                                                             of 1 of 273




                              EXHIBIT R

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-19
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 150
                                                             of 1 of 273




                              EXHIBIT S

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-20
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 151
                                                             of 1 of 273




                              EXHIBIT T

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-21
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 152
                                                             of 6 of 273




                              EXHIBIT U
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-21
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 153
                                                             of 6 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-21
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 154
                                                             of 6 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-21
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page4 155
                                                             of 6 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-21
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page5 156
                                                             of 6 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-21
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page6 157
                                                             of 6 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-22
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 158
                                                             of 7 of 273




                              EXHIBIT V
To:        Ray Ma[lma@mycred.io]
Cc:                  Case 3:23-cv-00243-AMO
                              Case Dan
           Lu Hua[lu@mycred.io];    20-12836-JTD    Document
                                                     Doc 1063-22
                                        Schatt[dan@mycred.io] 32-12Filed
                                                                     Filed
                                                                         12/05/22
                                                                           03/03/23 Page
                                                                                     Page2 159
                                                                                           of 7 of 273
From:      Daniel Goldstein[danny@mycred.io]
Sent:      Thur 9/24/2020 11:18:52 PM (UTC-04:00)
Subject:   Re: A bit of thinking around DeFi

Hi Ray,
good analysis. the points you bring are in all of our minds and we have almost daily discussions on the subject. We started
to assemble a "brain trust" of internal and external contributors to chart the path forward.
I am creating a slack channel for us to chat on this subject.

Danny

On Thu, Sep 24, 2020 at 7:19 PM Ray Ma <lma@mycred.io> wrote:

  Hi, Danny,

  Coinbase is a centralized exchange thus "conversion" between them (buy/sell/hold) is what it does and what it lives for.
  Glad to see if we decide to add more crypto tokens to Cred platform but that maybe not the only thing we could try and
  add to our product matrix.

  From a customer perspective, earning more (or even the most/best among market) on those most notable cryptos like
  BTC/ETH via Cred also values a lot. If you check around the Cred community in Telegram or Twitter, you will easily
  find that community are complaining about decreasing rates of CredEarn programs since this year and leave our platform
  for other competitors. Of course, there are other factors like UI/Mobile/Customer communications involved in their
  decision. But always providing a competitive earning rate is one killer-strategy to win community love. Maybe we could
  start to think/discuss/build about sth like shorter maturity (like 2 weeks or even 7 days) programs and higher rates (say
  10%-15%) to attract more customers and funds coming into Cred.

  Another confusing question related to above topic in my mind is WHY can't we add more stablecoins like USDT (1st
  stablecoin share from Tether/Bitfinex) and USDC (2nd stablecoin share from Coinbase/Circle)? We already support
  USDT (TRC20 version) in Klever and TUSD across all platform partners, WHY can't we extend the USDT support
  (maybe ERC20 version) to all platform partners? Why would we stop ourselves to accept those most popular stablecoins
  which have billions of dollars circulation?

  Just my 1 cents.
  Thanks.


  On Fri, Sep 25, 2020 at 6:58 AM Daniel Goldstein <danny@mycred.io> wrote:

   Hi Ray,
   Algo, Tezos, Yearn, DAI... are all on Coinbase and I can convert any crypto to and from .

   Danny

   On Tue, Sep 22, 2020 at 1:10 AM Ray Ma <lma@mycred.io> wrote:

    Hi, Dan/Danny,
    Thanks for sharing your thoughts and insights on this DeFi topic.

    Let me share an interesting screenshot of earning vaults below from https://yearn.finance/stats (whose governance
    token YFI rocket to above $40000 one week ago):
    Those vaults in red circle accept only mainstream cryptos like ETH/BTC/stablecoins(DAI/USDC/USDT/TUSD) and
    their, while the vault for YFI token itself actually earns very very little (less than 2%).
              Case 3:23-cv-00243-AMO
                   Case 20-12836-JTD Document
                                      Doc 1063-22
                                              32-12Filed
                                                     Filed
                                                         12/05/22
                                                           03/03/23 Page
                                                                     Page3 160
                                                                           of 7 of 273




Same pattern applies to UNI token from Uniswap (https://app.uniswap.org/#/uni).
Currently there is NO liquidity pair of UNI token which could earn mining rewards (roughly 40% to 50% apr till this
November), Only ETH/BTC/USDT/USDC/DAI pairs accepted.




I myself really a big fan of Ethereum and its related technology like smart contract powered finance innovations so I
would suggest to fully utilize all these DeFi LEGOs out there to maximize CredEarn profit by attracting more
mainstream cryptos (BTC/ETH/stablecoins) from both retail customers/partners and institution whale clients who trust
and love Cred. We could make them happier by connecting DeFi world with a more friendly way (as you may notice
in my previous email, the steps to participate in yearn.finance earning looks a bit intimidating to DeFi rookies).

P.S., Staking rewards with PoS tokens like Algo/Tezos are actually single digit these days(around 5%, source:
https://staked.us/ and https://www.coinbase.com/staking).
And supporting these new PoS tokens like Algo/Tezos would require complex technical integration of fresh new
blockchains which may take months depending on resources.

Looking forward to your reply.
Thanks       Case 3:23-cv-00243-AMO
                  Case 20-12836-JTD Document
                                     Doc 1063-22
                                             32-12Filed
                                                    Filed
                                                        12/05/22
                                                          03/03/23 Page
                                                                    Page4 161
                                                                          of 7 of 273


On Tue, Sep 22, 2020 at 11:32 AM Dan Schatt <dan@mycred.io> wrote:


I would suggest we follow the same path as Coinstar/Binance – their listing strategies have generally paid off…If we
overlay that with our partnership relationships, the following are all great candidates: Algo, Yearn, Uni, Tezos are
good bets to start, generating good volumes…



From: Daniel Goldstein <danny@mycred.io>
Date: Monday, September 21, 2020 at 8:26 PM
To: Dan Schatt <dan@mycred.io>
Cc: Ray Ma <lma@mycred.io>, Lu Hua <lu@mycred.io>, Maxim Rokhline <maxim@mycred.io>, Daniyal
Inamullah <d.inamullah@mycred.io>
Subject: Re: A bit of thinking around DeFi



I agree with Ray that supporting tokens is the best way to start as it will not be different from what we are already
doing today.

What tokens should we go after first? in what order?



Danny



On Mon, Sep 21, 2020 at 7:12 PM Dan Schatt <dan@mycred.io> wrote:

 Hi Ray!



 Thanks for your email, we’ve been doing LOTs of thinking on this topic, and I’m glad you are involved in helping us
 lead the charge to do much more in DeFi!



 Here’s the current thinking:



 Phase 0: Start accepting DeFi tokens through our institutional channels, and allocating these to DeFi projects through
 our asset managers

 Phase 1: Retail: Begin supporting key DeFi tokens including Algo, Tezos, Compound, Curve, Yearn

 Phase 2: Become a staking node / allocate to DeFi projects directly through Cred / investigate insurance capabilities
 on DeFi / extend credit card purchasing to DeFi tokens

 Phase 3: Retail interface: Offer customers the choice of DeFi vs. CeFi from one interface
We’re looking forward
           Case        to 20-12836-JTD
                          working with youDocument
                  3:23-cv-00243-AMO
                  Case                     to
                                           Docfigure this
                                                 1063-22  all out!
                                                       32-12       We’ll
                                                               Filed
                                                                 Filed   plan to start
                                                                     12/05/22
                                                                       03/03/23   Page setting
                                                                                    Page    of up
                                                                                          5 1627 ofsome
                                                                                                    273 regular meetings
soon to make progress!



Thanks,

Dan

From: Ray Ma <lma@mycred.io>
Date: Monday, September 21, 2020 at 7:19 AM
To: Dan Schatt <dan@mycred.io>, Daniel Goldstein <danny@mycred.io>
Cc: Lu Hua <lu@mycred.io>
Subject: A bit of thinking around DeFi



Hi, Dan/Danny



Hope this email finds you well.



As you may have heard of the names like Uniswap/YFI/Yearn/Curve, those are the most hot names in DeFi and
crypto these days.

Those projects already have billions of crypto AUM today (source: https://defipulse.com/).



I have been thinking about the topic around how to utilize DeFi to boost CredEarn earning if possible.

Please allow me to introduce a straight-forward earning practice with yearn.finance as an interesting example. (of
which the ROI could reach 50%-70%, source: https://yearn.finance/stats)



[Preparation]
1. recommend to use google Chrome browser and Metamask wallet plugin
2. please download and setup a Metamask wallet on Ethereum: https://metamask.io/download.html
3. please DO keep safe and backup the private key or mnemonic phrases (usually 12 words) for above generated
wallet
4. move earning principal (for example USDC) and some ETH (as transaction gas on Ethereum) into above
generated wallet

[Steps to try yearn.finance for DeFi earning] (take USDC as an example)
1. go to https://www.curve.fi/iearn/deposit for USDC deposit and you will receive yUSDC LP (Liquidity Provider )
token as receipt (https://etherscan.io/token/0xdf5e0e81dff6faf3a7e52ba697820c5e32d806a8)
2. go to https://yearn.finance/vaults and choose curve.fi/y LP pool to deposit your yUSDC received in above step and
you will receive yUSD from yearn.finance
(https://etherscan.io/token/0x5dbcf33d8c2e976c6b560249878e6f1491bca25c)
3. then all set, your USDC is compounding-earning now! If you want to withdraw both interest and principal (notice
there is 0.5% fee upon principal if withdrawn so it is better to stay there a bit longer to cover the fee), just withdraw
from above yearn vault pool and get back the the yUSDC LP token and head to https://www.curve.fi/iearn/withdraw
to turn it back to USDC or other stablecoin you want.
4. please notice for above steps, you will need to pay transaction gas using ETH in your metamask wallet and it may
     cost depending  on Ethereum
                   Case            congestion. Recommend
                         3:23-cv-00243-AMO
                          Case 20-12836-JTD      Document to32-12
                                                  Doc 1063-22try it Filed
                                                                    with  10K
                                                                      Filed   or abovePage
                                                                          12/05/22
                                                                            03/03/23   principal
                                                                                              ofor
                                                                                       Page6 163   the273
                                                                                                 7 of  earning may not
     even make sense to cover the gas cost. you could always check gas cost on Ethereum at
     https://etherscan.io/gastracker and recommend always use highest gas price to ensure the transaction go through
     smoothly.

     [References]
     https://docs.yearn.finance/how-to-guides/how-to-participate-in-a-yvault
     https://docs.yearn.finance/how-to-guides/how-to-understand-yvault-roi
     https://docs.yearn.finance/faq



     IMO, if Cred could start to explore and consider to include DeFi into its offering matrix, like higher earning rate but
     shorter maturity or bridge other DeFi markets (like Compound/Aave) to facilitate more flexible loans,

     believing it would bring additional benefits to Cred customers and the entire LBA ecosystem.



     Above is just my two cents and thanks for reading this long email.

     Glad to hear your insightful advice.



     Have a nice day.



     --

     Ray Ma

     Cred Engineering

     Telegram: @rayEaster | Email: lma@mycred.io




 --

                        Daniel Goldstein

                        CTO



                        danny@mycred.io

                        (415) 254-5608

                        mycred.io




--
      Ray Ma       Case 3:23-cv-00243-AMO
                         Case 20-12836-JTD Document
                                                Doc 1063-22
                                                        32-12Filed
                                                               Filed
                                                                   12/05/22
                                                                     03/03/23 Page
                                                                               Page7 164
                                                                                     of 7 of 273
      Cred Engineering
      Telegram: @rayEaster | Email: lma@mycred.io


     --
                     Daniel Goldstein

                     CTO



                     danny@mycred.io

                     (415) 254-5608

                     mycred.io



     --
     Ray Ma
     Cred Engineering
     Telegram: @rayEaster | Email: lma@mycred.io


--
                    Daniel Goldstein

                    CTO



                    danny@mycred.io

                    (415) 254-5608

                    mycred.io
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-23
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 165
                                                             of 3 of 273




                              EXHIBIT W
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-23
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 166
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-23
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 167
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-24
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 168
                                                             of 3 of 273




                              EXHIBIT X
To:        Daniel Hummer[dan.hummer@mycred.io]
From:              Case 3:23-cv-00243-AMO
                          Case 20-12836-JTD Document
           Dan Schatt[dan@mycred.io]             Doc 1063-24
                                                         32-12Filed
                                                                Filed
                                                                    12/05/22
                                                                      03/03/23 Page
                                                                                Page2 169
                                                                                      of 3 of 273
Sent:      Mon 9/28/2020 11:59:50 AM (UTC-04:00)
Subject:   Re: Adding New System - Slack!

 Hi Dan – can we limit Stan in the DeFi channel? No need to have him in other other channels…thanks

 From: Daniel Hummer <dan.hummer@mycred.io>
 Date: Monday, September 28, 2020 at 8:32 AM
 To: Stan Miroshnik <stan@mycred.io>
 Cc: Dan Schatt <dan@mycred.io>, Daniel Goldstein <danny@mycred.io>
 Subject: Re: Adding New System - Slack!

 Yes sir, you were added quickly when you first boarded as a single channel guest.

 What is your availability today for a quick 5-10 minute zoom call? It looks like your account needs to be re-binded to Slack so we
 can get you added into these channels, no biggie.




                     Dan Hummer

                     Director, IT



                     (650) 246-9363

                     dan.hummer@mycred.io

                     mycred.io




 On Fri, Sep 25, 2020 at 9:08 PM Stan Miroshnik <stan@mycred.io> wrote:
  Hi Dan - I am already on the Cred slack, but I can't see the additional channels. Is there a trick?


  On Fri, Sep 25, 2020 at 9:59 AM Daniel Hummer <dan.hummer@mycred.io> wrote:
   Hey Stan,

   Wanted to connect with you today for 10 minutes and quickly get you onboard into our Slack instance Dan and Danny want to
   get you inside a couple slack channels that were recently created.

   Let me know if you have some time today.


                       Dan Hummer

                       Director, IT



                       (650) 246-9363
 dan.hummer@mycred.io
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-24
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 170
                                                             of 3 of 273
 mycred.io
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-25
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 171
                                                             of 2 of 273




                              EXHIBIT Y
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-25
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 172
                                                             of 2 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-26
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 173
                                                             of 3 of 273




                              EXHIBIT Z
To:        Haseeb Qureshi[haseeb@dcp.capital]; Kevin Hu[kevin@dcp.capital]; Alexander Pack[alexander.h.pack@gmail.com]
From:              Case 3:23-cv-00243-AMO
                           Case 20-12836-JTD Document
           Dan Schatt[dan@mycred.io]                Doc 1063-26
                                                              32-12Filed
                                                                      Filed 12/05/22
                                                                              03/03/23 Page
                                                                                          Page2 174
                                                                                                 of 3 of 273
Sent:      Wed 9/30/2020 5:03:52 PM (UTC-04:00)
Subject:   Re: Checking in

 Quick update:

       • Ripple (Breanne + Boris + Josh) agreed to a 90 day trial period to begin a $1m to $2M line of credit with Cred. If this works
       out, they will consider a larger line and an investment. Documents/terms expected next week.
       • Spark Capital (Securitize) signed docs, wired $250k
       • Algo + Cred Press release out today. As a result of the good press, Borderless today requested to increase their investment
       from $200k to $250k.
       • Good conversation with OKCoin CEO Hong. Expecting commercial + investment decision soon.
       • Genesis decided to not grant credit to Cred, would like to see more investors, longer track record.


 Would love to solicit your help:
      • Can you help us to attract $2m to $5m of Cred Earn placements this month? Our sales team is offering competitive rates
      on stablecoin, USD, BTC. Mike Zhang (sales) can facilitate.
      • Can you help us with introductions to alternative lenders that could offer a revolving line of credit -- $500k - $5M to
      support larger redemptions
      • If you come across strong, seasoned sales people, we’re on the lookout!


 Thanks!
 Dan




 From: Dan Schatt <dan@mycred.io>
 Date: Friday, September 25, 2020 at 1:33 PM
 To: Haseeb Qureshi <haseeb@dcp.capital>
 Cc: Kevin Hu <kevin@dcp.capital>, Alexander Pack <alexander.h.pack@gmail.com>
 Subject: Re: Checking in

 Thanks! BTW – check this Forbes Article out!

 Quote from Cuy, Head of Crypto at Visa:

 “We've seen significant innovation in new financial services for consumers that hold digital
 currencies. The growth in demand for lending and borrowing of digital currencies is an example of
 that. We’re excited to partner with fintechs like Cred that are building new products in this
 ecosystem and to find new ways for Visa to improve the fiat on-ramps and off-ramps connected to
 those products.”

 From: Haseeb Qureshi <haseeb@dcp.capital>
 Date: Thursday, September 24, 2020 at 9:41 PM
 To: Dan Schatt <dan@mycred.io>
 Cc: Kevin Hu <kevin@dcp.capital>, Alexander Pack <alexander.h.pack@gmail.com>
 Subject: Re: FW: Checking in

 Fantastic news Dan! Keep us updated.

 On Thu, Sep 24, 2020 at 5:45 PM Dan Schatt <dan@mycred.io> wrote:
  FYI – looks like we’re still moving things forward with Ripple! The relationship has now moved to Breanne and Boris…will keep
  you posted! A few other quick updates:
        1. Speaking with OK Coin CEO tomorrow (Hong). Appears to be the final step in the decision making process…
                    Case 3:23-cv-00243-AMO
                            Case 20-12836-JTD Document    Doc 1063-26 32-12Filed
                                                                               Filed
                                                                                   12/05/22
                                                                                     03/03/23 Page
                                                                                               Page3 175
                                                                                                     of 3 of 273
        2. Carlos (Securitize) plans to come back tomorrow
        3. Algo + Roger Ver + Genesis credit lines all in the works
        4. Planning to roll out in all 50 states (17 additional states) next month!
        5. Rolling out DeFi+CeFi strategy next month! (hint – combines the best of both)


Talk soon!
Dan

From: Josh Klein <jklein@ripple.com>
Date: Thursday, September 24, 2020 at 5:05 PM
To: Dan Schatt <dan@mycred.io>
Subject: Re: Checking in

Thanks for following up I think the meeting went well and there was good feedback all around.

Can we talk about terms on a pilot early next week? Does either 11:30 or 1:30 on Tuesday work for you? Breanne and Borris will
be running point on our end but I'll join the conversation for continuity-sake.

Best,
Josh



On Thu, Sep 24, 2020 at 2:47 PM Dan Schatt <dan@mycred.io> wrote:
 Hi Josh - just checking in to get your thoughts on how the meeting went and next steps.

 Thanks,
 Dan

 Sent from my iPhone


--
Josh Klein
Corporate Development
jklein@ripple.com | ripple.com
Error! Filename not specified.



--
Haseeb Qureshi
Managing Partner, Dragonfly Capital
dcp.capital
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-27
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 176
                                                             of 2 of 273




                             EXHIBIT AA
To:         Alexander Pack[alexander.h.pack@gmail.com]
From:                 Case 3:23-cv-00243-AMO
                             Case 20-12836-JTD Document
            Dan Schatt[dan@mycred.io]               Doc 1063-27
                                                            32-12Filed
                                                                   Filed
                                                                       12/05/22
                                                                         03/03/23 Page
                                                                                   Page2 177
                                                                                         of 2 of 273
Sent:       Fri 10/9/2020 1:12:20 PM (UTC-04:00)
Subject:    Cred Investors

 Hi Alex,

 Here’s the current list of signed/wired investors. We’re still working on the additional strategics – e.g. OKCoin, Ripple, Visa,
 others…

 Dragonfly: $1.5M
 Borderless VC: $300,000
 Spice VC: $250,000
 Fenbushi: $250,000
 Total: $2.3M

 [Alex Pack + LPs: $350,000]

 Total w/Alex + LPs: $2.65M
Case Case
     3:23-cv-00243-AMO
           20-12836-JTD Document
                        Doc 1063-28
                                 32-12Filed
                                         Filed
                                            12/05/22
                                               03/03/23Page
                                                        Page1 of
                                                              17836of 273




                              EXHIBIT BB
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1063-28
                                          32-12Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                 Page2 of
                                                                       17936of 273

      danny 2020-11-09 20:27
      has joined #cred-2

      abhishek 2020-11-09 20:27
      has joined #cred-2

      alex 2020-11-09 20:27
      has joined #cred-2

      dhiraj 2020-11-09 20:27
      has joined #cred-2

      heidi 2020-11-09 20:27
      has joined #cred-2

      joseph.lally 2020-11-09 20:27
      has joined #cred-2

      joseph.liyana 2020-11-09 20:27
      has joined #cred-2

      maitri 2020-11-09 20:27
      has joined #cred-2

      marie 2020-11-09 20:27
      has joined #cred-2

      sudha 2020-11-09 20:27
      has joined #cred-2

      dan.hummer 2020-11-09 20:27
      has joined #cred-2

      danny 2020-11-09 20:28
      https://mycred.atlassian.net/jira/software/projects/WLW/boards/25

      danny 2020-11-09 20:28
      https://mycred.atlassian.net/wiki/spaces/WLW/overview



dhiraj 2020-11-09 23:05
Can we call Account Owner 'Asset owner' instead? I think it makes more sense. The word account
vs Wallet has long been a cause of a lot of confusion

      dhiraj 2020-11-09 23:05
      Thoughts?
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1063-28
                                          32-12Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                 Page3 of
                                                                       18036of 273


dhiraj 2020-11-09 23:06
Assets could be crypto, fiat, loan accounts, stock (Demat accounts), credit cards, fixed deposits,
etfs or other bank offerings....



alex 2020-11-09 23:23
For WLW SDK do we want a JavaScript SDK as a library to: 1) only connect a bank's client to our
APIs and let bank's developers write their own UI, or 2) connect a bank's client to our APIs and
inject our UI components? I'm thinking this would only relate to the case of Persona 2. Thoughts?



marie 2020-11-10 00:02
@alex ? when you have a moment, would you please point me to the admin screens? i'm just
getting started with wrapping my head around nicole's files. i reached out to her today and she said
she "the developers designed the admin tool." since @danny referenced repurposing visual and ux
assets for future designs, it would be optimal to have access to these files in .svg or .eps format if
possible. please lmk.



joseph.lally 2020-11-10 00:03
@marie It was the Polish 10-clouds team that built the new admin portal. I can check to see if they
had designs for it in file format...otherwise I think the frontend developer may have just been doing
it free form.



alex 2020-11-10 00:05
@marie, I wouldn't know about those assets and the project but I would assume you can find those
in Invision. Do you have access?

      danny 2020-11-10 00:06
      we want a basic SDK and have the bank build 100% of the UI



marie 2020-11-10 00:09
@alex i'm just going through them now but nothing i see particularly related to admin tool.
@joseph.lally let's try to source anything we can get our hands on from 10 C. thanks

      joseph.lally 2020-11-10 00:10
      sounds good. Will get answer for you tomorrow when the Polish folks start their day
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1063-28
                                          32-12Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                 Page4 of
                                                                       18136of 273


alex 2020-11-10 00:13
We can create and publish npm for SDK client-to-Cred communications only. However, we can,
also inject our UI components to make it as a complete (all inclusive) product to be more attractive
to banks.

      alex 2020-11-10 00:15
      We can, also, provide a tag as a lib to inject our components + service without NPM



alex 2020-11-10 00:17
something I've done in the past for a client. This would use iframes and secure
`*`window.postMessage()`* mechanism



abhishek 2020-11-10 00:21
But I think a bank would want to build their own UI and apply their own themes (CSS) and stuff.
Just my 2cents here.

      alex 2020-11-10 00:22
      we can support themes

      alex 2020-11-10 00:23
      the question is more on how to sell our product. what's more attractive to them?

      alex 2020-11-10 00:24
      any links in Jira?

      danny 2020-11-10 00:25
      There is no Ui design for the admin. You have to get access to the tool

      marie 2020-11-10 00:31
      k, can someone provide me access?

      marie 2020-11-10 00:31
      @joseph.lally thanks ? please keep me posted



danny 2020-11-10 01:31
tomorrow morning we will collaborate on expanding the use case list using this diagram:
https://app.lucidchart.com/lucidchart/22df1276-7f8c-45ac-b50f-ee66f539c08d/edit?page=0_0#?
folder_id=home&browser=icon you should all have access to the WLW folder in lucid chart and to
this diagram. feel free to add to it before the meeting tomorrow
          Case Case
                3:23-cv-00243-AMO
                      20-12836-JTD Document
                                        Doc 1063-28
                                                 32-12Filed
                                                         Filed
                                                            12/05/22
                                                               03/03/23Page
                                                                        Page5 of
                                                                              18236of 273
      alex 2020-11-10 02:55
      I don't have access to this chart

      alex 2020-11-10 02:57
      Danny, previously you shared a blank doc with me

      joseph.lally 2020-11-10 15:59
      @marie for DEV, the admin url is https://platform-admin-vue-dev.mycred.io/login



joseph.lally 2020-11-10 16:00
the credentials are shared in Lastpass. If you'd prefer to have them shared with you over Slack,
just let me know.

      marie 2020-11-10 16:42
      LastPass is perfect. Thank you @joseph.lally

      marie 2020-11-10 16:43
      I don't seem to have access either



marie 2020-11-10 16:49
@dhiraj also was there a regular UX/Design stand-up before? If so, please let's continue using this
time for collaboration.



heidi 2020-11-10 16:57
for mvp, we should deliver SDK and have bank partners own 100% of the UI. that's most scalable.
for the purpose of a demo, we should build a prototype to showcase the functionalities.



dhiraj 2020-11-10 16:58
I will set up a new one @heidi and you please let me know what a good time of day would be?

      dhiraj 2020-11-10 16:58
      Thank you Danny. Everyone please look at the page ?Use case?

      heidi 2020-11-10 16:59
      @marie i am happy to walk you through the admin tool if you would like.

      dhiraj 2020-11-10 16:59
      The actual thing he shared was different by accident I believe

      heidi 2020-11-10 17:02
      i am open at noon today
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1063-28
                                          32-12Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                 Page6 of
                                                                       18336of 273
      joseph.lally 2020-11-10 17:04
      this is what I see for WLW folder

      dhiraj 2020-11-10 17:05
      Don't see that, just open the "Use case" on Confluence

      dhiraj 2020-11-10 17:05
      @joseph.lally

      joseph.lally 2020-11-10 17:06
      I'm in, thanks.



alex 2020-11-10 17:09
I can see the chart in Confluence but when clicking on the link bellow under Wireframe I get the
following page

      marie 2020-11-10 17:13
      my calendar should be up-to-date and noon works fine for me too :slightly_smiling_face:

      danny 2020-11-10 17:25
      @alex make sure you are loged into lucidchart with your mycred emails

      alex 2020-11-10 17:28
      I'm logged in with my cred email. I don't see the doc there

      danny 2020-11-10 17:47
      do you see a shared folder WLW?

      joseph.lally 2020-11-10 17:48
      Hi team, I will be off for a few hours starting early this afternoon while driving :car:

      danny 2020-11-10 17:50
      https://app.lucidchart.com/invitations/accept/ba05159c-002c-4146-9c56-55576c7315cd

      alex 2020-11-10 17:50
      I'm in Lucid. Under 'Shared with Me' there's a WLW folder. When I open it is empty.

      alex 2020-11-10 17:50
      ok. this link works now.

      danny 2020-11-10 17:52
      my bad, i did not put the document in the folder i shared.

      danny 2020-11-10 17:52
      i moved it there now
          Case Case
               3:23-cv-00243-AMO
                     20-12836-JTD Document
                                  Doc 1063-28
                                           32-12Filed
                                                   Filed
                                                      12/05/22
                                                         03/03/23Page
                                                                  Page7 of
                                                                        18436of 273


danny 2020-11-10 17:53
for the 10 am meeting , please have the use case doc open on lucid chart. i want to try to
collaborate on the document

       danny 2020-11-10 17:54
       you should see a shared folder WLW in lucid charts. the doc is in there now



danny 2020-11-10 17:56
https://app.lucidchart.com/lucidchart/22df1276-7f8c-45ac-b50f-ee66f539c08d/edit?page=0_0#?
folder_id=home&browser=icon

       dan.hummer 2020-11-10 18:04
       Pulled into another call, will join right after

       heidi 2020-11-10 21:37
       i can only join for half an hour from 3-30 this afternoon for the prototyping session.

       dhiraj 2020-11-10 23:21
       Happy roadtrip, Joe!

       dhiraj 2020-11-10 23:21
       Can we wrap up today at 4 then and proceed further tomorrow? @danny

       heidi 2020-11-10 23:22
       sorry i thought meeting was 3-4. so i actually can't make this at all today!



dhiraj 2020-11-10 23:26
Can we just do tomorrow then ? I am available, but @marie would also need a bit more time to
bring us some wireframes, the product team had a good discussion earlier this afternoon. Unless
you wanted to discuss something else, I will move the discussion forward

       dhiraj 2020-11-10 23:29
       Moved, see you tomorrow.

       danny 2020-11-10 23:31
       tomorrow is fine



danny 2020-11-10 23:34
i want to get past this initial phase and have individuals start working on parallel initiatives . i would
like everybody to start documenting what they are working on so we can collaborate. as an
           Case Case
                3:23-cv-00243-AMO
                      20-12836-JTD Document
                                       Doc 1063-28
                                                32-12Filed
                                                        Filed
                                                           12/05/22
                                                              03/03/23Page
                                                                       Page8 of
                                                                             18536of 273
example, i am working on the key management problem (not sure if it is a problem or not yet) this
is what i am doing to organize my thoughts:
https://mycred.atlassian.net/wiki/spaces/WLW/pages/162365445/private+keys



danny 2020-11-11 00:08
@joseph.liyana please take the API inventory you created an move the relevant APIs into this
page: https://mycred.atlassian.net/wiki/spaces/WLW/pages/162365499/WLW+API

      danny 2020-11-11 00:08
      include a link to the original document

      danny 2020-11-11 00:09
      @alex i moved the SDK page under "Design and build"

      danny 2020-11-11 00:16
      @alex good progress on the SDK front!



danny 2020-11-11 00:17
FYI, i asked Dan about the brand name, i wanted to know if we will continue to use cred or will it be
something else . the reason i asked as that i want to start creating documentation and some
external facing artifacts (like public npm packages or swagger portal) he said that the name will not
be CRED but we do not have another alternative yet.

      marie 2020-11-11 01:13
      looks like naming/branding exercises are also on the horizon then as well



danny 2020-11-11 19:29
please follow this method for documenting and planning. i will create the top pages and we can
add more tomorrow. we will also review this methodology tomorrow
https://mycred.atlassian.net/wiki/spaces/WLW/overview#defining-requirements-and-scope.

      dhiraj 2020-11-12 21:40
      can someone briefly explain what is the meaning of 'correct and replay transaction?

      dhiraj 2020-11-12 21:40
      under WLW Admin? - I forgoty



joseph.liyana 2020-11-12 23:00
If for some reason recharge failed to credit customers account, replay the block or directly credit
customer?s wallet balance
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1063-28
                                          32-12Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                 Page9 of
                                                                       18636of 273



heidi 2020-11-12 23:55
That?s those correction tools we went through today with Marie - for example xrp missing tag

      dhiraj 2020-11-16 17:17
      Just read this, thought it may be useful (not at the moment of course)

      dhiraj 2020-11-16 17:17
      https://link.medium.com/f9YrZstVsbb



danny 2020-11-19 00:20
just got of the phone with Dan. we now have a much better understanding of what the future of the
company will look like and Dan will give an update in our all hands tomorrow. basically it comes
down to building a product and be a service company or sell the business to somebody that want
to do exactly what CRED did until last month. the direction right now is the second option and that
means a change in direction.

      danny 2020-11-19 00:20
      i will give more details in tomorrows call

      danny 2020-11-20 16:56
      @danny has renamed the channel from "wlw-white-label-wallet" to "cred-2"



danny 2020-11-20 17:03
today we will review the active sprint board and the backlog.
https://mycred.atlassian.net/secure/RapidBoard.jspa?rapidView=1 our mission is:to make the
product ready for a buyer. our objectives: ? to make the UX as smooth as possible. ? remove
CRED specific flows, where possible ? make the program as flexible as possible ? document the
customer and admin flow ? create "blue print" for adding networks ? ...

      danny 2020-11-20 17:04
      we will close the active sprint today. the new sprint will start on Monday

      danny 2020-11-20 17:04


      dan.hummer 2020-11-20 17:54
      add :point_up:? API documentation / Evolution.

      dhiraj 2020-11-20 18:12
      I think we should sunset some older channels to avoid confusion too!
          CaseCase
                3:23-cv-00243-AMO
                     20-12836-JTD Doc
                                  Document
                                      1063-28
                                           32-12
                                               Filed
                                                   Filed
                                                      12/05/22
                                                         03/03/23Page
                                                                   Page
                                                                      10 187
                                                                         of 36
                                                                             of 273
      dan.hummer 2020-11-20 18:14
      for sure.

      dan.hummer 2020-11-20 18:14
      I will work on that.



dan.hummer 2020-11-20 18:15
Going to be ?un-sharing? 10c channels? but trying to figure out how to best keep them active so
we can reference old info.

      dhiraj 2020-11-20 19:25
      Just to clarify, do we have to backup Whimsical or not?



dan.hummer 2020-11-20 19:26
Service is active until Feb 2021 ** Updated. Billed Annually (5 Users) Next bill date is Feb 4, 2021

      dhiraj 2020-11-20 20:59
      Just added a zoom link

      dhiraj 2020-11-20 21:51
      Just saw this on Coinbase



dhiraj 2020-11-20 22:18
, I am going to be moving Admin board tickets into PFRM - please don't do any JIRA work till
3:30pm

      dhiraj 2020-11-20 22:19
      Only active ones will be moved.

      marie 2020-11-20 22:21
      Here's the whitepaper I was referring to in today's meeting



marie 2020-11-20 22:28
it's focus is on how users enter information ? the speed they type info into forms, the ease of
knowledge, cutting pasting habits, and other behavior biometrics.

      dhiraj 2020-11-20 23:13
      Added a JIRA changelog

      dhiraj 2020-11-20 23:13
      https://mycred.atlassian.net/wiki/spaces/PROD/pages/197099521/JIRA+Changelog
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    11 188
                                                                       of 36
                                                                           of 273
      dhiraj 2020-11-20 23:13
      Has a detailed list of changed tickets, and all that have been changed now have [Admin]

      dhiraj 2020-11-20 23:13
      In the title.



sudha 2020-11-23 21:36
update on institutional app as of now. Only the below functionalities work ? create sales customer
? Add funds ? Withdraw funds ? Add program (from admin) ? Programs visible on customer?s
dashboard ? Cancel program from dashboard

      sudha 2020-11-23 21:42
      there are some issues, both UI and functionality issues. i will create tickets for them.

      dhiraj 2020-11-23 22:03
      Thanks Sudha. Let me know if I can help with anything

      danny 2020-11-28 05:17
      I got an sms message from Cred. Is it a prod message?

      danny 2020-11-28 11:26
      @joseph.liyana please confirm that no sweep activities will run tomorrow



joseph.liyana 2020-11-28 19:10
@danny No jobs are running in Prod/Stage (confirmed in DB and logs) I tried checking DEV as
timers are running. There appears to be messages sent out, either.



joseph.liyana 2020-11-28 19:21
Besides the SMS, you would have received 3 emails at `` , but considering that this email was
triggered on 28th and not 1st,15th. Leads me to believe that this is a institutional investor plan, you
can check the ?login? link to verify the partner and environment

      danny 2020-11-28 19:26
      Thanks @joseph.liyana I was hoping that is the case

      danny 2020-11-30 19:33
      @joseph.liyana please put here what will be the 11/7 fixed rate



joseph.liyana 2020-11-30 19:47
```'BAT','1604811698108','USD','0.192700000000000000','CRYPTOCOMPARE'
          CaseCase
               3:23-cv-00243-AMO
                    20-12836-JTD DocDocument
                                       1063-28
                                             32-12
                                                 Filed
                                                     Filed
                                                        12/05/22
                                                           03/03/23Page
                                                                     Page
                                                                        12 189
                                                                           of 36
                                                                               of 273
'BCH','1604811698108','USD','254.680000000000000000','CRYPTOCOMPARE'
'BTC','1604811698108','USD','15007.010000000000000000','CRYPTOCOMPARE'
'BUSD','1604811698108','USD','0.999900000000000000','CRYPTOCOMPARE'
'DAI','1604811698108','USD','1.008000000000000000','CRYPTOCOMPARE'
'ETH','1604811698108','USD','438.690000000000000000','CRYPTOCOMPARE'
'LBA','1604811698108','USD','0.009478000000000000','CRYPTOCOMPARE'
'LTC','1604811698108','USD','59.490000000000000000','CRYPTOCOMPARE'
'OMG','1604811698108','USD','3.127000000000000000','CRYPTOCOMPARE'
'PAX','1604811698108','USD','0.999900000000000000','CRYPTOCOMPARE'
'TRX','1604811698108','USD','0.025150000000000000','CRYPTOCOMPARE'
'TUSD','1604811698108','USD','1.000000000000000000','CRYPTOCOMPARE'
'UPBTC','1604811698108','USD','15007.010000000000000000','CRYPTOCOMPARE'
'UPEUR','1604811698108','USD','1.193000000000000000','CRYPTOCOMPARE'
'UPUSD','1604811698108','USD','0.976000000000000000','CRYPTOCOMPARE'
'USD','1604811698108','USD','1.000000000000000000','CRYPTOCOMPARE'
'USDC','1604811698108','USD','0.999800000000000000','CRYPTOCOMPARE'
'USDT','1604811698108','USD','1.001000000000000000','CRYPTOCOMPARE' 'USDT-
TRC20','1604811698108','USD','1.001000000000000000','CRYPTOCOMPARE'
'XRP','1604811698108','USD','0.251500000000000000','CRYPTOCOMPARE'```



danny 2020-12-01 18:14
https://docs.google.com/presentation/d/155aW-
gD2I7tOxnnrDosUJtQ5TlVQVMngsksZzm8qJ6k/edit#slide=id.gad7d5316d4_7_0

      sudha 2020-12-01 18:14
      i dont have access, can u please add me



danny 2020-12-01 18:15
do not know why the slack google integrations stoped working for me. it does not ask me to grant
access

      dhiraj 2020-12-01 18:15
      Added

      dhiraj 2020-12-01 18:15
      :slightly_smiling_face:

      joseph.lally 2020-12-01 18:16
      thanks @danny @dhiraj
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   13 190
                                                                      of 36
                                                                          of 273


danny 2020-12-01 18:19
https://docs.google.com/presentation/d/155aW-
gD2I7tOxnnrDosUJtQ5TlVQVMngsksZzm8qJ6k/edit#slide=id.gad7d5316d4_7_0

      danny 2020-12-01 18:20
      granted to all in channel

      danny 2020-12-01 18:21
      add actions for me if you want me to change something. let me know if you change content

      dhiraj 2020-12-01 19:02
      https://link.medium.com/TaqHoDzWRbb

      sudha 2020-12-01 21:19
      @dan.hummer or @danny can u please add @alex to Sentry?

      dan.hummer 2020-12-01 21:24
      on it



sudha 2020-12-01 21:25
@heidi @danny just to confirm again, we are enabling all agreements and monthly statements for
non-US users

      sudha 2020-12-01 21:25
      thank you



heidi 2020-12-01 21:26
non-us customers only would see agreements and program summary - so just one out of the 3
tiles, there is no monthly statements nor CLOC letters for them.

      sudha 2020-12-01 21:26
      @joseph.liyana clarified above that no monthly statements, we can ignore them then

      sudha 2020-12-01 21:28
      @heidi so should we remove the other 2 tiles on the FE as well?

      heidi 2020-12-01 21:30
      yes. for non-US, they only see one tile

      sudha 2020-12-01 21:30
      ok thank you, @alex can you please take care of this one?

      alex 2020-12-01 21:54
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   14 191
                                                                      of 36
                                                                          of 273

      what about Payment Accounts?

      sudha 2020-12-01 21:54
      where do u see them?

      alex 2020-12-01 21:55
      no... there's another nested level for `isFiatEnabled`

      alex 2020-12-01 21:55
      is this applicable to the non-US customers?



sudha 2020-12-01 21:56
i think this is the Payment Profile section where we see the added cards for Fiat. @heidi should
this be present for non-US?

      heidi 2020-12-01 21:58
      We don?t have fiat support on the platform today right?

      sudha 2020-12-01 21:58
      nope

      alex 2020-12-01 21:58
      so that flag above would always be `false`?

      sudha 2020-12-01 21:59
      Alex, for now only remove those 2 tiles and leave the rest as is

      alex 2020-12-01 21:59
      that's not the case

      alex 2020-12-01 21:59
      that's why I'm asking this question... there's a nested logic

      alex 2020-12-01 21:59
      need to know business logic

      alex 2020-12-01 22:00
      if `isFiatEnabled` always false than I don't need to do anything

      sudha 2020-12-01 22:00
      yes please leave it to false then

      alex 2020-12-01 22:01
      Sudha, I'll leave this one for you to test

      sudha 2020-12-01 22:01
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    15 192
                                                                       of 36
                                                                           of 273

      sure

      alex 2020-12-01 22:01
      ok thanks



alex 2020-12-01 22:22
fyi, do I have to create a new account? After clicking on the email link I'm at the page with a button
to create a new account or login using an existing account.



alex 2020-12-01 22:23
if I choose the link with the existing account I'm redirected to another page where I select my
google account and than redirected to the page with New Identity...

      dhiraj 2020-12-02 00:03
      @marie @danny You guys joining the 4pm?

      danny 2020-12-02 00:03
      i am on

      marie 2020-12-02 00:04
      i'm on too

      marie 2020-12-02 00:04
      let me retry

      dhiraj 2020-12-02 00:04
      We dont see you

      dhiraj 2020-12-02 00:04
      https://mycred.zoom.us/j/93216739281?pwd=RVhBZU9ha2h6cSt2dkZSQVNWczRJQT09

      danny 2020-12-02 00:39
      for the fund now flow we probably want to implement: https://walletlink.org/#/

      danny 2020-12-02 00:40
      for ETH



sudha 2020-12-02 01:51
@danny @heidi @dhiraj these fixes deployed to prod ? fix for non-US customers ? price freeze for
11/07

      heidi 2020-12-02 01:52
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    16 193
                                                                       of 36
                                                                           of 273

      thanks @sudha. @cristiane :point_up:

      sudha 2020-12-02 01:53
      i also let CS team know

      heidi 2020-12-02 01:53
      @sudha this is platform only right?

      danny 2020-12-02 01:54
      i will do Uphold once i receive the prices

      sudha 2020-12-02 01:54
      yes this is platform only

      cristiane 2020-12-02 18:15
      has joined #cred-2

      cristiane 2020-12-02 18:16
      @danny did we add any messaging on the price freeze?

      sudha 2020-12-02 18:16
      @cristiane yes we did on the banner

      cristiane 2020-12-02 18:17
      are you using the prices we collected?

      cristiane 2020-12-02 18:17
      it was based on Nov 7th 12:00 am EST



heidi 2020-12-02 18:55
@cristiane the platform prices are from our database. we are planning to use the prices in google
sheet for uphold as they have not provided us with their recorded prices yet.

      cristiane 2020-12-02 18:57
      Ok, thanks Heidi

      dhiraj 2020-12-02 20:46
      I will be OOO this Friday, taking time out to see some family.

      sudha 2020-12-03 17:02
      will be out until 11. Have doctors appointmnt



cristiane 2020-12-03 17:38
Guys, just to let you know that tomorrow I?ll be off with very limited internet access (flying). Please
         CaseCase
                3:23-cv-00243-AMO
                     20-12836-JTD DocDocument
                                         1063-2832-12Filed
                                                         Filed
                                                            12/05/22
                                                               03/03/23Page
                                                                         Page
                                                                            17 194
                                                                               of 36
                                                                                   of 273
let me know if you need anything from my side :wink:

      joseph.liyana 2020-12-04 03:23
      Dev is mostly up with new code except for Algo and Trx workers

      danny 2020-12-04 17:59
      i am using stage to demo. please do not touch!

      alex 2020-12-04 18:00
      don't show them the console :slightly_smiling_face:

      sudha 2020-12-04 18:01
      what time is the demo?



marie 2020-12-04 18:53
i'll miss the am call ? small family health issue popped up i need to deal with right now, but wanted
to update that the security guidelines are relatively completed. i'll ask bethany if she want to meet
about it early next week with you @danny

      heidi 2020-12-04 19:04
      do we have meeting today?

      joseph.lally 2020-12-04 19:04
      started now

      joseph.lally 2020-12-04 19:04
      if you're referring to standup

      heidi 2020-12-04 19:05
      yes. :slightly_smiling_face: i got in!



abhishek 2020-12-04 21:23
I am taking sometime off today, see you all on Monday. Have a great weekend! Please ping me if
need anything urgent.



dhiraj 2020-12-07 16:55
not going to be at my desk at 10am due to an airport run. I?m available and working all day :)

      sudha 2020-12-08 00:25
      closing Sprint-42 and starting Sprint-43

      joseph.liyana 2020-12-08 00:47
      created sprint-43 branch
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   18 195
                                                                      of 36
                                                                          of 273

      abhishek 2020-12-09 20:51
      Does anybody know if we have ssh access to our nexus server?

      dan.hummer 2020-12-09 22:48
      I would imagine @lma dose?



heidi 2020-12-10 00:00
@danny @joseph.lally i put this together using apiary 2 years ago for CLOC (a product that never
went live lol). all the code samples are not there on the grey panel anymore because as Danny
mentioned, the service has been disabled.

      heidi 2020-12-10 00:00
      https://developers.mycred.io/

      heidi 2020-12-10 00:15
      actually, now the right panel are showing all the endpoints, request and respone info now.

      danny 2020-12-10 04:21
      i thought i turned it off.

      danny 2020-12-10 04:22
      this is exactly how we should do it. i have access to the account i will look at it tomorrow

      dhiraj 2020-12-10 05:59
      Thanks Heidi

      dhiraj 2020-12-10 17:57
      Danny, should we just be editing this?

      dhiraj 2020-12-10 17:57
      Above link.

      danny 2020-12-10 18:41
      it is controlled from here https://app.apiary.io/credx/editor

      joseph.lally 2020-12-10 18:53
      I may create "New API Project" to experiment



danny 2020-12-10 19:28
i am going to look into creating a new account. i do not have access to the Oracle account used for
billing. @dan.hummer do you have access to it?

      danny 2020-12-10 19:28
      we should also create a new repo
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   19 196
                                                                      of 36
                                                                          of 273
      dan.hummer 2020-12-10 19:29
      checking now.

      danny 2020-12-10 19:31
      @joseph.lally create a new project under the team and link to a repo.

      danny 2020-12-10 19:32
      call it something like CRED-EARN



danny 2020-12-10 19:33
i created a project with that in the past under my personal account so it may not let you use the
same name. i can not find a way to move it into the team account

      danny 2020-12-10 19:36
      @joseph.lally found a way to transfer it to the team

      danny 2020-12-10 19:36
      use that project



joseph.lally 2020-12-10 19:36
@danny new Github project: https://github.com/Credx/cred-platform-api-apiary/tree/main new
Apiary project: https://credearn.docs.apiary.io/# They are synced together

      joseph.lally 2020-12-10 19:36
      arghh

      joseph.lally 2020-12-10 19:36
      already did it

      joseph.lally 2020-12-10 19:36
      lol

      danny 2020-12-10 19:37
      made you admin on the team

      danny 2020-12-10 19:38
      i can not remove Utkarsh because he has the Oracle account

      joseph.lally 2020-12-10 19:40
      Yeah I don't see a way to remove members

      danny 2020-12-10 19:44
      looking into creating a new account linked to my oracle user
         CaseCase
               3:23-cv-00243-AMO
                    20-12836-JTD DocDocument
                                       1063-28
                                             32-12
                                                 Filed
                                                     Filed
                                                        12/05/22
                                                           03/03/23Page
                                                                     Page
                                                                        20 197
                                                                           of 36
                                                                               of 273
      joseph.lally 2020-12-10 19:45
      okay



joseph.lally 2020-12-10 19:48
maybe we could reach out to their customer service and just ask for team member to be removed.

      danny 2020-12-10 19:48
      i am trying to do password reset

      danny 2020-12-10 19:48
      the account is under a mycred email

      danny 2020-12-10 19:49
      use the CRED-EARN project for now

      danny 2020-12-10 19:50
      do you see it? drop down in the upper left corner

      joseph.lally 2020-12-10 19:50
      I do

      joseph.lally 2020-12-10 19:50
      okay I'll get rid of the one I created then

      danny 2020-12-10 19:53
      we want to use apiary for the external facing documentation. it will contain all services

      danny 2020-12-10 19:54
      only what we want partners to see and use

      joseph.lally 2020-12-10 19:54
      Okay yeah I copy and pasted identity-service swagger just to test

      joseph.lally 2020-12-10 19:54
      but will revert back

      danny 2020-12-10 19:54
      we can make this reflect a future state of the API does not have to be all current

      joseph.lally 2020-12-10 19:55
      might be easier to go API by API

      joseph.lally 2020-12-10 19:55
      I'll add in registration now

      joseph.lally 2020-12-10 19:57
      @danny by the way, we want to use swagger format (`swagger.yml`) not `apiary.apib`
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    21 198
                                                                       of 36
                                                                           of 273


joseph.lally 2020-12-10 19:59
Here is the Github it is synced with: https://github.com/Credx/cred-platform-api-apiary We can
change the repo name if you prefer.

      dhiraj 2020-12-10 21:30
      Getting a 404 @joseph.lally I only see the other one.

      dhiraj 2020-12-10 21:30
      https://credearn.docs.apiary.io/#

      joseph.lally 2020-12-10 21:55
      oh sorry I deleted that project and switched to one danny created

      joseph.lally 2020-12-10 21:55
      I'll update message

      joseph.lally 2020-12-10 21:59
      we will use this one: https://credearn.docs.apiary.io/#



joseph.lally 2020-12-10 23:32
@dhiraj @danny @heidi I just setup the first endpoint in Apiary. It is the `/api/v2/users/register` call
to kickoff registration for a user. Let me know what you think is missing, should be changed, etc.
Can be viewed here: https://credearn.docs.apiary.io/#reference



joseph.lally 2020-12-10 23:34
Would it be possible for us to upgrade to the Pro level so we can use branches? I think people
working on documentation at the same time could get a little tricky. Although, we all could just work
out of Github.

      dhiraj 2020-12-11 00:03
      I?ll take a look in an hour Joe. Thanks :)

      danny 2020-12-11 00:41
      can't do anything that costs money right now

      abhishek 2020-12-11 17:19
      QQ - when we create a pull request to the sprint branch, how do we test the changes?

      abhishek 2020-12-11 17:20
      Or we test only after merging the changes to sprint branch and deployed to ?dev? env?

      sudha 2020-12-11 17:22
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   22 199
                                                                      of 36
                                                                          of 273

      Thats correct

      abhishek 2020-12-11 17:22
      thanks.

      sudha 2020-12-11 17:23
      This depends on if the ticket or the developer wants me to test on the feature branch

      abhishek 2020-12-11 17:24
      if dev does want you to test on the feature branch, then which env do you test it on?

      sudha 2020-12-11 17:25
      I test on my local but this scenario is mostly only for FE



abhishek 2020-12-11 17:26
gotcha, thanks for the confirmation. I am trying to clean up and document the workflow how we do
things now.

      marie 2020-12-11 17:58
      I'm on an other call right now and may miss the am standup.

      dhiraj 2020-12-11 17:59
      Will be 5 mins late to standup. Joining at 10:05



joseph.lally 2020-12-11 18:34
@heidi @dhiraj @danny Should we start a slack channel for discussing and collaborating on
documentation, API flows, diagrams, etc. ?

      dhiraj 2020-12-11 18:35
      Just do it in a chat with 4 of us

      heidi 2020-12-11 18:35
      Yes pls

      dhiraj 2020-12-11 18:35
      Ok, channel then :slightly_smiling_face:

      heidi 2020-12-11 18:35
      Jospeh too?

      joseph.lally 2020-12-11 18:35
      yes

      dhiraj 2020-12-11 18:35
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    23 200
                                                                       of 36
                                                                           of 273

      Also, @joseph.lally Can you give me a good time to call you this AM?

      joseph.lally 2020-12-11 18:53
      sure sending you a DM

      sudha 2020-12-11 23:27
      pushing fix for Total portfolio value to prod right now

      sudha 2020-12-11 23:43
      deployment complete. please check ur portfolio values if u have users in prod

      alex 2020-12-11 23:49
      how can I get high values in prod? :slightly_smiling_face:



dan.hummer 2020-12-12 22:25
@heidi @sudha ? I am offboarding the CS Team, can you please offboard them from the Admin
tools. I don?t have access to remove those users. Any other Dev / Prod system I am missing?

      abhishek 2020-12-14 15:47
      What is the CS team?

      dan.hummer 2020-12-14 15:56
      Customer support, Ascalex team in PH



abhishek 2020-12-14 16:03
gotcha, you also would want to off-board 10c, Ray?s team and others from lastpass. I don?t seem
to have admin access to lastpass to take care.



abhishek 2020-12-14 21:06
Seems like we are getting a snowstorm all this week starting tonight, so going out to get some
stuff, will be back in 30-40mins.



heidi 2020-12-15 17:10
@sudha @joseph.liyana @joseph.lally is our dev environment stable? i have been trying to
complete the signup flow on dev since last night but kept failing at different points in the flow.

      sudha 2020-12-15 17:15
      Dev is not stable right now

      heidi 2020-12-15 18:51
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   24 201
                                                                      of 36
                                                                          of 273

      @dhiraj - i have a conflict at 1 pm PST now can we move this to noon or 2? thanks

      dhiraj 2020-12-15 18:52
      Moving to noon

      heidi 2020-12-15 18:57
      thanks!

      dhiraj 2020-12-15 20:00
      everyone please publish the doc before we meet? It will be easier to have latest updates



dhiraj 2020-12-15 20:00
https://mycred.atlassian.net/wiki/spaces/EN/pages/241401861/Backend+API+Documentation

      marie 2020-12-17 17:03
      I have a doctor?s appointment this am and may be late for our standup.



danny 2020-12-17 19:57
the court session just ended for today. will start again tomorrow morning 9:30 AM EST. no
decisions. but it wax mentioned the there are two "stalking horse bid" in the range of $2MM . for
the platform and the team



danny 2020-12-17 23:59
i like this doc @sudha will be useful as a reference. add comments to the version for what sprint it
is from so we can keep track as it changes!!!
https://mycred.atlassian.net/wiki/spaces/EN/pages/286162960/Platform+Flows

      marie 2020-12-18 18:30
      Passcode: 7817907#



marie 2020-12-18 18:41
been meaning to let you know that when bethany started this summer she had me sign up to take
the CISA certification (Certified Information Security Auditor) as it is a core competency we
desperately need. anyway, i had until may to take the six hour exam. since cred has paid for it in
full, she said i need to take it on an accelerated timeline. so basically i'm studying 24/7 around the
edges of my other security and product design duties. so it'll end being another certification we can
add to our credentials. just so you have visibility into this!

      danny 2020-12-18 20:07
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    25 202
                                                                       of 36
                                                                           of 273

      judge ruled not to convert to chapter 7

      marie 2020-12-18 20:14
      and no need for trustee / court appointed examiner



joseph.lally 2020-12-18 20:17
I thought the judge said that he is asking for an examiner to be used in the case now? But not a
court appointed examiner, it would be examiner from creditors committee I don't fully understand
the legal language though lol :sweat_smile:



marie 2020-12-18 20:21
the creditor committee can conduct an examination of debtor's pre-petition conduct w/out the
appointment of a court appointed examiner to be precise, sorry! but the judge said not to expect
the court to pick up the costs of examination. he seemed to want to wash his hands of this matter
from my perspective.

      joseph.lally 2020-12-18 20:21
      hmm interesting, thanks

      marie 2020-12-18 20:22
      we'll see ... :slightly_smiling_face:

      sudha 2020-12-21 16:57
      I will be late to today?s standup. Have doctor?s appointment.



heidi 2020-12-21 17:12
I cannot join 10 am today. I will be working on api doc today. Will reach out to @joseph.liyana if I
have questions.

      dhiraj 2020-12-21 18:05
      Is everyone joining 10am?

      joseph.lally 2020-12-21 18:05
      we are in

      abhishek 2020-12-21 18:05
      we are already on the call. :slightly_smiling_face:

      marie 2020-12-21 18:05
      https://mycred.zoom.us/j/95206238794?pwd=ZWs0WGRBMVh5QzZEaklwQmNTKzB4Zz09
          CaseCase
                3:23-cv-00243-AMO
                     20-12836-JTD Doc  Document
                                          1063-28
                                                32-12
                                                    Filed
                                                        Filed
                                                           12/05/22
                                                              03/03/23Page
                                                                        Page
                                                                           26 203
                                                                              of 36
                                                                                  of 273
      alex 2020-12-21 21:22
      fyi, stepping out for 20 minutes

      sudha 2020-12-22 06:22
      I will be out tomoro. I will be travelling. Please ping me if you need anything! Thank you



joseph.lally 2020-12-22 14:25
I will be offline today but will check slack messages later in the afternoon. Feel free to message me
and and I will respond later today

      joseph.liyana 2020-12-22 16:25
      Same

      marie 2020-12-22 17:23
      I have to p/u a grocery order between 10 and 11 am so will miss our am standup too

      dhiraj 2020-12-22 18:01
      Do we need a standup at 10 then? Would it be better to cancel/move?



danny 2020-12-22 20:39
@joseph.liyana @joseph.lally please provide and API flow with examples for MFA switch from
EMAIL -> SMS,AUTH ; AUTH-> EMAIL,SMS ; SMS-> EMAIL,AUTH . from what i can see the flow
going to AUTH is different from flow going to SMS and EMAIL. am i correct? please include the full
flow in V2.



joseph.liyana 2020-12-23 12:10
https://app.lucidchart.com/lucidchart/invitations/accept/e00c281b-0c49-4327-97ae-3ef4f3751fd8



alex 2020-12-23 17:09
Joseph, thanks for supplying this. Its helpful. Does the UPDATETYPE square represent `/users/${
req.body.uuid }/twoFactorAuth/updateType`?

      alex 2020-12-23 17:10
      If so, locally that endpoint is not used by UI



joseph.lally 2020-12-23 17:23
This link can be used for viewing the consolidated swagger documentation in the DEV
environment: https://earn-swagger-dev.mycred.io/api-docs/
         CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    27 204
                                                                       of 36
                                                                           of 273
      abhishek 2020-12-23 17:24
      What was the issue?



joseph.lally 2020-12-23 17:26
The consolidated doc pulls the swagger documentation from each Java service via `https://earn-
api-dev.mycred.io/swagger/<serviceName>/docs` But when sprint-40 java backend was deployed
to DEV on Monday, those endpoints don't exist in sprint-40. Only sprint-43 and beyond

      abhishek 2020-12-23 17:27
      ah okay, makes sense. Thanks for explaining.

      joseph.liyana 2020-12-23 17:31
      yes



danny 2020-12-23 17:41
great job @joseph.lally . please add more response examples . need some negative responses
and cover all possible response values.



danny 2020-12-23 17:44
it is used when you change to EMAIL or SMS. @joseph.liyana? @alex what do you mean by
locally?

      alex 2020-12-23 17:46
      local dev. Is this correct @joseph.liyana?

      alex 2020-12-23 17:47
      EMAIL to SMS or SMS to EMAIL?

      danny 2020-12-23 17:48
      or AUTH to EMAI,SMS

      alex 2020-12-23 17:48
      no Danny. That doesn't trigger that call



joseph.liyana 2020-12-23 17:49
Follow the swim lanes in the FlowChart If you want to go to Email => updateType If you want to go
to Sms => updateType If you want to go to Auth => bind, bindQr

      joseph.liyana 2020-12-23 17:49
      regardless of the current MFA method
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    28 205
                                                                       of 36
                                                                           of 273


alex 2020-12-23 17:49
I can only see a possibility EMAIL <=> SMS. My users are not SMS enabled and that endpoint is
never triggered

      joseph.liyana 2020-12-23 17:50
      it was removed on front end for Onboarding 1.5

      alex 2020-12-23 17:50
      but not Auth to EMAIL/SMS or SMS/EMAIL to Auth

      alex 2020-12-23 17:52
      So, what's now? Should this be enabled?

      joseph.liyana 2020-12-23 17:57
      yes



danny 2020-12-24 16:30
FYI, i am on a buyer call right now and he requested access to the code base. i am going to give
him read access to the new BE and FE repos.

      dhiraj 2020-12-25 20:03
      @joseph.liyana I heard news about some explosion in Nashville. Hope everyone?s doing ok

      alex 2020-12-28 22:09
      fyi, I'll be on the road on 1/04 but will be checking Slack for anything urgent.



marie 2021-01-04 19:02
> a link to Cred's latest and greatest style guidelines : https://projects.invisionapp.com/dsm/cred-
product/cred-product

      alex 2021-01-04 19:03
      I get this page "The link you clicked may be broken or the page may have been removed."

      alex 2021-01-04 19:04
      @marie, do you have the admin rights to Invision?

      marie 2021-01-04 19:05
      yep, what do you need?

      alex 2021-01-04 19:05
      Can you check if there are any issue for my account?

      marie 2021-01-04 19:05
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   29 206
                                                                      of 36
                                                                          of 273

      ok, hold on a sec

      alex 2021-01-04 19:06
      I remember I couldn't get to some pages there and Jonathan couldn't figure out why

      marie 2021-01-04 19:12
      I sent you an invite. FYI, every user is an admin since we don't have the enterprise version.

      alex 2021-01-04 19:17
      thank you. I'm now able to see the page.



alex 2021-01-04 19:21
, got an email link to Sentry. Who's handling this? I have a question. When joining, I'm selecting
our corp Google account but I'm getting to the page with "New Identity" and a button with "New
Organization".

      abhishek 2021-01-04 19:23
      huh

      alex 2021-01-04 19:23
      Hi Abhishek

      alex 2021-01-04 19:24
      I select to sign in with Google

      abhishek 2021-01-04 19:24
      I just sent you a new invite, can you please try with that?

      alex 2021-01-04 19:25
      yeah... login with existing account?

      alex 2021-01-04 19:25
      the same story

      abhishek 2021-01-04 19:25
      ?cred-dj? try entering this as the organization

      alex 2021-01-04 19:26
      I need a password

      abhishek 2021-01-04 19:26
      Try creating one if possible

      alex 2021-01-04 19:27
      I'm in. thanks
          CaseCase
              3:23-cv-00243-AMO
                   20-12836-JTD Doc
                                Document
                                    1063-28
                                         32-12
                                             Filed
                                                 Filed
                                                    12/05/22
                                                       03/03/23Page
                                                                 Page
                                                                    30 207
                                                                       of 36
                                                                           of 273
      abhishek 2021-01-04 19:27
      :thumbsup::skin-tone-3:

      dhiraj 2021-01-04 19:49
      i'm facing the same issue



dhiraj 2021-01-05 00:12
as discussed at the Sprint plan meeting this afternoon, I have moved tickets
https://mycred.atlassian.net/browse/PFRM-1743 and https://mycred.atlassian.net/browse/PFRM-
1757 to DONE and moved all 'not done' subtasks (In dev, QA etc) into new tickets (1798 and
1799) for S44

      dhiraj 2021-01-05 00:12
      For any questions, contact myself or Sudha



heidi 2021-01-05 22:09
@joseph.liyana @sudha do you know how a user can run into this error when they try to access
their account? this is from a uphold user from Vietnam.



heidi 2021-01-05 22:09
when user tries to log into their CredEarn uphold account, they get this: https://partner-
earn.mycred.io/profile/auth?
error=invalid_request&error_description=The%20user%20is%20geoblocked

      joseph.liyana 2021-01-05 22:12
      Don?t know about Uphold region blocking checks

      sudha 2021-01-05 22:46
      not sure about uphold

      danny 2021-01-06 01:40
      i am checking

      danny 2021-01-06 01:41
      i was able to log in to cred uphold in prod

      danny 2021-01-06 01:42
      the error in the URL above is returned from Uphold

      danny 2021-01-06 01:45
      @heidi can you check with the user if they are able to log into Uphold?
         CaseCase
               3:23-cv-00243-AMO
                    20-12836-JTD DocDocument
                                       1063-28
                                             32-12
                                                 Filed
                                                     Filed
                                                        12/05/22
                                                           03/03/23Page
                                                                     Page
                                                                        31 208
                                                                           of 36
                                                                               of 273
      danny 2021-01-06 01:45
      the actual Uphold application



danny 2021-01-06 19:08
if you submit a withdrawal in dev or stage the FB approval will come to me. i just approved one.
ping me if you do not see the approval

      joseph.lally 2021-01-06 19:08
      that was me, thanks



joseph.lally 2021-01-06 19:13
@danny I don't see withdrawal coming through to address, @sudha is checking eth-worker logs

      heidi 2021-01-06 19:13
      I see that it was initiated in fireblocks.

      danny 2021-01-06 19:14
      first thing to do is to check in a ETH explorer the transaction and then what block it was on

      joseph.lally 2021-01-06 19:14
      I did, nothing in ETH explorer I meant

      danny 2021-01-06 19:14
      then check the worker or the DB to see what block we are on

      heidi 2021-01-06 19:14
      It is in fireblocks. Not approved

      danny 2021-01-06 19:14
      take the hash from FB

      joseph.lally 2021-01-06 19:15
      it was .01 ETH to `0xA3c2359364bAdE2F7886b76E06E460194C78384A`

      sudha 2021-01-06 19:15
      is this the one?

      danny 2021-01-06 19:15
      i got a whitelist approval not transfer

      danny 2021-01-06 19:15
      @heidi did you get a transfer approval?

      heidi 2021-01-06 19:15
      Only Matt can approve
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   32 209
                                                                      of 36
                                                                          of 273
      joseph.lally 2021-01-06 19:15
      for DEV?

      heidi 2021-01-06 19:16
      It?s all production on fireblocks

      danny 2021-01-06 19:16
      there are two orgs

      danny 2021-01-06 19:16
      i am checking

      heidi 2021-01-06 19:17
      All workspaces in fb has been updated with Matt being the sole approver

      sudha 2021-01-06 19:17
      ohhh, he was the one who cancelled my test withdrawal in FB sometime ago

      danny 2021-01-06 19:18
      he asked me about this and i explained

      danny 2021-01-06 19:18
      why would they change the test workspace

      danny 2021-01-06 19:18
      i am looking into this

      sudha 2021-01-06 19:18
      thank you

      danny 2021-01-06 19:23
      i sent an email to Matt, it may take some time to fix



joseph.lally 2021-01-06 19:26
ok thanks, from FE perspective I'll consider withdraw unblocked then since it got all the way to
fireblocks

      sudha 2021-01-07 00:30
      @heidi @dhiraj add, withdraw, start programs -> these are enabled on dev now

      dhiraj 2021-01-07 00:33
      Thanks Sudha



joseph.lally 2021-01-07 17:05
@danny @heidi @dhiraj @sudha After completing E-Sign agreement (i.e. the `ACCEPT_TOS`
           CaseCase
                3:23-cv-00243-AMO
                      20-12836-JTD Doc Document
                                           1063-2832-12
                                                      Filed
                                                          Filed
                                                             12/05/22
                                                                03/03/23PagePage
                                                                              33 210
                                                                                 of 36of 273
event), the user enters the `KYC_REVIEW` state. I understand in the past, the user would've gone
through a flow to be KYC Verified. Since we don't have that currently, we use an admin api
(https://earn-swagger-dev.mycred.io/api-docs/#/Admin%20User/markKycSuccessUsingPOST) to
advance the user into the next state (`ADDRESS_FORM_SUBMIT`). I realize in the future there
will be KYC steps the user goes through, but currently there isn't, so to "unblock" the registration
flow, how do we want to handle the requirement to make an admin call (I use Postman) to advance
the user to the next state? Should we just display a screen that says "You are currently in KYC
REVIEW" and internally we will know to go into Postman?

      joseph.lally 2021-01-07 17:06
      Basically, I am wondering what is expected for the registration flow to be "unblocked".



danny 2021-01-07 17:14
we have the manual review state that we use for direct sales. we can then approve them from
admin tool

      danny 2021-01-07 17:15
      model it after the user creation for direct/inside sale process



heidi 2021-01-07 17:19
this is a little diff than direct sales - as direct sales customer is created on admin manually and
along with any kyc flag to be set. but retail client goes through the account creation systematically
via the app... and then gets stuck in kyc (because we are bypassing the jumio flow). i would agree
that for now, let's just expect to handle this manually as proposed - display "you are in review"
screen and internally we mark this as successful.

      abhishek 2021-01-07 18:36
      QuickSight invitation sent to - Joe, Joseph and Sudha (must have received an email for it).



abhishek 2021-01-08 19:46
cred-earn-ui (new frontend repo) is now setup to use github actions instead of jenkins (sprint-44).
Did this cause we want to be consistent for new repos both for BE and FE.



sudha 2021-01-08 20:20
@heidi @dhiraj registration process is working on dev now. There are some minor bugs, but the
happy path should work

      heidi 2021-01-08 20:21
      @sudha i am still not getting the "confirmation code" entry page
         CaseCase
             3:23-cv-00243-AMO
                  20-12836-JTD Doc
                               Document
                                   1063-28
                                        32-12
                                            Filed
                                                Filed
                                                   12/05/22
                                                      03/03/23Page
                                                                Page
                                                                   34 211
                                                                      of 36
                                                                          of 273

      sudha 2021-01-08 20:21
      can u clear ur cache and retry

      heidi 2021-01-08 20:24
      yes that worked!

      heidi 2021-01-08 20:24
      thanks1

      heidi 2021-01-08 20:26
      does login work?

      sudha 2021-01-08 20:26
      yeah



abhishek 2021-01-08 21:34
@sudha and @joseph.liyana Please confirm if I should move forward setting up deploying to stg?

      joseph.liyana 2021-01-08 21:37
      Seems like Action failed

      joseph.liyana 2021-01-08 21:37
      with code I just deployed

      joseph.liyana 2021-01-08 21:37
      rerunning

      danny 2021-01-11 17:50
      Will ping you guys when I am available

      dhiraj 2021-01-11 18:03
      Works

      danny 2021-01-11 18:40
      i am back. ping me if you need me. i will be working on the security stuff.



abhishek 2021-01-11 19:50
BE and FE new repos are setup to deploy to stg when any change is merged/commited to master
branch.



abhishek 2021-01-11 23:31
Tomorrow will work on setting up the switch between old and new repo to have it simplified and
         CaseCase
               3:23-cv-00243-AMO
                    20-12836-JTD Doc
                                 Document
                                     1063-28
                                          32-12
                                              Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                  Page
                                                                     35 212
                                                                        of 36
                                                                            of 273
work with minimal work.



heidi 2021-01-12 18:17
please take a look - Identity and Wallet services are mostly done:
https://mycred.atlassian.net/wiki/spaces/PROD/pages/343212033/CredEarn+Product+Overview



abhishek 2021-01-12 19:36
@danny @joseph.lally Dev EKS cluster has been setup with the notifications if any of the new
node fails to initiate/terminate, going to enable the same in prod now. Notifications will show up in
the slack channel #aws-notifications

      danny 2021-01-13 16:59
      not feeling well. Skipping the morning meetings. I will be in touch if I feel better later.

      marie 2021-01-13 16:59
      Take care @danny and feel better soon!

      sudha 2021-01-13 17:57
      take care @danny

      dhiraj 2021-01-13 18:05
      Lets do a check-in

       2021-01-13 18:05
      dhiraj has started a meeting

      dhiraj 2021-01-13 18:05
      Please join



marie 2021-01-13 19:57
I'm off to Stanford for the rest of the day ? feel free to call me in the car if you need me or want to
chat!

      abhishek 2021-01-13 21:16
      Did somebody change anything with our docker plan?

      dan.hummer 2021-01-13 21:18
      I didn't, but lets review @abhishek



heidi 2021-01-14 17:51
i cannot join standup today. need to do some more recon with Scott. no blocker on my side. ping
          CaseCase
               3:23-cv-00243-AMO
                    20-12836-JTD Doc
                                 Document
                                     1063-28
                                          32-12
                                              Filed
                                                  Filed
                                                     12/05/22
                                                        03/03/23Page
                                                                  Page
                                                                     36 213
                                                                        of 36
                                                                            of 273
me if you need anything from me.

     heidi 2021-01-15 20:28
     Did anyone get their paycheck today?

     sudha 2021-01-15 20:28
     nope

     dhiraj 2021-01-15 21:52
     I did.

     danny 2021-01-15 21:57
     i also did + expenses

     marie 2021-01-15 22:00
     same, pay plus COBRA payment for Jan.

     heidi 2021-01-15 22:02
     yes i see the wire transfer now.

     dhiraj 2021-01-15 22:13
     Are we going to receive termination letters or something?
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-29
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 214
                                                             of 1 of 273




                             EXHIBIT CC

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-30
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 215
                                                             of 5 of 273




                             EXHIBIT DD
To:        Dan Schatt[dan@mycred.io]; Chris Wu[chris.wu@teneo.com]; Matt Shapiro[matt@multicoin.capital]
Cc:                  Case 3:23-cv-00243-AMO
                            Case 20-12836-JTD Document  Doc 1063-30
           Zachary Messenger[zachary.messenger@teneo.com];       32-12Filed
                                                                Fernando Filed
                                                                             12/05/22
                                                                                03/03/23 Page
                                                                                           Page2 216
                                                                                                 of 5 of 273
                                                                         Soto[fernando.soto@teneo.com]
From:      Pierre-Alain Rikkers[pierre-alain.rikkers@teneo.com]
Sent:      Fri 11/27/2020 3:18:28 PM (UTC-05:00)
Subject:   RE: Intro: Banxa - Cred Process

 Understood. 10:30am ET won’t work but let me ask for more times.

 Pierre-Alain




 Pierre-Alain Rikkers
 Senior Managing Director


 Teneo
 280 Park Avenue, 4th Floor
 New York, NY 10017
 O: +1 (212) 220-8801
 M: +1 (917) 742-1399
 E: pierre-alain.rikkers@teneo.com




 teneo.com

 From: Dan Schatt <dan@mycred.io>
 Sent: Friday, November 27, 2020 3:17 PM
 To: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>; Chris Wu <chris.wu@teneo.com>; Matt Shapiro
 <matt@multicoin.capital>
 Cc: Zachary Messenger <zachary.messenger@teneo.com>; Fernando Soto <fernando.soto@teneo.com>
 Subject: Re: Intro: Banxa - Cred Process


 I’d love to avoid a 6am call if possible, Would Monday 10:30am ET work for everyone?

 From: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>
 Date: Friday, November 27, 2020 at 12:15 PM
 To: Dan Schatt <dan@mycred.io>, Chris Wu <chris.wu@teneo.com>, Matt Shapiro <matt@multicoin.capital>
 Cc: Zachary Messenger <zachary.messenger@teneo.com>, Fernando Soto <fernando.soto@teneo.com>
 Subject: FW: Intro: Banxa - Cred Process

 Dan, Chris, Matt – would 9am ET work for you on Monday? Dan, please let us know if it’s too early, but both Chris and I
 are conflicted at 10am ET. We can also suggest other times, but please note that Dom is out of Amsterdam.

 Thanks,

 Pierre-Alain




 Pierre-Alain Rikkers
 Senior Managing Director

 Teneo
 280 Park Avenue, 4th Floor
 New York, NY 10017
 O: +1 (212) 220-8801
M: +1 (917) 742-1399
                    Case 3:23-cv-00243-AMO
                           Case 20-12836-JTD Document
E: pierre-alain.rikkers@teneo.com             Doc 1063-30
                                                      32-12Filed
                                                             Filed
                                                                 12/05/22
                                                                   03/03/23 Page
                                                                             Page3 217
                                                                                   of 5 of 273



teneo.com

From: Domenic Carosa <dom@banxa.com>
Sent: Friday, November 27, 2020 2:43 PM
To: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>; Matt Shapiro <matt@multicoin.capital>
Cc: Chris Wu <chris.wu@teneo.com>; Zachary Messenger <zachary.messenger@teneo.com>; Fernando Soto
<fernando.soto@teneo.com>; Lexie Jowett <pa@dominet.com.au>
Subject: Re: Intro: Banxa - Cred Process


Hi Pierre,
Bcc: thanks Matt for your kind words ☹)

YES please send an NDA and I have cc’ed my PA Lexie who will organise a call for Monday ideally between 9am – 11am EST (I am
assuming you are in NY – I am Amsterdam based).

Ciao dom

From: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>
Date: Friday, 27 November 2020 at 5:14 pm
To: Matt Shapiro <matt@multicoin.capital>, Domenic Carosa <dom@banxa.com>
Cc: Chris Wu <chris.wu@teneo.com>, Zachary Messenger <zachary.messenger@teneo.com>, Fernando Soto
<fernando.soto@teneo.com>
Subject: RE: Intro: Banxa - Cred Process

Absolutely, thanks Matt.

Dom – very nice to meet you by way of email.

As Matt I imagine Matt explained it to you, we were just hired to handle the sale of Cred Inc. (“Cred”), a crypto-lending
platform that recently file for voluntary bankruptcy.

Founded in early 2018, Cred is a global digital asset platform that bridges traditional finance and decentralized finance by
allowing owners of cryptocurrency to lend or rent their digital assets (more than a dozen fiat or crypto currencies) and
earn a return (i.e. interest in the digital asset of their choosing). Cred’s proprietary platform is integrated with exchanges,
wallets, asset managers, FinTech providers, media and sports venues to support earning on digital assets and its API
platform makes it easy for others to customize the user experience. Attached hereto is a teaser outlining the business
and some key highlights.

On November 18, 2020, Cred filed a motion (attached) with the U.S. Bankruptcy Court for the District of Delaware
seeking approval of bidding procedures for the sale of some or all of Cred’s assets pursuant to section 363 of the
Bankruptcy Code (such sale(s), a “363 Sale”), free and clear of all liens and encumbrances. In its motion, Cred proposes
the following timeline:

 Proposal Deadline                        January 6, 2021, at 5:00 p.m. (ET)

 Stalking Horse Bid Deadline              January 6, 2020, at 5:00 p.m. (ET)

 Stalking Horse Designation               January 12, 2020, at 5:00 p.m. (ET)
 Deadline

 Final Bid Deadline                       January 15, 2021, at 5:00 p.m. (ET)
  Auction                                         JanuaryDocument
                               Case 3:23-cv-00243-AMO
                                    Case 20-12836-JTD     18,
                                                          Doc2021, at
                                                              1063-30 a time
                                                                    32-12     to be
                                                                           Filed
                                                                             Filed  determined
                                                                                  12/05/22     (subject
                                                                                    03/03/23 Page
                                                                                               Page   ofto5 extension
                                                                                                    4 218   of 273 by Debtors)
  Objection Deadline                                                      January 27, 2021, at 5:00 p.m. (ET)

  Sale Hearing                                                            February 3, 2021, as determined by, and subject to the availability of, the Court


The bidding procedures motion is scheduled to be heard on December 9, 2020 at 2:00 p.m. (ET).

As further detailed in the motion, the proposed 363 Sale also allows for Cred to designate a “stalking horse” bidder
whose bid would serve as the baseline bid in the auction, which bid other bidders would have to exceed. In exchange for
serving as the stalking horse bidder, such bidder may be entitled to receive break-up fees and transaction expense
reimbursement to be negotiated in conformity with generally accepted bankruptcy standards.

Please let us know if you are interested in learning more about this opportunity and we will send you an NDA to put in
place before we can share more information and facilitate an introduction to the Cred team. We are also at your disposal
if you want to have a brief introductory call before putting an NDA in place.

We look forward to hearing back from you.

Thanks,

Pierre-Alain


Pierre-Alain Rikkers
Senior Managing Director

Teneo
280 Park Avenue, 4th Floor
New York, NY 10017
O: +1 (212) 220-8801
M: +1 (917) 742-1399
E: pierre-alain.rikkers@teneo.com




teneo.com

From: Matt Shapiro <matt@multicoin.capital>
Sent: Friday, November 27, 2020 10:45 AM
To: Domenic Carosa <dom@banxa.com>; Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>; Fernando Soto
<fernando.soto@teneo.com>
Subject: Intro: Banxa - Cred Process


Pierre,

I'd like to introduce you to Dom Carosa, the CEO of Banxa. Banxa is one of the top (if not the best) fiat on-ramps in crypto. I
mentioned the Cred situation to him and he was interested in learning more. Can you shoot him some materials and we can
arrange a call sometime next week?

Best,
Matt

Matt Shapiro
Partner
Multicoin Capital



This e-mail may contain confidential and/or privileged information. If you are not the intended recipient (or have received this e-mail in error) please notify the sender immediately and destroy this e-mail. Any unauthorized
copying, disclosure or distribution of the material in this e-mail is strictly forbidden.
                                 Case 3:23-cv-00243-AMO
                                      Case 20-12836-JTD Document
                                                         Doc 1063-30
                                                                 32-12Filed
                                                                        Filed
                                                                            12/05/22
                                                                              03/03/23 Page
                                                                                        Page5 219
                                                                                              of 5 of 273
     This communication is confidential and may contain privileged information, or may otherwise be protected from disclosure. Any unauthorized disclosure,
copying, distribution, or use of the information contained herein (including any reliance thereon) is strictly prohibited. If you are not the intended recipient,
please notify the sender that you have received this communication in error and delete and destroy all copies in your possession. Nothing contained in this
disclaimer shall be construed in any way to grant permission to transmit confidential information via this firm ’s e-mail system or as a waiver of confidentiality
or privilege. No responsibility or liability is accepted by Teneo for any loss or damage arising in any way from the use of this communication. No
representation is being made that the information presented is accurate, current or complete, and such information is at all times subject to change without
notice. E-mail messages are not guaranteed to be secure.
     Teneo does not provide tax, accounting or legal advice. This e-mail and any attachments are not intended or written to be used, and cannot be used or
relied upon, by any taxpayer for the purpose of (i) avoiding U.S. tax related penalties or (ii) promoting, marketing or recommending to another party any
transaction or matter addressed herein. Each person should seek advice based on its particular circumstances from independent legal, accounting and tax
advisors regarding the matters discussed in this communication.
     This communication is for informational purposes only. Nothing herein should be construed as an attempt to effect any transaction in, or induce or
attempt to induce the sale of, any security. Any such offer or solicitation may only be made by means of delivery of an offering memorandum and would be
subject to applicable disclosure, documentation, registration and investor qualification requirements. Investment banking services are conducted by Teneo
Capital LLC , including transactions by its subsidiary Teneo Securities LLC, a member of FINRA and SIPC. To view our privacy policy, click here.




     This communication is confidential and may contain privileged information, or may otherwise be protected from disclosure. Any unauthorized disclosure,
copying, distribution, or use of the information contained herein (including any reliance thereon) is strictly prohibited. If you are not the intended recipient,
please notify the sender that you have received this communication in error and delete and destroy all copies in your possession. Nothing contained in this
disclaimer shall be construed in any way to grant permission to transmit confidential information via this firm ’s e-mail system or as a waiver of confidentiality
or privilege. No responsibility or liability is accepted by Teneo for any loss or damage arising in any way from the use of this communication. No
representation is being made that the information presented is accurate, current or complete, and such information is at all times subject to change without
notice. E-mail messages are not guaranteed to be secure.
     Teneo does not provide tax, accounting or legal advice. This e-mail and any attachments are not intended or written to be used, and cannot be used or
relied upon, by any taxpayer for the purpose of (i) avoiding U.S. tax related penalties or (ii) promoting, marketing or recommending to another party any
transaction or matter addressed herein. Each person should seek advice based on its particular circumstances from independent legal, accounting and tax
advisors regarding the matters discussed in this communication.
     This communication is for informational purposes only. Nothing herein should be construed as an attempt to effect any transaction in, or induce or
attempt to induce the sale of, any security. Any such offer or solicitation may only be made by means of delivery of an offering memorandum and would be
subject to applicable disclosure, documentation, registration and investor qualification requirements. Investment banking services are conducted by Teneo
Capital LLC , including transactions by its subsidiary Teneo Securities LLC, a member of FINRA and SIPC. To view our privacy policy, click here.




     This communication is confidential and may contain privileged information, or may otherwise be protected from disclosure. Any unauthorized disclosure,
copying, distribution, or use of the information contained herein (including any reliance thereon) is strictly prohibited. If you are not the intended recipient,
please notify the sender that you have received this communication in error and delete and destroy all copies in your possession. Nothing contained in this
disclaimer shall be construed in any way to grant permission to transmit confidential information via this firm ’s e-mail system or as a waiver of confidentiality
or privilege. No responsibility or liability is accepted by Teneo for any loss or damage arising in any way from the use of this communication. No
representation is being made that the information presented is accurate, current or complete, and such information is at all times subject to change without
notice. E-mail messages are not guaranteed to be secure.
     Teneo does not provide tax, accounting or legal advice. This e-mail and any attachments are not intended or written to be used, and cannot be used or
relied upon, by any taxpayer for the purpose of (i) avoiding U.S. tax related penalties or (ii) promoting, marketing or recommending to another party any
transaction or matter addressed herein. Each person should seek advice based on its particular circumstances from independent legal, accounting and tax
advisors regarding the matters discussed in this communication.
     This communication is for informational purposes only. Nothing herein should be construed as an attempt to effect any transaction in, or induce or
attempt to induce the sale of, any security. Any such offer or solicitation may only be made by means of delivery of an offering memorandum and would be
subject to applicable disclosure, documentation, registration and investor qualification requirements. Investment banking services are conducted by Teneo
Capital LLC , including transactions by its subsidiary Teneo Securities LLC, a member of FINRA and SIPC. To view our privacy policy, click here.
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-31
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 220
                                                             of 2 of 273




                              EXHIBIT EE
               Case 3:23-cv-00243-AMO
                    Case 20-12836-JTD Document
                                       Doc 1063-31
                                               32-12Filed
                                                      Filed
                                                          12/05/22
                                                            03/03/23 Page
                                                                      Page2 221
                                                                            of 2 of 273

                                                                 Cred Inc.
                                                              Business Description
Cred Inc. (“Cred”) is a global digital asset platform that bridges the best of traditional finance and decentralized finance, enabling companies to
offer earning and borrowing programs. Cred was founded in January 2018.
▪     Cred’s proprietary platform allows owners of cryptocurrency to lend or rent their digital assets and earn a return. The platform enables
      customers to pledge more than a dozen fiat or crypto assets and receive interest payments in the digital asset of their choosing.
▪     Cred’s platform integrates with exchanges, wallets, asset managers, financial technology providers, media and sports venues to support
      earning on digital assets and its API platform makes it easy for others to customize the user experience.

                                                                  Key Highlights

 Successful Asset             ▪   Cred has originated over $300M in loans across 30 crypto and fiat assets in less than two years
Gathering Platform            ▪   Customer acquisition is driven by a combination of strategic partnerships and institutional sales

                              ▪   Cred has a globally diverse user base that ranges from small retail investors with as few as $10 held with the
                                  company to high-net-worth investors with over $20M invested:

    Global Customer                      ➢ 190+ countries with customers
         Base                            ➢ 130,000+ registered users
                                         ➢ 51,000+ KYC’d users
                                         ➢ 6,600+ active users

                              ▪   Cred has an extensive distribution partner network including crypto wallet providers, stablecoin providers,
                                  crypto exchanges, the crypto media, among others
       Extensive
                                         ➢ Main partners include: Uphold, TrustToken, Litecoin Foundation, edge, Virtuse Exchange, and
      Partnerships
                                           Huobi Wallet
        Network
                              ▪   Cred has created an elaborate ecosystem of deep integrations with high quality operators in compliance,
                                  distribution, asset management, custody, and servicing

                              ▪   Licenses: Lending licenses in CA, UT and MT; pending applications in NY, TX, OH, MO, WI, MN and KY
Turnkey Regulatory                       − Proprietary legal opinions supporting crypto rental activities in 50 states and beyond
   Framework                  ▪   Compliance: Tax and securities opinions, crypto lending requirement, and MSB memos
                              ▪   Counsel: Paul Hastings, Bryan Cave, and Dentons

Highly Scalable and           ▪   Onboarding/asset collection/ledger core platform working as a turnkey engine for a growing range of digital
Secure Technology                 asset financial services
     Platform                            ➢ Lending and borrowing module, wealth management module; additional modules under development

                              ▪   Cred’s infrastructure easily enables other digital asset use cases including:
                                         ➢ Ongoing trials with leading FinTechs (e.g. Visa) to facilitate crypto usage in retail environment (e.g.
    Highly Adaptable                       acquiring, loyalty and prepaid partnerships) and grow fee-based FIAT services (e.g. card purchases)
     Business Model                      ➢ Crypto/FIAT plug & play opportunities for financial institutions and asset managers (e.g. crypto
                                           “lending as a service”)
                                         ➢ Payment activities to generate fee income

                              ▪   Highly experienced engineering and operations team with extensive blockchain operating system expertise and
    Experienced Team
                                  technical integration capabilities, and broad literacy across relevant FinTech verticals (payments, banking, etc.)

                              ▪   Cred has a Utility Token that was launched in 2018, approximately $6 million used to capitalize Cred
                                         ➢ Out of total supply of 1bn, 900m are unlocked and in circulation; Cred holds 300m (including the
      Utility Token
                                           150m locked tokens to be unlocked in May 2021); remaining 700m constitute the float
                                         ➢ Currently trading on a number of exchanges including Huobi, Bithumb, OKEX, Bittrex Global

                             All inquiries should be directed to any of the individuals at Teneo listed below:
                  Chris Wu                                     Pierre-Alain Rikkers                                 Zachary Messenger
            Senior Managing Director                           Senior Managing Director                                   Vice President
                 (646) 561-3541                                     (917) 742-1399                                       (332) 999-5401
              chris.wu@teneo.com                            pierre-alain.rikkers@teneo.com                        zachary.messenger@teneo.com
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-32
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 222
                                                             of 7 of 273




                              EXHIBIT FF
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-32
                                     32-12Filed
                                            Filed
                                                12/05/22
                                                  03/03/23 Page
                                                            Page2 223
                                                                  of 7 of 273




Organizer:             dom@crowdmedia.com : dom@crowdmedia.com
Subject:               *Call with Dan Schatt @ My Cred and Domenic Carosa P. +61411196979
Location:              11am PST / 8pm CET | Please see zoom details below:
Start Time:            2020-12-03T19:00:00Z
End Time:              2020-12-03T19:30:00Z
Attendees:             Domenic Carosa : dom@banxa.com, dan@mycred.io : dan@mycred.io, Pierre-
                       Alain Rikkers, pierre-alain.rikkers@teneo.com, Domenic Carosa :
                       dom@dominet.com.au

Domenic Carosa is inviting you to a scheduled Zoom meeting.

Topic: Call with Dan Schatt and Domenic Carosa
Time: Dec 3, 2020 08:00 PM Amsterdam / 11AM PST

Join Zoom Meeting
https://us02web.zoom.us/j/82584020170

Meeting ID: 825 8402 0170
One tap mobile
+13126266799,,82584020170# US (Chicago)
+13462487799,,82584020170# US (Houston)

Dial by your location
     +1 312 626 6799 US (Chicago)
     +1 346 248 7799 US (Houston)
     +1 646 558 8656 US (New York)
     +1 669 900 9128 US (San Jose)
     +1 253 215 8782 US (Tacoma)
     +1 301 715 8592 US (Washington D.C)
Meeting ID: 825 8402 0170
Find your local number: https://us02web.zoom.us/u/kdgMHdbY1w

Great, thanks Lexie.




Pierre-Alain Rikkers
Senior Managing Director

Teneo
280 Park Avenue, 4th Floor
New York, NY 10017
O: +1 (212) 220-8801
M: +1 (917) 742-1399
E: pierre-alain.rikkers@teneo.com



teneo.com

From: Lexie Jowett <pa@dominet.com.au>
Sent: Wednesday, December 2, 2020 8:42 PM
To: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-32
                                     32-12Filed
                                            Filed
                                                12/05/22
                                                  03/03/23 Page
                                                            Page3 224
                                                                  of 7 of 273



Subject: Re: Intro: Banxa - Cred Process*


Hi Pierre-Alain, thank you so much. I have sent across the invitation and sent you a copy also.



Thank you,

Kindest Regards
Lexie Jowett | Personal Assistant to Domenic Carosa
cidimage002.png@01D691B8.E0FDAEA0                +61 (0) 415 549 103
cidimage003.png@01D691B8.E0FDAEA0               lexiejowett.ea

https://crowdmobile.com/wp-content/uploads/2019/03/CrowdMedia.png
http://www.crowdmedia.com
cidimage007.png@01D691B9.05B00F90
http://www.dominet.com.au


From: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>
Date: Thursday, 3 December 2020 at 12:22 pm
To: Lexie Jowett <pa@dominet.com.au>
Subject: Re: Intro: Banxa - Cred Process*

Hi Lexie - this is confirmed. Please send the invite to dan@mycred.io.

Thanks,

Pierre-Alain


Pierre-Alain Rikkers
Senior Managing Director


Teneo
280 Park Avenue, 4th Floor
New York, NY 10017
O: +1 (212) 220-8801
M: +1 (917) 742-1399




teneo.com


On Dec 2, 2020, at 7:42 PM, Lexie Jowett <pa@dominet.com.au> wrote:

Hi Pierre-Alain,

Would 11am PST be suitable for tomorrow/Thursday 3rd December. It will be 8pm for Domenic in
Amsterdam. If you could please advise as soon as possible I can send through a calendar invitation if
you could please advise Dan’s email address for the invitation unless you would like to send the invitation
through to dom@banxa.com and pa@dominet.como.au.
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-32
                                     32-12Filed
                                            Filed
                                                12/05/22
                                                  03/03/23 Page
                                                            Page4 225
                                                                  of 7 of 273




Thank you, I look forward to hearing from you shortly.

Kindest Regards
Lexie Jowett | Personal Assistant to Domenic Carosa
<image001.png>
        +61 (0) 415 549 103
<image002.png>
       lexiejowett.ea

<image003.png>
http://www.crowdmedia.com
<image004.png>
http://www.dominet.com.au


From: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>
Date: Thursday, 3 December 2020 at 12:55 am
To: Domenic Carosa <dom@banxa.com>, Chris Wu <chris.wu@teneo.com>, Fernando Soto
<fernando.soto@teneo.com>, Lexie Jowett <pa@dominet.com.au>
Cc: Zachary Messenger <zachary.messenger@teneo.com>, Matt Shapiro <matt@multicoin.capital>
Subject: RE: Intro: Banxa - Cred Process*

Thanks, Dom.

Lexie – would you like to suggest some times that work for Dom on Thursday for a call with Dan Schatt?
Please note that Dan is West Coast based so Pacific Time.

Thanks,

Pierre-Alain



Pierre-Alain Rikkers
Senior Managing Director



Teneo
280 Park Avenue, 4th Floor
New York, NY 10017
O: +1 (212) 220-8801
M: +1 (917) 742-1399
E: pierre-alain.rikkers@teneo.com



<image005.png>
<image006.png>


teneo.com

From: Domenic Carosa <dom@banxa.com>
Sent: Wednesday, December 2, 2020 4:22 AM
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-32
                                     32-12Filed
                                            Filed
                                                12/05/22
                                                  03/03/23 Page
                                                            Page5 226
                                                                  of 7 of 273



To: Chris Wu <chris.wu@teneo.com>; Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>; Fernando
Soto <fernando.soto@teneo.com>; Lexie Jowett <pa@dominet.com.au>
Cc: Zachary Messenger <zachary.messenger@teneo.com>; Matt Shapiro <matt@multicoin.capital>
Subject: Re: Intro: Banxa - Cred Process*


Chris

YES please make an intro to the lawyer mentioned.

Secondly, Dan meeting for Thu please for the 1 on 1 and I will review the dataroom when you send me
the link etc.

Ciao dom

From: Chris Wu <chris.wu@teneo.com>
Date: Wednesday, 2 December 2020 at 1:33 am
To: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>, Domenic Carosa <dom@banxa.com>,
Fernando Soto <fernando.soto@teneo.com>, Lexie Jowett <pa@dominet.com.au>
Cc: Zachary Messenger <zachary.messenger@teneo.com>, Matt Shapiro <matt@multicoin.capital>
Subject: RE: Intro: Banxa - Cred Process*

In addition to Pierre’s questions, it occurs to me that I know of a bankruptcy lawyer who managed the
Giga bankruptcy in Seattle if you are seeking a cost effective counsel to assist. Maybe that is premature
but I figured I’d mention it.




Chris Wu
President, Restructuring Advisory
SMD, Capital Advisory

Teneo
280 Park Avenue, 4th Floor
New York, NY 10017
O: +1 (646) 561 3541
M: +1 (917) 940 0266
E: chris.wu@teneo.com

<image007.png>
<image008.png>


teneo.com

From: Pierre-Alain Rikkers <pierre-alain.rikkers@teneo.com>
Sent: Tuesday, December 1, 2020 6:50 PM
To: Domenic Carosa <dom@banxa.com>; Fernando Soto <fernando.soto@teneo.com>; Lexie Jowett
<pa@dominet.com.au>
Cc: Chris Wu <chris.wu@teneo.com>; Zachary Messenger <zachary.messenger@teneo.com>; Matt
Shapiro <matt@multicoin.capital>
Subject: RE: Intro: Banxa - Cred Process*

Thanks for taking the time to speak, Dom, and thanks for the below list, which is very helpful.
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-32
                                     32-12Filed
                                            Filed
                                                12/05/22
                                                  03/03/23 Page
                                                            Page6 227
                                                                  of 7 of 273



We are aiming to open the dataroom, which will contain information addressing most of your below
questions, in the next few days. Hopefully that timing works for you.

Two questions:
Happy to organize a one on one with Dan. Would you rather have it now, or after having accessed the
dataroom?
If you/your counsel wishes to discuss the stalking horse approach, we’d be happy to organize a call with
Chris and/or the recently appointed CRO. Please let us know.

Thanks,

Pierre-Alain



Pierre-Alain Rikkers
Senior Managing Director

Teneo
280 Park Avenue, 4th Floor
New York, NY 10017
O: +1 (212) 220-8801
M: +1 (917) 742-1399
E: pierre-alain.rikkers@teneo.com

<image007.png>
<image009.png>


teneo.com

From: Domenic Carosa <dom@banxa.com>
Sent: Tuesday, December 1, 2020 5:24 PM
To: Fernando Soto <fernando.soto@teneo.com>; Lexie Jowett <pa@dominet.com.au>
Cc: Chris Wu <chris.wu@teneo.com>; Zachary Messenger <zachary.messenger@teneo.com>; Pierre-
Alain Rikkers <pierre-alain.rikkers@teneo.com>; Matt Shapiro <matt@multicoin.capital>
Subject: Re: Intro: Banxa - Cred Process*


Gents,

It was good chatting yesterday. I am open to learning more re Stalking horse. Here are my first lot of
requests.

Identification of key IP (software, operating platforms both working and in development/WIP) with any
roadmap for the future
Overview of regulatory licences and/or registrations in place + list of WIP registrations in the USA and
abroad + any major gaps in the regulatory framework (or major risks identified)
List of key people, salaries, location, time with the company and approx. cost to make them redundant
Financials: historical (ideally audited) and any cashflow forecasts (Note: I am trying to work out how much
extra working capital the business will need to continue operating until a relaunch and then starting to
generating income again)
ICO whitepaper and further details on the current market for the tokens including top 10 token holders by
volume (Question: is there an ability to issue more tokens than the circa 160m in treasury)
Historical investor decks + capital raising documents + details of prior capital and ICO raising rounds (and
who led them, internal or external)
     Case 3:23-cv-00243-AMO
          Case 20-12836-JTD Document
                             Doc 1063-32
                                     32-12Filed
                                            Filed
                                                12/05/22
                                                  03/03/23 Page
                                                            Page7 228
                                                                  of 7 of 273



One on One meeting with the CEO (@Lexie Jowett will organise for this Wednesday/Thursday this week)

Ciao dom

PS. I will be speaking to my US counsel in the next 48 hours.



From: Fernando Soto <fernando.soto@teneo.com>
Date: Monday, 30 November 2020 at 6:
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-33
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 229
                                                             of 2 of 273




                             EXHIBIT GG
                                       Case 3:23-cv-00243-AMO
                                            Case 20-12836-JTD Document
                                                               Doc 1063-33
                                                                       32-12Filed
                                                                              Filed
                                                                                  12/05/22
                                                                                    03/03/23 Page
                                                                                              Page2 230
                                                                                                    of 2 of 273




                                                                 Cred Inc: All User Activity
Project Name    Date         Time         Event By User            Event User By EMail            Group       Company Name         Activity         Client IP
Cred Inc     12/8/2020   6:09:27 PM    Amit Cheela         amit@blockfi.com                  BlockFi Team   BlockFi           Agree T&C         207.237.107.156
Cred Inc     12/8/2020   6:09:27 PM    Amit Cheela         amit@blockfi.com                  BlockFi Team   BlockFi           AccessToProject   207.237.107.156
Cred Inc     12/7/2020   3:58:30 AM    Domenic Carosa      dom@banxa.com                     Banxa Team     dominet           AccessToProject   212.238.161.215
Cred Inc     12/7/2020   3:58:30 AM    Domenic Carosa      dom@banxa.com                     Banxa Team     dominet           Agree T&C         212.238.161.215
Cred Inc     12/4/2020   10:19:57 PM   Jonathan Mayers     jonathan@blockfi.com              BlockFi Team   BlockFi Inc.      Agree T&C         108.6.22.138
Cred Inc     12/4/2020   10:19:57 PM   Jonathan Mayers     jonathan@blockfi.com              BlockFi Team   BlockFi Inc.      AccessToProject   108.6.22.138
Cred Inc     12/4/2020   5:37:00 PM    Zac princ           zac@blockfi.com                   BlockFi Team   blockfi           AccessToProject   104.162.38.177
Cred Inc     12/4/2020   5:37:00 PM    Zac princ           zac@blockfi.com                   BlockFi Team   blockfi           Agree T&C         104.162.38.177
Cred Inc     12/4/2020   12:15:40 PM   Robert Margolis     rob@blockfi.com                   BlockFi Team   BlockFi           Agree T&C         47.156.238.144
Cred Inc     12/4/2020   12:15:39 PM   Robert Margolis     rob@blockfi.com                   BlockFi Team   BlockFi           AccessToProject   47.156.238.144
Cred Inc     12/4/2020   12:02:31 PM   Jonathan Coffey     jonathan@current.com              Current Team   Current           AccessToProject   216.158.142.10
Cred Inc     12/4/2020   12:02:31 PM   Jonathan Coffey     jonathan@current.com              Current Team   Current           Agree T&C         216.158.142.10
Cred Inc     12/4/2020   11:12:55 AM   Christopher Ferraro chris.ferraro@galaxydigital.io    Galaxy Team    Galaxy Digital    Agree T&C         165.225.39.101
Cred Inc     12/4/2020   11:12:55 AM   Christopher Ferraro chris.ferraro@galaxydigital.io    Galaxy Team    Galaxy Digital    AccessToProject   165.225.39.101
Cred Inc     12/4/2020   10:29:50 AM   Jeremie Beaudry     jeremie.beaudry@celsius.network   Celsius Team   Celsius Network   Agree T&C         76.20.231.103
Cred Inc     12/4/2020   10:29:50 AM   Jeremie Beaudry     jeremie.beaudry@celsius.network   Celsius Team   Celsius Network   AccessToProject   76.20.231.103
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-34
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 231
                                                             of 1 of 273




                             EXHIBIT HH

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-35
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 232
                                                             of 1 of 273




                              EXHIBIT II

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-36
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 233
                                                             of 1 of 273




                              EXHIBIT JJ

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-37
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 234
                                                             of 1 of 273




                             EXHIBIT KK

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-38
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 235
                                                             of 1 of 273




                              EXHIBIT LL

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-39
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 236
                                                             of 1 of 273




                             EXHIBIT MM

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-40
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 237
                                                             of 3 of 273




                             EXHIBIT NN
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-40
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 238
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-40
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 239
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-41
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 240
                                                             of 3 of 273




                             EXHIBIT OO
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-41
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 241
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-41
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 242
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-42
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 243
                                                             of 1 of 273




                              EXHIBIT PP

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-43
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 244
                                                             of 3 of 273




                             EXHIBIT QQ
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-43
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page2 245
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-43
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page3 246
                                                             of 3 of 273
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-44
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 247
                                                             of 1 of 273




                             EXHIBIT RR

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-45
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 248
                                                             of 1 of 273




                              EXHIBIT SS

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-46
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 249
                                                             of 1 of 273




                              EXHIBIT TT

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-47
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 250
                                                             of 1 of 273




                             EXHIBIT UU

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-48
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 251
                                                             of 1 of 273




                             EXHIBIT VV

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-49
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 252
                                                             of 1 of 273




                             EXHIBIT WW

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-50
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 253
                                                             of 1 of 273




                             EXHIBIT XX

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-51
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 254
                                                             of 1 of 273




                             EXHIBIT YY

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-52
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 255
                                                             of 1 of 273




                              EXHIBIT ZZ

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-53
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 256
                                                             of 1 of 273




                             EXHIBIT AAA

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-54
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 257
                                                             of 1 of 273




                             EXHIBIT BBB

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-55
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 258
                                                             of 1 of 273




                             EXHIBIT CCC

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-56
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 259
                                                             of 1 of 273




                             EXHIBIT DDD

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-57
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 260
                                                             of 1 of 273




                             EXHIBIT EEE

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-58
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 261
                                                             of 1 of 273




                             EXHIBIT FFF

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-59
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 262
                                                             of 1 of 273




                            EXHIBIT GGG

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-60
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 263
                                                             of 1 of 273




                            EXHIBIT HHH

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-61
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 264
                                                             of 1 of 273




                              EXHIBIT III

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-62
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 265
                                                             of 1 of 273




                             EXHIBIT JJJ

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-63
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 266
                                                             of 1 of 273




                            EXHIBIT KKK

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-64
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 267
                                                             of 1 of 273




                             EXHIBIT LLL

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-65
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 268
                                                             of 1 of 273




                            EXHIBIT MMM

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-66
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 269
                                                             of 1 of 273




                             EXHIBIT NNN

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-67
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 270
                                                             of 1 of 273




                            EXHIBIT OOO

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-68
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 271
                                                             of 1 of 273




                             EXHIBIT PPP

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-69
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 272
                                                             of 1 of 273




                            EXHIBIT QQQ

                          FILED UNDER SEAL
Case 3:23-cv-00243-AMO
     Case 20-12836-JTD Document
                        Doc 1063-70
                                32-12Filed
                                       Filed
                                           12/05/22
                                             03/03/23 Page
                                                       Page1 273
                                                             of 1 of 273




                             EXHIBIT RRR

                          FILED UNDER SEAL
